      Case 3:20-cv-00588-SRU Document 1 Filed 04/29/20 Page 1 of 175



                    UNITED STATES DISTRICT COURT
                      DISTRICT OF CONNECTICUT


THE BOEING COMPANY EMPLOYEE                  No.
RETIREMENT PLANS MASTER TRUST,

                      Plaintiff,             JURY TRIAL DEMANDED

     v.
                                             COMPLAINT
TEVA PHARMACEUTICAL INDUSTRIES LTD.;
EREZ VIGODMAN; EYAL DESHEH; SIGURDUR
OLAFSSON; DEBORAH GRIFFIN; KÅRE
SCHULTZ; MICHAEL MCCLELLAN; and
YITZHAK PETERBURG,

                      Defendants.
             Case 3:20-cv-00588-SRU Document 1 Filed 04/29/20 Page 2 of 175



                                                     TABLE OF CONTENTS


I.      SUMMARY OF THE ACTION ............................................................................................ 2

II.     JURISDICTION AND VENUE ............................................................................................ 8

III. PARTIES ............................................................................................................................... 8

        A.      Plaintiff ......................................................................................................................... 8

        B.      Defendants .................................................................................................................... 9

IV. SUBSTANTIVE ALLEGATIONS ..................................................................................... 11

        A.      Teva Struggles Before the Relevant Period ................................................................ 11

        B.      Defendants’ Price-Hike Strategy Drove Profits During the Relevant Period ............. 14

        C.      Teva’s Collusion with Other Drug Manufacturers ..................................................... 16

                1.      Allegations in the State AG Complaints ............................................................ 16

                2.      Indices of Collusion in the Market for Generic Drugs ...................................... 18

        D.      Teva’s Price Increases Were Approved by Senior Executives ................................... 19

        E.      The Undisclosed Price-Hike Scheme and Collusive Profits Inflated the Price
                of Teva’s Securities..................................................................................................... 21

                1.      Teva’s Turnaround Story Drives Up ADS Prices in 2014................................. 22

                2.      Teva’s Reported Profits and Securities Prices Continue to Rise in 2015,
                        Supporting Teva’s ADS Offerings..................................................................... 27

                3.      As the Price-Hike Strategy Collapsed in 2016, Defendants Rushed Their
                        $20 Billion Offering........................................................................................... 34

                4.      Fourth Quarter and Full Year 2015 Results ....................................................... 35

                5.      Pricing Concerns Increase, Defendants Go On The Offense ............................. 36

                6.      First Quarter 2016 Results ................................................................................. 37

                7.      Teva’s Security Prices Fall Back to Earth as the Fraud Unravels ..................... 41


                                                                         i
          Case 3:20-cv-00588-SRU Document 1 Filed 04/29/20 Page 3 of 175



           8.     Teva’s Generics Day .......................................................................................... 42

     F.    Defendants’ Fraud Continues to Unravel in 4Q 2016 ................................................ 43

     G.    The True Nature of Teva’s Business Finally Becomes Clear ..................................... 45

V.   FALSE AND MISLEADING STATEMENTS AND OMISSIONS................................... 49

     A.    Defendants Violated Their Statutory Duty to Disclose Pricing Trends ...................... 50

     B.    Defendants’ False and Misleading Statements That Teva Operated in a
           Competitive Market with Respect to Price ................................................................. 52

           1.     False Statements on Conference Calls ............................................................... 53

           2.     False Statements in Teva’s SEC Filings ............................................................ 54

     C.    False and Misleading Statements and Omissions Regarding Pricing ......................... 56

           1.     Fourth Quarter and Full Year 2013 False and Misleading Financial
                  Disclosures ......................................................................................................... 56

           2.     First Quarter 2014 False and Misleading Financial Disclosures ....................... 57

           3.     Second Quarter 2014 False and Misleading Financial Disclosures ................... 58

           4.     Third Quarter 2014 False and Misleading Financial Disclosures ...................... 59

           5.     December 11, 2014 False and Misleading Statements ...................................... 61

           6.     Fourth Quarter and Full Year 2014 False and Misleading Financial
                  Disclosures ......................................................................................................... 62

           7.     First Quarter 2015 False and Misleading Financial Disclosures ....................... 64

           8.     June 11, 2015 False and Misleading Statements ............................................... 65

           9.     Second Quarter 2015 False and Misleading Financial Disclosures ................... 66

           10.    Third Quarter 2015 False and Misleading Financial Disclosures ...................... 67

           11.    November 19, 2015 False and Misleading Statements ...................................... 69

           12.    Teva’s Registration Documents for Its Secondary ADS and Preferred
                  Share Offerings Contained False and Misleading Statements ........................... 70


                                                                ii
          Case 3:20-cv-00588-SRU Document 1 Filed 04/29/20 Page 4 of 175



           13.    January 11, 2016 False and Misleading Statements .......................................... 71

           14.    Fourth Quarter and Full Year 2015 False and Misleading Financial
                  Disclosures ......................................................................................................... 72

           15.    March 8, 2016 False and Misleading Statements .............................................. 75

           16.    First Quarter 2016 False and Misleading Financial Disclosures ....................... 76

           17.    False and Misleading Statements on Conference Calls Before The $20
                  Billion Debt Offering ......................................................................................... 79

           18.    False July 13, 2016 Guidance Assumption ........................................................ 80

           19.    The False and Misleading Notes Registration Statement and Prospectus ......... 82

           20.    Second Quarter 2016 False and Misleading Financial Disclosures ................... 83

           21.    In the Third Quarter 2016, Defendants Continue to Deny Price Inflation
                  and Increased Pricing Pressure in Statements to Investors ................................ 85

           22.    Third Quarter 2016 False and Misleading Financial Disclosures ...................... 87

           23.    The January 6, 2017 Guidance Call ................................................................... 89

           24.    Fourth Quarter and Full Year 2016 False and Misleading Financial
                  Disclosures ......................................................................................................... 90

     D.    False and Misleading Denials of Teva’s Participation in Collusive Conduct ............ 91

     E.    False and Misleading Statements Regarding Actavis Acquisition ............................. 93

VI. ADDITIONAL ALLEGATIONS OF SCIENTER.............................................................. 98

     A.    Defendants Were Motivated to Use Teva’s ADS as “Currency” for a
           “Transformational” Acquisition.................................................................................. 98

     B.    Conscious Misbehavior or Recklessness .................................................................... 99

           1.     Implementation and Concealment of the Price-Hike Strategy .......................... 99

           2.     Continuous Access to Documents and Information Tracking Profits from
                  Price Increases ................................................................................................. 100

           3.     Defendants Spoke Repeatedly About the Pricing of Generic Drugs ............... 100

                                                               iii
            Case 3:20-cv-00588-SRU Document 1 Filed 04/29/20 Page 5 of 175



               4.      Defendants’ and Analysts’ Focus on Generics ................................................ 102

               5.      The Magnitude, Importance, and Duration of the Fraud ................................. 103

               6.      Contemporaneous Red Flags ........................................................................... 104

               7.      Officer Terminations Support Scienter ............................................................ 105

               8.      Evidence of Collusion Supports a Strong Inference of Scienter...................... 106

               9.      Other Facts Supporting Scienter ...................................................................... 107

       C.      Corporate Scienter .................................................................................................... 109

VII. LOSS CAUSATION .......................................................................................................... 109

       A.      August 4-5, 2016....................................................................................................... 111

       B.      November 3, 2016, December 13-16, 2016 .............................................................. 112

       C.      November 15, 2016 ................................................................................................... 113

       D.      December 5-6, 2016 .................................................................................................. 115

       E.      January 6, 2017 ......................................................................................................... 115

       F.      February 6-7, 2017 .................................................................................................... 117

       G.      August 3-7, 2017....................................................................................................... 117

       H.      November 2, 2017 ..................................................................................................... 119

       I.      February 8, 2018 ....................................................................................................... 120

       J.      December 7-10, 2018 ................................................................................................ 121

VIII. ADDITIONAL SUBSEQUENT DEVELOPMENTS CONTINUE TO REVEAL
      THE TRUTH ..................................................................................................................... 122

       A.      May 10-13, 2019 ....................................................................................................... 122

IX. RELIANCE ........................................................................................................................ 123

X.     INFLATED PROFIT ANALYSIS .................................................................................... 124



                                                                   iv
            Case 3:20-cv-00588-SRU Document 1 Filed 04/29/20 Page 6 of 175



XI. INAPPLICABILITY OF THE STATUTORY SAFE HARBOR OR BESPEAKS
    CAUTION DOCTRINE .................................................................................................... 125

XII. CLAIMS FOR RELIEF ..................................................................................................... 126

       COUNT I For Violations of Section 10(b) of the Exchange Act and Rule
       10b-5 (Against All Defendants) ........................................................................................ 126

       COUNT II For Violations of Section 20(a) of the Exchange Act (Against
       All Defendants) .................................................................................................................. 127

PRAYER FOR RELIEF ............................................................................................................. 127

JURY DEMAND ........................................................................................................................ 127




                                                                     v
         Case 3:20-cv-00588-SRU Document 1 Filed 04/29/20 Page 7 of 175



                                 GLOSSARY OF TERMS

Term               Definition
                   Defendants Teva Pharmaceutical Industries Ltd., Erez Vigodman, Eyal
                   Desheh, Sigurdur Olafsson, Deborah Griffin, Kåre Schultz, Michael
Defendants
                   McClellan, and Yitzhak Peterburg. References to Defendants include only
                   those individuals then employed by Teva at the referenced time.
Actavis            Allergan Generics, acquired by Teva on or around August 2, 2016
ADS                Teva’s American Depository Shares
ADS Final          The final prospectus supplement filed pursuant to Rule 424(b)(5) with the
Prospectus         SEC on December 3, 2015 at 5:19 p.m. ET
                   The public offering of ADS completed on or about December 3, 2015 and
ADS Offering
                   January 6, 2016
                   The ADS/Preferred Registration Statement, along with the base and
                   preliminary prospectuses and related prospectus supplements constituting
ADS/Preferred
                   part of the ADS/Preferred Registration Statement including the ADS Final
Offering Materials
                   Prospectus and Preferred Final Prospectus, and the documents
                   incorporated by reference therein
ADS/Preferred      The ADS Offering and the Preferred Offering
Offerings
ADS/Preferred      The shelf registration statement on Form F-3 Teva filed with the SEC on
Registration       November 30, 2015.
Statement
                   The shelf registration statement on Form F-3 Teva filed with the SEC on
ADS/Preferred and November 30, 2015 (for the ADS/Preferred Offering), and the Post-
Notes Registration Effective Amendment No. 1 to its shelf registration statement on the Form
Statements         F-3 Teva filed with the SEC on July 13, 2016 (for the Notes Offering).
API                Active Pharmaceutical Ingredient use to make pharmaceutical products
Board              Teva’s Board of Directors
                   Maureen Cavanaugh, Teva USA’s Senior VP and Chief Operating Officer,
Cavanaugh
                   North America Generics during the Relevant Period
CAO                Chief Accounting Officer
CEO                Chief Executive Officer
CFO                Chief Financial Officer
COO                Chief Operating Officer
COGS               Cost of Goods Sold
                   Defendant Eyal Desheh, Teva’s CFO from July 2008 to June 30, 2017,
Desheh             except from October 30, 2013 to February 11, 2014, when he served as
                   Teva’s Interim President and CEO


                                             vi
          Case 3:20-cv-00588-SRU Document 1 Filed 04/29/20 Page 8 of 175



Term               Definition
DOJ                U.S. Department of Justice
                   Kevin Galownia, Teva’s VP of Pricing Operations since January 2018, and
                   formerly Teva’s Senior Director, Marketing from January 2010 to March
Galownia
                   2014, and its Senior Director, Marketing Operations from September 2014
                   to December 2017
GAO                U.S. Government Accountability Office
                   GAO audit report titled, “Generic Drugs Under Medicare” and publically
GAO Report
                   released on September 12, 2016
                   The September 9, 2016 investor day conference Teva hosted to discuss its
Generics Day
                   generics business
                   In re Generic Pharmaceuticals Pricing Antitrust Litigation, Case No. 2:16-
Generics MDL
                   md-02724 (E.D. Pa.)
Glazer             Jeffrey Glazer, former CEO of Heritage Pharmaceuticals
                   Defendant Deborah Griffin, Teva’s SVP and CAO (Principal Accounting
                   Officer) who also served as the Authorized U.S. Representative of Teva
Griffin
                   and Teva Finance during the Relevant Period. She was also VP and CFO
                   of Teva USA during the Relevant Period.
Heritage           Heritage Pharmaceuticals Inc
                   The amount of profit Teva generated as a result of its price increases which
Inflated Profits
                   was quantified by plaintiffs in the Teva Securities Class Action.
                   The Latest Best Estimate, a document produced quarterly with the
                   involvement of Oberman, Olafsson, Griffin, and Cavanaugh, that tracked
LBE
                   whether financial forecasts were being met, and which was delivered to
                   Teva’s Israeli executives, including Vigodman and Desheh
Levin              Jeremy M. Levin, Teva’s CEO from May 9, 2012 to October 30, 2013
Malek              Jason Malek, Former President of Heritage
                   Defendant Michael McClellan, Teva’s Executive Vice President and CFO
                   from November 2017 until November 8, 2019, Interim Group CFO from
McClellan
                   July 2017 to November 2017, and Senior Vice President and CFO, Global
                   Specialty Medicines from 2015 to November 2017
MD&A               The Management Discussion & Analysis section of SEC Form 20-F
                   National Drug Code, a unique three-segment product identifier for drugs
NDC Code
                   required by the Food, Drug, and Cosmetic Act (21 U.S.C. § 360)).
                   Collectively certain U.S.-dollar-denominated senior notes issued by Teva
                   Finance in a public offering on or about July 21, 2016, namely:
                   1.400% Senior Notes due July 20, 2018 (“2018 Notes”);
Notes
                   1.700% Senior Notes due July 19, 2019 (“2019 Notes”);
                   2.200% Senior Notes due July 21, 2021 (“2021 Notes”);
                   2.800% Senior Notes due July 21, 2023 (“2023 Notes”);

                                             vii
        Case 3:20-cv-00588-SRU Document 1 Filed 04/29/20 Page 9 of 175



Term                 Definition
                     3.150% Senior Notes due Oct. 1, 2026 (“2026 Notes”); and
                     4.100% Senior Notes due Oct. 1, 2046 (“2046 Notes”)
Notes Final          The prospectus supplement filed pursuant to Rule 424(b)(5) with the SEC
Prospectus           on July 19, 2016
Notes Offering       The public offering of the Notes completed on or about July 21, 2016
                     The Notes Registration Statement, along with the base and preliminary
Notes Offering       prospectus and related prospectus supplements constituting part of Notes
Materials            Registration Statement, including the Notes Final Prospectus, and the
                     documents incorporated by inference therein
Notes Registration   The Post-Effective Amendment No. 1 to the shelf registration statement on
Statement            Form F-3 Teva filed with the SEC on July 13, 2016
NYSE                 New York Stock Exchange
                     Allan Oberman, President and CEO of Teva Americas Generics from
Oberman
                     November 5, 2012 to December 31, 2014
Offerings            The ADS/Preferred Offerings and the Notes Offering
Offering Materials   The ADS/Preferred Offering Materials and the Notes Offering Materials
                     Defendants Erez Vigodman, Eyal Desheh, Sigurdur Olafsson, Deborah
                     Griffin, Kåre Schultz, Michael McClellan, and Yitzhak Peterburg.
Officer Defendants
                     References to the Officer Defendants include only those individuals then
                     employed by Teva at the referenced time.
                     Defendant Sigurdur (“Siggi”) Olafsson, President and CEO of Teva’s
Olafsson
                     Global Generic Medicines Group from July 1, 2014 to December 5, 2016
                     Nisha Patel, Teva’s former Director of Strategic Customer Marketing from
Patel                April 2013 to August 2014 and its Director of National Accounts from
                     September 2014 to December 2016
                     Defendant Yitzhak Peterburg, Teva’s Interim President and CEO from
                     February 6, 2017 to October 31, 2017, a Teva Director from June 2009 to
Peterburg
                     July 2010, and from 2012 until December 12, 2017, and Chairman of
                     Teva’s Board of Directors from January 1, 2015 to February 6, 2017
Plaintiff            The Boeing Company Employee Retirement Plans Master Trust
Preferred Final      The final prospectus supplement filed pursuant to Rule 424(b)(5) with the
Prospectus           SEC on December 3, 2015 at 5:26 p.m. ET
                     The public offering of Preferred Shares completed on or about December
Preferred Offering
                     3, 2015 and January 6, 2016
                     7.00% mandatory convertible preferred shares issued to the public on or
Preferred Shares
                     about December 3, 2015 and January 6, 2016
                     A group of Teva employees, led by Galownia in the United States, whose
Pricing Group        day-to-day responsibilities included analysis of the pricing for Teva’s
                     generic drugs

                                              viii
          Case 3:20-cv-00588-SRU Document 1 Filed 04/29/20 Page 10 of 175



Term                Definition
R&D                 Research and Development
Relevant Period     Between February 6, 2014 and December 10, 2018, inclusive
                    Request for Proposal, a blind-bidding process intended to solicit a “best
RFP                 and final” offer where each firm that submits a response without knowing
                    what competing firms are bidding
S&M                 Sales and Marketing
                    Defendant Kåre Schultz, Teva’s President and Chief Executive Officer
Schultz             since November 1, 2017 and one of its directors of the Board since
                    November 1, 2017
SEC                 Securities and Exchange Commission
Sherman Act         Sherman Antitrust Act
                    The Attorneys General of certain states, districts, and territories
State AGs           participating in the investigation of collusion in the U.S. generic
                    pharmaceuticals market and/or the Generics MDL
                    The Consolidated Amended Complaint filed against Teva and others on
2018 AG
                    June 18, 2018 in the Generics MDL by the Attorneys General of 47 States,
Complaint
                    the District of Columbia, and Puerto Rico
2019 AG             The Complaint filed against Teva and others in the Generics MDL by the
Complaint           by the Attorneys General of 44 States and Puerto Rico, dated May 10, 2019
Teva or the         Defendants Teva Pharmaceutical Industries Ltd and Teva USA
Company
Teva Finance        Defendant Teva Pharmaceutical Finance Netherlands III B.V.
Teva Securities     ADS, Preferred Shares, and Notes, collectively
Teva USA            Teva Pharmaceuticals USA, Inc.
TSCA or the Teva    The action captioned Ontario Teachers’ Pension Plan Board v. Teva
Securities Class    Pharmaceutical Industries Ltd., et al., No. 3:17-cv-00558 (SRU) (D.
Action              Conn.)
                    Second Amended Consolidated Class Action Complaint, Ontario
TSCA Complaint      Teachers’ Pension Plan Board v. Teva Pharmaceutical Industries Ltd., et
                    al., No. 3:17-cv-00558 (SRU) (D. Conn.) (December 13, 2019)
                    Defendant Erez Vigodman, Teva’s President and CEO from February 11,
Vigodman            2014 to February 6, 2017 and one of its directors of the Board from June
                    22, 2009 to February 6, 2017
                    Wholesale Acquisition Cost, the list price of a generic manufacturer’s drug
WAC
                    to a wholesaler or a direct purchaser without discounts
YOY                 Year-Over-Year




                                              ix
        Case 3:20-cv-00588-SRU Document 1 Filed 04/29/20 Page 11 of 175



       Plaintiff The Boeing Company Employee Retirement Plans Master Trust (“Plaintiff” or

the “Boeing Trust”), purchaser and holder of ADS sponsored by Teva Pharmaceutical Industries

Ltd. (“Teva” or the “Company”) and certain Teva Notes between February 6, 2014 and

December 10, 2018, both dates inclusive (the “Relevant Period”), alleges in this action (the

“Action”) claims under Sections 10(b) and 20(a) of the Securities Exchange Act of 1934 (the

“Exchange Act”) against Teva and certain of its current and former employees and officers.1

       Plaintiff alleges the following based upon personal knowledge as to those allegations

concerning Plaintiff and, as to all other matters, upon investigation of counsel, including, among

other things: (i) review and analysis of public filings made by Teva with the United States

Securities and Exchange Commission (“SEC”); (ii) review and analysis of press releases and

other publications disseminated by Defendants; (iii) review and analysis of news articles and

conference call transcripts; (iv) review and analysis of other court filings related to Teva,

including the Second Amended Consolidated Class Action Complaint for violation of the federal

securities laws (the “TSCA Complaint”) in Ontario Teachers’ Pension Plan Board v. Teva

Pharmaceutical Industries Ltd., et al., No. 3:17-cv-00558 (SRU) (D. Conn.) (the “Teva

Securities Class Action” or the “TSCA”) and pleadings and other materials in or relating to In re

Generic Pharmaceuticals Pricing Antitrust Litigation, MDL No. 2724, No. 2:16-md-02724

(CMR) (E.D. Pa.); (v) review and analysis of other publicly available information concerning

Teva; (vi) review and analysis of other publicly available information; and (vii) information

obtained from discussions or interviews with knowledgeable individuals. Plaintiff believes that




1
 Capitalized terms not otherwise defined herein have the meaning ascribed in the Glossary of Terms
attached hereto.
        Case 3:20-cv-00588-SRU Document 1 Filed 04/29/20 Page 12 of 175



additional evidence will support the allegations herein after a reasonable opportunity for

discovery.

I.     SUMMARY OF THE ACTION

       1.      This action arises from Defendants’ material misrepresentations and omissions

concerning the sources and sustainability of Teva’s performance and revenues during the

Relevant Period. These misrepresentations and omissions caused investors, including Plaintiff, to

purchase Teva’s securities at artificially inflated prices.

       2.      Before the Relevant Period, Teva’s generic division, which accounted for half the

Company’s revenue, was struggling. Facing negative investor sentiment, the Company fired its

CEO without warning, and appointed an interim CEO while it searched for a successor. Analysts

viewed Teva with skepticism and its ADS price remained low.

       3.      Beginning in 2014, however, Teva’s prospects appeared to start turning around.

After a long string of disappointing quarters, the Company reported increased profitability in the

fourth quarter of 2013, on the strength of revenue increases in its U.S. generics division, and it

announced Erez Vigodman as the new CEO, and shortly thereafter, Sigurdur Olafsson as the

head of global generics, a newly created position. Two years of incredible growth in the U.S.

generic division followed, fueling a bullish new story about Teva. As profits rose, so did the

price of Teva’s ADS.

       4.      Defendants told investors that this remarkable turnaround was in spite of “intense

competition” in the U.S. generics market and insisted that price increases played little to no part

in the Company’s success—that, on the contrary, Teva experienced very consistent, very stable

price erosion of 5% across its generics portfolio. Instead, Defendants attributed Teva’s success to




                                                   2
        Case 3:20-cv-00588-SRU Document 1 Filed 04/29/20 Page 13 of 175



a superior product portfolio, careful management of new product launches, and an ambitious cost

cutting program. This narrative was false.

        5.      In truth, Teva’s remarkable financial growth was the result of a strategy, devised

and implemented at the highest levels of the Company, to systematically raise drug prices across

Teva’s generic drug portfolio. The strategy was initiated in early 2013 and continued into 2016,

when scrutiny by governments and the public made the strategy impossible.

        6.      All told, Teva imposed price increases nearly 100 times just before and during the

Relevant Period. Teva’s senior officers considered and approved each increase, and then

carefully tracked the profits generated on a daily, weekly, and quarterly basis. Over the Relevant

Period, the financial impact of the strategy was staggering, totaling over $2.3 billion in profits

attributable solely to the price increases (the “Inflated Profit”).2

        7.      Defendants were able to impose and sustain these price increases during the

Relevant Period in at least three ways. First, they were able to raise prices on drugs in which they

held a monopoly. Second, they were able to raise drug prices in parallel with their competitors.

And third, as alleged in the TSCA Complaint and the 2019 AG Complaint, Defendants colluded

with their competitors to fix prices for at least 16 of the price-hiked drugs, and colluded to fix

prices and/or allocate market share on as many as 107 drugs. Allegations of Teva’s collusion are

supported by indicia of collusion, as discussed in Section IV.C, below, and by facts uncovered

by the State AGs through their investigation and discovery in the Generics MDL.




2
 The “Inflated Profit” was calculated by counsel in the TSCA using the methodology described in the
TSCA Complaint, and summarized in Section X, below. This methodology does not take into account the
effects of all the price increases or market allocation schemes alleged in the 2019 State AG Complaint,
and so may underestimate the contribution of price hikes and collusion to Teva’s revenues.


                                                   3
        Case 3:20-cv-00588-SRU Document 1 Filed 04/29/20 Page 14 of 175



       8.      Defendants were highly effective at concealing the role of price hikes in driving

Teva’s rapid growth. Neither Teva, nor any of its peers, disclosed to the investing public any

information concerning individual drug prices, changes in price, or revenues per drug, let alone

profits. Wall Street analysts, intimately familiar with Teva’s business and disclosures, had no

way to know if Teva was profiting from systematic price increases, except to ask Defendants.

       9.      When analysts did ask whether Teva’s profits and performance were connected to

price increases, the Officer Defendants answered with explicit denials, stating for example:

                      “[A]ll the improvement you see in our … margins is not
                       driven by price. It is driven by quantities and by mix and
                       by efficiency measures. Not by price, 2014, 2015, and
                       that’s a very important message.” (CEO Vigodman, Oct.
                       29, 2015)

                      “So how did we” achieve $1 billion in increased profit
                       margin?” “Not by pricing but by portfolio mix, new
                       products, and efficiency measures.” (Head of Global
                       Generics, Olafsson, Feb. 11, 2016)

                      “Now there’s a lot of noise around pricing issues. . . .Our
                       exposure to all these things is very minimal. . . . Teva was
                       not associated with any of that.” (CFO Desheh, Nov. 19,
                       2015)

       10.     Contrary to these false statements, Defendants were well aware that the price-hike

strategy yielded hundreds of millions of dollars of Inflated Profit quarter-over-quarter through

the second quarter of 2015, as discussed further below.

       11.     Defendants had to conceal the price-hike strategy because it was inherently risky

and unsustainable for a variety of reasons, including that two-thirds of the increases were done in

tandem with other drug manufacturers, and many—if not all—of those parallel increases were

the result of collusion. Wholesale purchasers of generic drugs routinely set pricing through

competitive RFP bidding. Thus, when Teva raised prices, any manufacturer in the generic drug

                                                 4
        Case 3:20-cv-00588-SRU Document 1 Filed 04/29/20 Page 15 of 175



market could underbid Teva and wipe out Teva’s market share. Additionally, the appearance of

price gouging or collusion could draw public outrage, law enforcement scrutiny, and civil and

criminal liability. These extraordinary profits could vanish as quickly as they appeared.

       12.     Defendants were aware that the profits could be short-lived. But one of

Defendants’ primary motives was to inflate the share price in order to make a large acquisition

that Teva otherwise could not afford. In January 2014, Teva’s CFO, Desheh, predicted that

within 12 to 24 months, Teva’s “stock price will go up and we’ll be able to use our share as a

currency . . . to fund transactions” that could transform Teva into an even larger, more dominant

force in generics. CEO Vigodman was reported to also want to undertake a significant

acquisition as he took the helm in February 2014, at the start of the Relevant Period.

       13.     Just as Desheh previewed, within 18 months, Teva’s ADS price shot up along

with the increasing profits. Indeed, the share price hit an all-time high of $72 on July 27, 2015,

the day Teva announced it was acquiring Actavis for $40 billion. Of course, Teva did not have

the cash; the price tag equaled roughly 20 years of Teva’s recent average profits. As Defendants

intended all along, they would use Teva’s securities as “currency” and raise $27 billion from

investors, including Plaintiff.

       14.     Defendants’ plan had to contend with ever-increasing scrutiny of the role of

pricing in the generics by investors and governments. By mid-2015, generic drug pricing had

come under intense focus from law enforcement, and Congress was calling for legislation to

regulate pricing. Analysts grew concerned, but CFO Desheh simply lied: “there’s a lot of noise

around pricing issues. Some of it’s coming from politicians . . . . Our exposure to all these things

is very minimal.”




                                                 5
        Case 3:20-cv-00588-SRU Document 1 Filed 04/29/20 Page 16 of 175



       15.     Defendants continued to mislead investors about the price-hike strategy in 2016,

as other pharmaceutical companies reported disappointing earnings and attributed them to

increased pressure to reduce prices. When asked whether Teva faced pricing-related risks,

Olafsson falsely claimed that Teva was not exposed: “Teva has not seen any fundamental change

or worsening in the pricing environment.” Vigodman claimed “[w]hat we see is a 4% to 5%

erosion [in pricing] . . . . That’s not something which is different from what we said during

2015.” This was false. Pricing pressure was eating into Teva’s Inflated Profits; in the first quarter

of 2016, Inflated Profits were 45% lower than they were a year earlier.

       16.     Then, on July 12, 2016, the Connecticut Attorney General served Teva with a

subpoena concerning its pricing for generic drugs. At the same time, previous price increases

were yielding lower Inflated Profits, and Teva was experiencing its worst quarter in years.

Investors had no idea about the price-hike strategy, let alone that it was falling apart, but

Defendants must have known the coming revelations would make raising capital from investors

difficult, if not impossible. On July 13, 2016—the day after receiving the Connecticut AG’s

subpoena—Defendants announced that they were accelerating the $20 billion debt offering that

had been scheduled for the fall of 2016, and filed the Notes Registration Statement the same day.

       17.     Defendants’ gambit worked—and just in time. Teva raised the cash, and closed

the deal on August 2, 2016. The very next day, Teva reported disappointing earnings and

disclosed the subpoenas. Still, Defendants denied that price increases ever occurred. For

example, on September 8, 2016, Olafsson claimed that “people that say that . . . there’s a big

generic price inflation, are simply wrong.”

       18.     The price-hike strategy steadily unraveled after the Notes Offering. In November

2016, Bloomberg reported that Teva was a target of the DOJ and State AGs’ investigations and



                                                  6
        Case 3:20-cv-00588-SRU Document 1 Filed 04/29/20 Page 17 of 175



looming charges. As Teva lost the ability to maintain price increases, and profits continued to

decline, Olafsson, an architect of the strategy and the driving force of the Actavis transaction,

was fired on December 5, 2016. A week later, the State AGs sued Teva for violations of the

Sherman Act. In short order, CEO Vigodman was terminated in February 2017, and CFO

Desheh was also out by May 2017. On August 3, 2017, the very first investor call after their

terminations, Teva announced it was required to take a $6.1 billion write-down of its entire

generics business because its fundamental value had been “permanently impaired.”

       19.     As the true state of Teva’s business emerged, questions began to arise about

Teva’s ability to service over $30 billion in debt; the credit-rating agencies immediately

downgraded the Company’s debt to just above “junk”. And after 30 years of maintaining or

increasing its dividend, the new Board and management were forced to cut Teva’s dividend by

75%. Without the secret price-hike strategy, Teva was a fundamentally weaker company than

investors were led to believe. The share price plummeted in reaction to this news.

       20.     Defendants carried out this securities fraud through four interrelated categories of

misstatements and omissions. First, Defendants explicitly attributed Teva’s financial

performance to legitimate business strategies, including cost cutting and product selection.

Having attributed the source of Teva’s revenues, Defendants were required to disclose the reality

that Teva’s performance was driven by the undisclosed price-hike strategy. Second, under Item 5

of Form 20-F, Defendants were obligated to disclose that the price-hike strategy was impacting

Teva’s profits, both as they dramatically increased, and later as they evaporated. Third,

Defendants repeatedly stated that Teva was excelling in a highly competitive environment. That

was far from the truth, as Teva was only able to sustain the Inflated Profits because of a lack of




                                                 7
        Case 3:20-cv-00588-SRU Document 1 Filed 04/29/20 Page 18 of 175



competition. Whether illegal or not, this was a precarious reality, which could be, and ultimately

was, undercut.

II.     JURISDICTION AND VENUE

        21.      This Court has jurisdiction over the subject matter of this action pursuant

to Section 27 of the Exchange Act (15 U.S.C. § 78aa). In addition, because this is a civil action

arising under the laws of the United States, this Court has jurisdiction pursuant to 28 U.S.C. §

1331.

        22.      Venue is proper in this District pursuant to Section 27 of the Exchange Act (15

U.S.C. § 78aa). In addition, venue is proper pursuant to 28 U.S.C. § 1391.

        23.      In connection with the acts alleged herein, Defendants directly or indirectly used

the means and instrumentalities of interstate commerce, including the United States mails,

interstate telecommunications, and the facilities of the New York Stock Exchange (“NYSE”).

III.    PARTIES

        A.       Plaintiff

        24.      Plaintiff The Boeing Company Employee Retirement Plans Master Trust (the

“Boeing Trust” or “Plaintiff”) is a trust established by The Boeing Company. At all relevant

times, the Boeing Trust’s investments in Teva securities were made and managed by outside

investment managers.

        25.      Plaintiff purchased Teva securities during the Relevant Period at prices that were

materially inflated as a result of the misrepresentations, omissions, and other unlawful conduct

alleged herein, and suffered economic losses when the market prices of those securities collapsed

following the revelation of the fraud alleged herein. Specifically, Plaintiff purchased ADS on the




                                                  8
        Case 3:20-cv-00588-SRU Document 1 Filed 04/29/20 Page 19 of 175



NYSE, and certain other Teva securities, including the 2018 Notes, the 2019 Notes, the 2026

Notes, and the 2046 Notes.

       B.      Defendants

       26.     Defendant Teva Pharmaceutical Industries Ltd., the world’s largest generic drug

manufacturer, is incorporated in Israel with its executive offices at 5 Basel Street, P.O. Box

3190, Petach Tikva, 4951033, Israel. Teva’s wholly-owned subsidiary, Teva USA, has its

principal offices at 1090 Horsham Road, North Wales, Pennsylvania, 19454. Teva ADS trade on

the NYSE under the symbol “TEVA.” Teva Preferred Shares and Notes are traded in the U.S.

       27.     Teva has two reporting segments to its business, specialty medicines and generic

medicines. During the Relevant Period, Teva’s generics segment contributed approximately one

half of the Company’s revenues. Teva’s U.S. generics business is the most important part of its

generics segment comprising approximately 50% of overall generics revenues.

       28.     Defendant Erez Vigodman (“Vigodman”) served as Teva’s President and CEO

from February 11, 2014 to February 6, 2017 and as a Teva Director from June 22, 2009 to

February 6, 2017. Vigodman signed and certified certain of Teva’s alleged false and misleading

reports on Forms 20-F and Forms 6-K filed with the SEC during the Relevant Period, as well as

the ADS/Preferred and Notes Registration Statements. Vigodman also made false and misleading

statements on numerous conference calls with investors and analysts, as alleged specifically

herein. During his tenure at Teva, Vigodman possessed the power and authority to, and in fact

did, approve and control the contents of the Company’s SEC filings alleged herein to be false

and misleading.

       29.     Defendant Eyal Desheh (“Desheh”) served as Teva’s Chief Financial Officer

(“CFO”) from July 2008 to June 30, 2017, except from October 30, 2013 to February 11, 2014, a



                                                 9
        Case 3:20-cv-00588-SRU Document 1 Filed 04/29/20 Page 20 of 175



period during which he served as Teva’s Interim CEO and Interim President. Desheh signed and

certified certain of Teva’s false and misleading reports on Forms 20-F and 6-K filed with the

SEC during the Relevant Period, as well as the ADS/Preferred and Notes Registration Statements

filed with the SEC. Desheh also made false and misleading statements on numerous conference

calls with investors and analysts, as alleged specifically herein.

       30.     Defendant Sigurdur Olafsson (“Olafsson”) served as President and CEO of Teva’s

Global Generic Medicines Group from July 1, 2014 to December 5, 2016. Olafsson made false

and misleading statements on numerous conference calls with investors and analysts, as alleged

herein. During his tenure at Teva, Olafsson possessed the power and authority to, and in fact did,

approve and control the contents of the Company’s SEC filings alleged herein to be false and

misleading.

       31.     Defendant Deborah Griffin (“Griffin”) serves as Teva’s SVP and Chief

Accounting Officer (Principal Accounting Officer), and served as the Authorized U.S.

Representative of Teva, and the Authorized U.S. Representative of Teva Finance during the

Relevant Period. She was also VP and CFO of Teva USA during the Relevant Period. Griffin

signed the ADS/Preferred and Notes Registration Statements. While at Teva, Griffin possessed

the power and authority to, and in fact did, approve and control the contents of the Company’s

SEC filings alleged herein to be false and misleading, as they pertained to Teva USA’s financial

reporting.

       32.     Defendant Kåre Schultz (“Schultz”) has served as the President and Chief

Executive Officer of Teva since November 1, 2017. Schultz has also served on the Company’s

Board of Directors since November 1, 2017.




                                                 10
        Case 3:20-cv-00588-SRU Document 1 Filed 04/29/20 Page 21 of 175



       33.     Defendant Michael McClellan (“McClellan”) served as Executive Vice President

and Chief Financial Officer of Teva from November 2017 until November 8, 2019. Prior to

serving in that role, McClellan served as Teva’s Interim Group CFO from July 2017 to

November 2017 and Senior Vice President and CFO, Global Specialty Medicines from 2015 to

November 2017.

       34.     Defendant Yitzhak Peterburg (“Peterburg”) served as Teva’s Interim President

and CEO from February 6, 2017 to October 31, 2017. He also served as a Teva Director from

June 2009 to July 2010, and from 2012 until December 12, 2017, and as Chairman of Teva’s

Board of Directors from January 1, 2015 to February 6, 2017.

       35.     Defendants Vigodman, Desheh, Olafsson, Griffin, Schultz, McClellan, and

Peterburg are referred to herein collectively as the “Officer Defendants.” Teva and the Officer

Defendants are referred to herein collectively as the “Defendants.”

IV.    SUBSTANTIVE ALLEGATIONS

       A.      Teva Struggles Before the Relevant Period

       36.     Before the start of the Relevant Period, Teva was facing significant challenges.

Investors increasingly viewed the Company’s generic business with skepticism, a fact that

weighed down the price of its ADS. Teva was the worst performing generics drug company

compared to its peers despite being the largest. By August 14, 2013, Teva’s then-CEO, Levin,

acknowledged that “Generic growth in the United States [was] slowing fundamentally.” Teva’s

U.S. generics business reported dramatically lower revues, year over year.

       37.     In December 2012, the Company unveiled an ambitious plan to cut expenses in

the generic division by $1.5 to $2 billion. Analysts were skeptical, but viewed it as a positive

development. On January 17, 2013, Jonathan Kreizman of Clal Finance Brokerage wrote,



                                                 11
         Case 3:20-cv-00588-SRU Document 1 Filed 04/29/20 Page 22 of 175



“[m]uch depends on the success of the cost-cutting plan . . . . We cannot but avoid asking how

the program can be practically implemented on the ground, at a time when both competition and

regulation are intensifying . . . .”

        38.     By mid-year 2013, revenues from Teva’s generics segment continued to plummet.

On or around October 30, 2013, Teva’s Board of Directors forced CEO Levin to step down as

President and CEO, with no advance notice, after just 18 months on the job. Without a

replacement, the Board named Defendant Eyal Desheh, Teva’s CFO, as Interim President and

CEO, and formed a search committee to identify a permanent successor.

        39.     In an October 30, 2013 investor call relating to Levin’s firing, the then-chairman

of Teva’s board, Phillip Frost, and Defendant Desheh assured investors that they were focused

on turning the Company around. Desheh informed the market that Teva “ha[d] decided to

accelerate” the cost reduction plan and promised “to create a much better, efficient generic

machine.”

        40.     At the beginning of 2014, Desheh continued to project optimism, announcing

Teva’s plan to make a major acquisition, predicting that within 12 to 24 months Teva’s “stock

price will go up and we’ll be able to use our share as a currency . . . to fund transactions.” As

Defendant Vigodman took the helm as new CEO in February 2014, analysts reported that he also

supported engaging in a significant acquisition.

        41.     Unbeknownst to investors, Desheh and Vigodman based their confidence on a

secret strategy to boost Teva’s flagging revenues by jacking up the price of generic drugs.

Defendants engaged in two interrelated frauds to sustain these price hikes long enough to boost

the price of Teva’s securities and fund the acquisition that Defendants planned. The first was to

use the opacity of both Teva’s reporting and the generic drug market as a whole to secretly raise



                                                   12
        Case 3:20-cv-00588-SRU Document 1 Filed 04/29/20 Page 23 of 175



prices across as many generic drugs as possible. The second was to collude with other drug

manufactures to raise the price of drugs in parallel and allocate market share (which prevented

potential competition on price).

       42.     Both of these strategies required total secrecy to succeed, because both were

inherently risky and unsustainable, and could subject Teva to government and law enforcement

scrutiny, if not prosecution. The overall price-hike strategy was unsustainable and risky because

the U.S. generic drug market was designed to be extremely competitive; generic drugs are

effectively a commodity, fully interchangeable and identical in every respect, except for price.

Wholesale customers solicit pricing though a “blind” RFP bidding process. Thus, if Teva

increased its prices in a truly competitive market, any profits could be short-lived if other

manufacturers undercut Teva’s prices to secure more market share. Moreover, generic drugs are

an essential part of the lives of millions of Americans. Dramatic increases in prices would, and

in fact did, garner public criticism and Congressional action that further undercut the

sustainability of the strategy. Additionally, the use of collusion to maintain prices is inherently

risky, as it is illegal under federal and state law. Even if Defendants did not engage in illegal

collusion, however, many of Teva’s price increases occurred in tandem with competitors and

such pricing behavior is indicative of a lack of competition, at minimum, and could (and did)

come under intense civil and criminal law enforcement investigations.

       43.     Teva’s price-hike strategy was particularly well-suited for concealment. The

generics industry is highly opaque. Neither Teva, nor any of its peers, disclosed to the investing

public any information concerning individual drug prices, changes or amounts of revenues per

drug, let alone the profits from any particular drug.




                                                 13
        Case 3:20-cv-00588-SRU Document 1 Filed 04/29/20 Page 24 of 175



       44.     Rather than attribute Teva’s improving fortunes to the price-hike strategy,

Defendants falsely told investors that Teva’s increased profits came from ordinary business

strategies, like cost cutting and new product launches. At every opportunity, in Teva’s financial

disclosures filed with the SEC and on conference calls, Defendants denied that Teva was

engaged in price increases, let alone that those increases were driving profits.

       45.     Had Teva disclosed that its core business strategy was to aggressively increase

prices on generic drugs, Plaintiff would have valued the Company very differently from one with

an apparently successful strategy driven by fundamental growth and cost cutting, as Defendants

falsely proclaimed.

       B.      Defendants’ Price-Hike Strategy Drove Profits During the Relevant Period

       46.     Defendants’ secret strategy to raise drug prices was central to the turnaround

narrative that Teva touted during the Relevant Period. The strategy was initiated in early 2013,

continued until scrutiny by governments and the public made the strategy impossible.

Allegations in the TSCA Complaint highlight at least 76 price increases during the Relevant

Period that counsel in the TSCA has calculated generated over $2.3 billion in profits attributable

solely to the price increases. See, e.g., TSCA Complaint ¶¶ 2, 136, 237, and Appendix A.

       47.     Defendants began to implement the price-hike strategy in July and August of

2013, and continued to rely on inflated prices to drive profits until scrutiny by various

governments and the public caused the strategy to crumble starting in the fourth quarter of 2015,

and finally collapse entirely over the course of 2016.

       48.     According to an analysis conducted by counsel in the TSCA, the Inflated Profit

generated by price hikes during this period comprised a material portion of the Company’s

revenue and was responsible for the Company’s reported growth in profits and margins. The



                                                 14
        Case 3:20-cv-00588-SRU Document 1 Filed 04/29/20 Page 25 of 175



below chart illustrates the central role the price-hike strategy played in the Company’s purported

success during the Relevant Period.3

      Quarter         Inflated Profits Reported YOY                  ADS – High         ADS – Low
                      (in millions)    Change in Generics            Intraday           Intraday
                                       Profit (Decrease)             Price for the      Price for the
                                       (in millions)                 Period             Period
                                                                     (NYSE)             (NYSE)
      Q3 2013         $103                 n/a4                      $41.65             $37.26
      Q4 2013         $147                 $144                      $41.74             $36.26
      Q1 2014         $120                 $117                      $52.94             $39.64
      Q2 2014         $160                 $156                      $54.70             $48.35
      Q3 2014         $193                 $160                      $55.70             $50.39
      Q4 2014         $219                 $47                       $58.95             $47.36
      Q1 2015         $228                 $296                      $64.08             $54.53
      Q2 2015         $236                 $193                      $68.75             $58.47
      Q3 2015         $218                 $20                       $72.31             $54.17
      Q4 2015         $166                 $7                        $66.55             $54.59
      Q1 2016         $124                 ($215)                    $65.92             $52.62
      Q2 2016         $114                 ($115)                    $58.16             $48.01

        49.     As the above chart illustrates, the price-hike strategy not only drove Teva’s

growth in profitability during the Relevant Period—without it, the Generic Division would have

faced shrinking profits during the period. And, indeed, when Defendants were no longer able to

use it to generate excess profits, the profit growth evaporated.

        50.     Despite the central role of price hikes to the Company’s success, Defendants

repeatedly denied that price played any role in growth. Rather, as discussed above and detailed in


3
  Following the completion of the Actavis acquisition, Teva no longer reported profits for the Legacy
Teva generics business separately. The Q3 2016 6-K, the first after the completion of the Actavis
acquisition, disclosed a YOY increase in U.S. generic revenue of $261 million, or 25%, attributed to
increased revenues from Actavis. But, after removing Actavis’ $538 million in U.S. generic revenues that
quarter, Teva’s U.S. generic revenues from its legacy business suffered a YOY decline of $277 million.
Teva reported an increase in profit of $461 million, which it attributed to the inclusion of Actavis and
other factors, but did not report the contribution that the Actavis acquisition made to profitability.
4
 Teva did not report generic profits separately for Q3 2013, but noted that profits from generic medicines
declined from Q3 2012 to Q3 2013.


                                                    15
        Case 3:20-cv-00588-SRU Document 1 Filed 04/29/20 Page 26 of 175



Section V, Defendants falsely attributed the profit growth to other, sustainable business strategies

and developments.

        C.      Teva’s Collusion with Other Drug Manufacturers

        51.     While Defendants’ secret price-hike strategy was misleading whether or not it

was the product of illegal collusion, there is strong evidence that Teva participated in a massive

conspiracy with its competitors in the U.S. generics industry to fix prices and allocate market

share during the Relevant Period.

        52.     Plaintiff makes this allegation based on information identified in: (i) Counsel’s

investigation on behalf of Plaintiff; (ii) allegations in the 2018 AG Complaint and the 2019 AG

Complaint; and (iii) allegations in the TSCA Complaint. The allegations in the TSCA Complaint

are corroborated by allegations in the 2019 AG Complaint, which are based on a long-running

investigation and discovery in the Generics MDL that included Teva’s internal documents,

including the full custodial file for Nisha Patel, a central actor in the price-fixing and market

allocation conspiracies.5

                1.      Allegations in the State AG Complaints

        53.     In two separate complaints, the States AGs identify evidence culled from their

long-running investigation, which began in 2014, including documents obtained pursuant to

multiple subpoenas and cooperation by unidentified participants in the scheme and defendants

who have settled with the State AGs, as well as documents obtained through discovery in the

multi-district litigation proceeding in Pennsylvania federal court.

5
  In a hearing in the MDL, an attorney for the State AGs explained that the 2019 AG Complaint is based
on internal Teva documents from Nisha Patel’s full custodial file, which “allowed the states to understand
the extensive nature of the conduct and develop that complaint based almost primarily on her full
custodial file.” Hearing Tr. at 19:15-21:8, Sept. 24, 2019. In re: Generic Pharmaceuticals Pricing
Antitrust Litigation, 2:16-MD-02724 (CMR) (excerpt appended hereto as Ex. 1).


                                                   16
        Case 3:20-cv-00588-SRU Document 1 Filed 04/29/20 Page 27 of 175



       54.     Teva was a central player in the 2018 AG Complaint; it is the star of the 2019 AG

Complaint. In addition to providing detailed allegations about the who, what, where, when, and

how of Teva’s collusion, the 2019 AG Complaint identifies approximately 112 different drugs on

which Teva raised prices “significantly” between July 2013 and January 2015. Of those 112

drugs, the State AGs allege that Teva colluded with its competitors on at least 86 of them. 2019

AG Complaint ¶ 3. According to the State AGs, the allegations in the 2019 AG Complaint are

based in large part on internal Teva documents obtained through discovery in the Generics MDL,

greatly enhancing the credibility of the allegations.

       55.     In the 2018 AG Complaint, the State AGs allege how Teva and Heritage—

another central player, whose executives have been cooperating with the State AGs’

investigation—colluded to raise prices on seven generic drugs: Acetazolamide, Glipizide-

Metformin, Glyburide, Glyburide-Metformin, Leflunomide, Nystatin, and Theophylline ER.

       56.     The 2019 AG Complaint provides even more detail about price increases on over

100 drugs, with significant overlap with allegations in the TSCA Complaint. Allegations

regarding price increases for Fluocinonide—a drug whose price increase is also highlighted in

the TSCA Complaint—provide an overview of the mechanics of the collusion. According to the

2019 AG Complaint, Teva coordinated with competitors Taro and Sandoz to raise the WAC

price of four Fluocinonide formulations by 10-17% in July 2013. 2019 AG Complaint ¶ 830.

Then on June 3, 2014, Taro raised the WAC prices on the four formulations by between 206 and

754%. Id. ¶ 831. Teva employee Nisha Patel (a named defendant in the 2019 AG Complaint),

however, was aware of the increase well in advance, and was preparing to follow with similar

price increases for Teva, per an agreement with Taro. Id. ¶¶ 832-34.




                                                 17
        Case 3:20-cv-00588-SRU Document 1 Filed 04/29/20 Page 28 of 175



       57.     Prior to Taro’s price increase, on May 14, 2014, Patel exchanged eight text

messages and had one phone conversation that lasted more than four minutes with her contact at

Taro. Id. ¶ 833. After those communications, Patel directed another Teva employee to create a

list of price increase candidates. Id. ¶ 834. On May 28, 2014, before Taro had informed its

customers of its price increase, the colleague sent Patel a list that included several sold by Taro,

and recommended increasing the price on Fluocinonide with a redacted message that the 2019

AG Complaint alleges demonstrates that Patel had knowledge of the Taro price increases. Id.

After the price increase, Patel continued to coordinate with Taro and other competitors, and to

communicate internally at Teva, to make sure that Teva did not compete with Taro for any

business based on the price increase, and then to follow that price increase almost exactly on July

1, 2014. Id. ¶¶ 833-845.

               2.      Indices of Collusion in the Market for Generic Drugs

       58.     The above allegations of collusion are further corroborated by an investigation

and analysis of several collusive drugs conducted by counsel on behalf of Plaintiff. This

analysis, which is appended hereto as Appendix A, demonstrates that the market for the

following drugs have indicia of very large collusive price hikes by Teva: (1) Pravastatin; (2)

Enalapril Maleate; (3) Cephalexin (oral suspension form); (4) Ketoconazole (tablet and cream

forms); (5) Baclofen; (6) Fluocinonide (cream, ointment, and gel forms); (7) Carbamazepine

(tablet and chewable tablet forms); and (8) Estradiol (tablet form). These are examples, selected

to test and corroborate the above allegations. It is highly likely that discovery will confirm that

there were numerous other drugs in which Teva and its competitors colluded to fix prices, set

market share, allocate customers, and rig bids.




                                                  18
        Case 3:20-cv-00588-SRU Document 1 Filed 04/29/20 Page 29 of 175



        59.      For these drugs, Teva was among the peer group that undertook extraordinary

price increases, and did so without the price hikes having any meaningful effect on its market

share. In other words, the market participants did not, as would be expected in a functioning,

non-collusive market, try to undercut each other’s prices to gain market share. A price hike was

in the competitors’ self-interests only if they all agreed to act in tandem.

        D.       Teva’s Price Increases Were Approved by Senior Executives

        60.      Allegations in the TSCA Complaint and the 2019 AG Complaint demonstrate that

Teva’s decisions to increase prices came from the top down. Based on conversations with former

Teva employees, the TSCA Complaint attributes the following allegations to former Teva

employees: 6

             Using an established review and approval procedure, price increases
              required the Chief Accounting Officer of Teva and Teva USA CFO,
              Griffin, and Teva USA COO, Cavanaugh to undertake and document a
              careful cost-benefit-analysis to determine whether to make a price
              increase; they would personally approve the increases. (FE-1, FE-2)
              Griffin and Cavanaugh would then decide when the increases would
              become effective, often implementing them in batches. (FE-1, FE-2)

             Members of the Pricing Group, who would have to provide detailed
              reviews and documentation of price reductions, were simply told via
              emails or in meetings to implement a price increase with little or no
              justification. (FE-3) While the directions often came from the head of
              Teva USA’s Pricing Group, Kevin Galownia, he did not have the
              authority to make price-increase decisions himself; those decisions
              came from above. (FE-3, FE-1, FE-2, FE-4) Once implemented, Teva
              notified its customers via a letter, and would circulate a copy to
              employees whose work would be impacted by the increase (e.g.,


6
 Allegations in this subsection attributed to “FE-__” are taken from allegations attributed to former Teva
employees in the TSCA. TSCA Complaint, ¶¶ 40-42, 48 (internal quotations omitted). These allegations
are corroborated by facts uncovered by the State AGs, including through discovery and investigation, and
alleged in the 2019 AG Complaint.


                                                   19
        Case 3:20-cv-00588-SRU Document 1 Filed 04/29/20 Page 30 of 175



             customer service employees who would need to field consumer
             complaints following the hikes). (FE-2, FE-4) The expected profits
             from the price increases were then incorporated into the Company-
             wide Oracle database, (FE-2, FE-1, FE-3), to which Oberman,
             Olafsson (who joined Teva in July 2014), Cavanaugh, and Griffin each
             had access. (FE-1, FE-3) Oracle generated daily or weekly Scorecards
             that Oberman (and later Olafsson), Griffin, and Cavanaugh would
             receive that reported generic drug revenues, which included the
             Inflated Profit, and tracked whether Teva was on schedule to meet
             forecasts. (FE-1, FE-2, FE-3)

            The Scorecards tracked profits against financial budgets and a long-
             term Work Plan which was prepared annually and contained forecasts
             for the coming three to five years. As to the generics segment,
             Oberman (and later Olafsson), Cavanaugh, and Griffin were
             responsible for assembling the Work Plan, and Oberman and Olafsson
             were responsible for presenting it to Teva’s executive committee in
             Israel, which included Vigodman and Desheh. (FE-2; FE-1) During
             each quarter, a document called a Latest Best Estimate (“LBE”) was
             prepared, with the involvement of Oberman (and later Olafsson),
             Cavanaugh, and Griffin, detailing whether forecasts were met, or
             whether there was a hole between the forecasted profits and reality.
             (FE-1; FE-2) The LBE reports were sent to Teva’s executive
             committee in Israel (FE-1; FE-2)

            From the Scorecards, LBE reports, and Work Plan, executives closely
             tracked the impact of price increases on the Company’s revenue. This
             reporting structure ensured that everyone would have known if there
             were significant price increases that generated large profits. (FE-2)

       61.      The 2019 AG Complaint provides examples of Teva implementing price hikes

pursuant to the above protocol. While some details are redacted from the public complaint, these

descriptions corroborate former employee allegations that the decision to raise prices came from

Cavanaugh. As discussed above, the State AGs had access to internal Teva documents and the

benefit of cooperating witnesses when drafting the 2019 AG Complaint.

       62.      To take one example, the 2019 AG Complaint describes how Teva raised the

price of Niacin Extended Release in early March 2014 when Teva lost exclusivity for the drug

                                                20
        Case 3:20-cv-00588-SRU Document 1 Filed 04/29/20 Page 31 of 175



and a competitor sought to enter the market. In this case, the competitor, Lupin, had previously

engaged in collusion with Teva. After learning that Lupin would be the only competitor,

Maureen Cavanaugh provided instructions to “K.G.” on February 28, 2014—a Teva employee

identified in the 2019 AG Complaint as a senior marketing employee and Nisha Patel’s

supervisor—who forwarded the instructions to Nisha Patel. On information and belief, K.G. is

Kevin Galownia, who was Senior Director of Marketing at the time of the price increase in

question. Later that same day, Patel called a contact at Lupin and spoke for almost seven

minutes. Shortly thereafter, on March 5, Patel sent an email to Teva’s pricing group, and Teva

informed its customers on March 6 that it was implementing a price increase on March 7. 2019

AG Complaint ¶¶ 730-33. These allegations corroborate allegations that the TSCA Complaint

attributes former Teva employees, that pricing instructions came from Kevin Galownia, but

originated with Cavanaugh. TSCA Complaint, ¶¶ 270-73.

       63.     The 2019 AG Complaint also contains further details about Cavanaugh’s approval

of price increases and her knowledge of collusion. For example, the AGs allege that “during a

2013 meeting of Teva sales and pricing personnel where Defendant Cavanaugh was present,

Defendant Patel was discussing her communications with certain competitors about price

increases when Defendant Cavanaugh smiled, put her hands over her ears, and pretended she

could not hear what was being said.” 2019 AG Complaint ¶ 1114.

       E.      The Undisclosed Price-Hike Scheme and Collusive Profits Inflated the Price
               of Teva’s Securities

       64.     Throughout the Relevant Period, Defendants convinced investors and analysts

that Teva’s remarkable turnaround was fueled by good management and superior products.

Based on these representations, investors drove up the price of Teva’s ADS and other securities.




                                               21
        Case 3:20-cv-00588-SRU Document 1 Filed 04/29/20 Page 32 of 175



       65.     Defendants began to implement the price-hike strategy in the third quarter of

2013. These price increases had an immediate positive impact on the Company’s earnings,

generating as much as $250 million in profits in the second half of 2013.

               1.      Teva’s Turnaround Story Drives Up ADS Prices in 2014

       66.     On February 6, 2014, Teva announced its fourth quarter 2013 and full year 2013

financial results in a press release. Those results improved as compared to performance prior to

the price-hike strategy. Specifically, Teva’s financial disclosures touted a 14% increase in U.S.

generics revenue for the fourth quarter, attributing it to “higher sales” volume, reduced expenses,

and “exclusive launches” of new generic drugs, and made no mention of the price-hike strategy.

       67.     During the February 6, 2014 earnings call, Desheh announced that Teva would

increase its quarterly dividend by 5%, that the “U.S. generic business is highly profitable,” and

that “[w]e had a pretty good, even excellent second half [of 2013] in the United States [generic]

business.” Oberman, CEO of U.S. generics followed and explained that “at the gross profit levels

that [Desheh] was talking about, [the U.S. generics business] is a very valuable business to Teva,

and we see it continuing to be on a go-forward basis”; a stark contrast from Levin’s assessment

just months earlier that the generics business was “slowing fundamentally.”

       68.     The improved financial results were well received by investors and analysts. On

February 6, 2014, a BMO Capital Markets analyst wrote that generic sales “came in above …

our expectations and consensus”; “[w]e think 4Q results are a high-quality beat with revenue and

EPS coupled with an improvement in margins year over year. . . . Teva shares should be

bolstered by today’s positive earnings announcement.”

       69.     The encouraging news triggered the beginning of a long and steep increase in

Teva’s ADS price that would last throughout 2014 and 2015. By early March 2014, the ADS had



                                                22
        Case 3:20-cv-00588-SRU Document 1 Filed 04/29/20 Page 33 of 175



risen from the $30s to trade at $48. The increased price of the ADS was critical to achieving

Defendants’ stated motivation to use the ADS as “currency” to make a major acquisition.

Desheh, on a March 4 investor conference call, explained that with “[t]he price under $40 . . . we

can’t use [Teva Securities as] currency,” but that, with “change[s] over the past few months,”

Teva was extracting itself from “a corner that was difficult to come from,” bringing Teva closer

to a large acquisition.

        70.     By the beginning of April 2014, Teva’s ADS price had increased to $54.06, or

19%, since the beginning of the Relevant Period. As a National Alliance Securities analyst

concluded, Teva’s ADS had “the Best YTD” 2014 performance relative to its peers, a stark

contrast to how Teva had “dramatically underperformed in 2013.”

        71.     In April 2014, Teva secretly increased the prices of another 12 generic drugs;

eight of the increases were carried out together with Teva’s competitors. By the end of the

second quarter, these new price hikes alone would generate as much as $50 million in Inflated

Profit; and as much as $395 million by the end of the Relevant Period.

        72.     On May 1, 2014, Teva reported surprisingly positive results driven by its generics

segment, which reported a YOY increase of $117 million from Q1 2013 profits. Defendants

falsely explained that lower expenses, a changed composition of revenues, and “new product

launches” were the cause of the increase in profits. In reality, price increases had generated $120

million that quarter.

        73.     Analysts reacted positively to Teva’s surprising and rapid turn-around. Cowen

and Company analysts wrote, “The bottom line is that this story is reversing (for the positive)

much faster than previously anticipated, and the belief that ‘growth’ could reemerge is very

real.” J.P. Morgan predicted an “upside to near/longer term EPS” because of Teva “taking



                                                23
        Case 3:20-cv-00588-SRU Document 1 Filed 04/29/20 Page 34 of 175



several steps to regain its generic leadership including … focusing more heavily on portfolio

selection and management.” Jefferies analysts noted that Vigodman “Impresses in His Wall

Street Debut” due to his determination to reestablish “Teva’s dominance in its core generic

business.”

       74.     By the summer of 2014, public attention to generic pricing had increased. On July

8, 2014, The New York Times published an article titled, “Rapid Price Increases for Some

Generic Drugs Catch Users by Surprise,” highlighting that the price of digoxin, a decades-old

drug that Teva did not produce, had nearly doubled since late 2013. Within days, and as a result

of this article, the Connecticut Attorney General began a non-public investigation into the

companies that manufactured digoxin. The Connecticut AG issued subpoenas to Teva’s

competitors, Impax, on July 14, 2014, and Lannett, on July 15, 2014; each company disclosed its

subpoena in an SEC filing the very next day.

       75.     In this context, on July 31, 2014, Teva announced its Q2 2014 financial results,

once again boasting an excellent outcome from its generics division. Profitability of the generic

segment increased by $156 million from Q2 2013, again attributed to legitimate business

strategies. During the earnings call, Desheh stressed that Teva’s “improvement in sales this

quarter was driven by the growth of our global generic business, primarily in the U.S.”

       76.     Analysts echoed Defendants’ explanations. Jefferies analysts observed: “we

continue to see signs of recovery for Teva’s U.S. generic business, which posted a strong 10%

Y/Y gain,” “Solid Q2.” Piper Jaffray increased its price target for Teva from $48 to $55 because

of “meaningful growth drivers for … [the] generics businesses,” and the “[s]teady performance

for U.S. generics.”




                                                24
           Case 3:20-cv-00588-SRU Document 1 Filed 04/29/20 Page 35 of 175



           77.   In truth, price hikes had generated as much as $160 million in Inflated Profits,

accounting for all of the YOY increase in profit reported for Teva’s global generics division.

           78.   Teva continued to report increasingly positive results driven by its U.S. generics

business, even as scrutiny of certain price increases in the industry continued. The State AGs

served Par Pharmaceuticals with a subpoena on August 6, 2014, which Par disclosed on August

11, 2014. Then, on October 2, 2014, Congress sent letters to Teva and 16 of its peers. The letter

addressed personally to Vigodman, sought information on “the underlying causes of recent

increases in the price of [Teva’s] drugs.” Vigodman never responded.

           79.   Griffin and Cavanaugh implemented another 20 price increases on July 1 and

August 28, 2014 (TSCA Complaint, Appendix A), 12 of which Teva made together with other

manufacturers. These 12 price increases would generate as much as $50 million in Inflated

Profits.

           80.   On October 30, 2014, Teva released positive third quarter results, driven by an

increase in generic segments profits of $160 million, or 40%, as compared to the third quarter of

2013. Defendants fraudulently attributed this increase to a reduction in expenses.

           81.   With Congressional hearings looming, on the October 30, Q3 2014 earnings call,

a UBS analyst asked Vigodman: “could you talk about Generics a little bit in the U.S.? . . .

whether there were price increases in some of your base business and whether that impacted”

profit. Vigodman fraudulently explained that the market was functioning normally and that

prices were decreasing:

                 When there’s an opportunity, when there is a shortage in the
                 market, we obviously look for pricing like any other business. But
                 overall, as I’ve said many times before, the base business itself is
                 slowly eroding, the overall of the base business.



                                                  25
        Case 3:20-cv-00588-SRU Document 1 Filed 04/29/20 Page 36 of 175



       82.     Vigodman’s statement misled investors as to the fact that Teva had, by this time,

implemented the strategy by effectuating price increases on 46 drugs since July 2013 (some more

than once), while not one of these 46 drugs were subject to shortages or other reported market

anomalies. In total, the systematic price hikes had yielded as much as $193 million in Inflated

Profit in the third quarter of 2014.

       83.     Unaware of the true facts, analysts reacted positively to Teva’s financial results,

and Teva’s ADS price continued to climb. A Cowen & Company analyst noted, Teva’s

“Operations Are Improving, Cash Flows Are Accelerating.” Piper Jaffray wrote, “Importantly,

operating profit . . . for the generics segment during the quarter was up 40% versus the same

period a year ago.” Morgan Stanley increased its price target for Teva from $57 to $61, stating,

“We are encouraged by progress that Teva is making on global generics under Siggi Olafsson.”

       84.     By November 2014, the DOJ initiated its own investigation into generic drug

pricing and impaneled a grand jury in Philadelphia, Pennsylvania. The grand jury began issuing

subpoenas to generic drug makers, the first on November 3, 2014 to Lannett and Impax relating

to a drug Teva did not make. The companies disclosed these subpoenas days later in SEC filings,

on November 6 and 7, respectively.

       85.     On November 20, 2014, the Senate Subcommittee on Primary Health and Aging

held a hearing to explore “if there was a rational economic reason as to why patients saw [] huge

price increases [in generic drugs] or whether it was simply a question of greed of companies who

were able to raise prices to whatever level they wanted.” Teva was invited, but refused to testify.

       86.     It was against this backdrop that, on December 11, 2014, the Company held a

guidance call with analysts. On the call, a Morgan Stanley analyst honed in on the issue of risky

price increases, asking: for “generic manufacturers, I’m assuming that wholesalers have been



                                                26
        Case 3:20-cv-00588-SRU Document 1 Filed 04/29/20 Page 37 of 175



seeing extraordinary price increases in recent years and has been buying inventory ahead of

tremendous price increases. . . . Are you able to control it?”

        87.    In response, Olafsson flatly denied that prices had increased at all: “So first let me

correct. I have to disagree that they have experienced tremendous price increase.” Olafsson

dismissed the matter further: “There has been a lot of press about price increases on individual

molecules and this has been a hot political issue selecting a few products.”

        88.    These statements were flatly belied by the facts, to which Olafsson had direct

access. Teva by then had implemented 50 price increases on 46 drugs, each from 50% to as

much as 1,500%; each increase was part of a concealed internal strategy and implemented

pursuant to Teva’s established internal practices.

               2.      Teva’s Reported Profits and Securities Prices Continue to Rise in
                       2015, Supporting Teva’s ADS Offerings

        89.    On February 5, 2015, Teva filed its fourth quarter and full year 2014 financial

results with the SEC, once again announcing positive results driven by the generics segment.

Fourth quarter 2014 profit for the generic segment increased $47 million, or 9%, as compared to

4Q 2013. For the full year 2014, profit from the generic segment increased $480 million from

2013.

        90.    Though Defendants attributed success to cost savings and other benign factors, in

Q4 2014 alone, Teva made as much as $219 million in profit from price hikes, and for the full

year 2014, as much as $700 million from price hikes.

        91.    Desheh bragged about the profits from Teva’s generic division without

mentioning the price hikes. On the February 5, 2015 earnings call, he claimed “the most notable

contribution” to Teva’s growth and profits “was generated by our Generic business, improving

profitability by more than 500 basis points,” contributing “nearly $500 million” and comprising

                                                 27
           Case 3:20-cv-00588-SRU Document 1 Filed 04/29/20 Page 38 of 175



31% of the Company’s total profit. Unaware that the profits came from price hikes, analysts

focused on this success. Piper Jaffray wrote that “profitability of the generics business [is]

continuing to improve.” Barclays focused on the trajectory of generics’ success: “profitability for

generics improved to 21.9% from 16.8% in 2013…. The company anticipates another 400 basis

point improvement in 2015 . . . a key priority.”

       92.      Notably, throughout 2014 the Officer Defendants had also claimed that some

portion of Teva’s increasing profitability in generics was attributable to a purported $2 billion

“cost cutting” program that had first been adopted in late 2012. However, only a fraction of that

cost cutting program actually fell to Teva’s bottom line as profit. As Defendants eventually

disclosed on a December 2014 investor call, by then Teva had generated only $150 million in

cumulative profit from the program since its inception. After that call, Defendants stopped

emphasizing cost cutting and mentioned it only rarely again.

       93.      Teva implemented another 14 price increases in January 2015 (TSCA Complaint,

Appendix A), nine of which were increased together with other manufacturers. By the end of the

first quarter of 2015, the 14 price increases undertaken in that quarter would generate as much as

$48 million in profits; the price hikes overall would generate as much as $228 million in the

quarter.

                       a)      The ADS Price Reaches Levels Sufficient to Finance an
                               Acquisition

       94.      These positive results boosted the ADS price to nearly $60, and Defendants’

motivation to use the ADS as “currency” for a “transformational” transaction was coalescing into

reality. As J.P. Morgan noted on February 5, 2015: “We believe that Teva is looking at assets of

all sizes, and will not rule out transformational M&A if the opportunity presents itself.” On

March 10, Susquehanna took note that “TEVA is increasingly focusing attention on its financial

                                                   28
        Case 3:20-cv-00588-SRU Document 1 Filed 04/29/20 Page 39 of 175



capacity and appetite for M&A.” By April 16, Barclays reported on Teva’s “willingness” to

perform a “‘transformational’ acquisition in the generics space.” That day, Leerink wrote that

Teva had an “urgency to diversify via M&A.”

       95.     Though not disclosed at the time, by late 2014 Defendants had actually

approached Allergan, although Allergan was not ready to make a deal then. Vigodman would

later admit, on July 27, 2015, that Actavis “was basically the highest priority” for an acquisition.

       96.     With Allergan rejecting Teva’s advances, Defendants planned a hostile offer for

Mylan, Teva’s long-standing rival. On April 21, 2015, Defendants filed a Form 6-K with the

SEC, announcing Teva’s unsolicited offer to acquire all of the outstanding shares of Mylan.

Mylan’s board quickly rejected the offer, criticizing Teva as a “low quality stock.” This rejection

intensified Defendants’ motive to improve the ADS price.

       97.     In the face of Mylan’s rebuff, on April 30, 2015, Defendants again announced

excellent results stemming from Teva’s generic segment, pointing to a profit increase of

$296 million, or 59%, compared to the first quarter of 2014. Defendants again misleadingly

attributed this increase in profits to a reduction in expenses, as well as a new product launch and

higher profitability in Europe. Defendants concealed that as much as $228 million in Inflated

Profits accounted for 77% of the reported generic profit increase.

       98.     On the earnings call, Olafsson announced a “1,000 basis points improvement over

a two years period” in “operating profit in the generic segment.” He attributed this to “a

significant improvement in our cost of goods. . . . portfolio offering . . . [including] when we

have more of the launches . . . [and] the cost infrastructure.”

       99.     In the absence of the truthful and complete reasons for Teva’s improved profit,

analysts credited Defendants’ false statements. J.P. Morgan noted, “Teva continues to make



                                                 29
        Case 3:20-cv-00588-SRU Document 1 Filed 04/29/20 Page 40 of 175



progress on generics profitability … we remain encouraged by the recovery in Teva’s generic

business.” Cowen and Company noted that Teva’s “outperformance was a result of better than

expected U.S. generic sales.” Buoyed by the fraud, Teva ADSs closed at $60.42 that day, an

increase of 33% since the start of Relevant Period.

                       b)     Defendants Announce $40 Billion Acquisition of Actavis

       100.     Finally, on July 27, 2015, with Teva’s ADS price reaching an all-time high of

$72, Teva announced the transformational acquisition Defendants had been seeking—the

Company had entered into a definitive agreement to acquire Allergan’s worldwide generics

business, Actavis, for $40.5 billion in cash and equity. In announcing the deal, Vigodman

explained that the rapid and surprising turnaround in Teva’s generics segment since the start of

the Relevant Period was the “precondition” for making the deal.

       101.     To pay for the deal, Teva would give Allergan $7 billion in ADS, and raise cash

from investors through a $7 billion secondary public offering of ADS and an initial public

offering of Preferred Shares in early December 2015, and $15 billion from an offering of bonds

set for 2017.

       102.     On July 30, 2015, following the announcement of the Actavis deal, Teva issued

more glowing Q2 2015 results driven by generics; specifically, an increase in generics profit of

$193 million, or 36%, compared to 2Q 2014, which Defendants misleadingly attributed primarily

to reduced expenses and new product launches. That day, Desheh, boasted about “the impressive

improvement in the profitability of our Generic business . . . up from around 20%, 21% a year

ago to between 39.5% to 30% in the first half of 2015,” and specifically the “strong focus on

U.S. Generics business.” Defendants concealed that price hikes contributed as much as $236




                                                30
          Case 3:20-cv-00588-SRU Document 1 Filed 04/29/20 Page 41 of 175



million in Inflated Profits in the second quarter alone. Without those price hikes, generic profits

would have declined.

          103.   In July 2015, Teva implemented another seven price increases, four of which

were executed together with other manufacturers’ price increases. By the end of the quarter,

these seven price increases, together with earlier hikes, would generate as much as $218 million

in Inflated Profits.

          104.   Following these increases, on October 29, 2015, Defendants issued Teva’s third

quarter 2015 results, reporting an increase of $20 million in generics profits compared to the

third quarter of 2014, again misleadingly attributing this increase mainly to lower expenses. In

reality, price hikes contributed as much as $218 million, ten times the reported improvement in

profit.

          105.   On the earnings call, Vigodman was exuberant about the “huge opportunities in

the United States” for generics. Likewise, Olafsson emphasized that “the Generic business in

third quarter continued to drive growth,” and that “[w]e really have been improving the

profitability over time,” pointing to increased margins of “16.8% in 2013, 22.1% in 2014, and

year-to-date number is about 28.9%.”

          106.   Analysts, unaware of the truth, continued to adopt Defendants’ misleading

narrative. Piper Jaffray wrote, “Margins for the generics business continue to improve. . . .

Though top-line growth for the generics segment has been anemic, margins have continued to

expand.”

                        c)     Defendants Continue to Mislead Investors Despite Increased
                               Public Scrutiny of Pricing

          107.   By the fall of 2015, however, Congressional initiatives, law enforcement actions,

and public anger toward perceived abuses in drug pricing had taken hold. Legislation was

                                                 31
        Case 3:20-cv-00588-SRU Document 1 Filed 04/29/20 Page 42 of 175



introduced in Congress that would penalize generic manufacturers for increasing prices at a rate

higher than inflation. The State AGs and DOJ were continuing their investigations. And,

Allergan had received a DOJ subpoena concerning generic pricing on June 25, 2015, which it

disclosed in an SEC filing on August 6, 2015.

       108.    Given this landscape, during the 3Q 2015 earnings call held on October 29, 2015,

analysts posed direct questions to Defendants aimed at getting a clear answer as to whether Teva

was exposed to the potential legislation. Defendants met these specific questions with equally

specific denials.

       109.    On the call, after a series of questions on the sustainability of Teva’s generics

success, Vigodman reaffirmed the false premise that Teva had generated its profits solely from

sustainable, ordinary business practices, and not price:

               We’re very . . . responsible in everything that portends to prices on
               the Generics side. . . . And I would even put it another way, all the
               improvement you see in our – in margins is not driven by price. It
               is driven by quantities and by mix and by efficiency measures.
               Not by price, 2014, 2015, and that’s a very important message.

Then, when a Barclays analyst asked for management’s thoughts on the proposed legislation’s

“potential limit to generic drug price increases,” Olafsson denied that Teva was exposed:

               In terms of the proposed legislation on pricing control on generics,
               . . . we have told you that overall on our whole portfolio, we have a
               decline in price. The talk about the inflation in generics when you
               have a big portfolio is really not there.

The only price increases he acknowledged were those “due to some abnormalities in the market,”

like supply shortages.




                                                32
        Case 3:20-cv-00588-SRU Document 1 Filed 04/29/20 Page 43 of 175



       110.    Misled, analysts took explicit note. That day, UBS repeated Defendants’

fraudulent denials: “[Management] highlighted that the [generic business] improvement was not

driven by price, but by volume, mix, and efficiency.”

       111.    Importantly, by this time, Defendants’ misstatements, which were necessary to

maintain the ADS price in order to raise the cash for the Actavis deal, were concealing an ever

increasing risk. Public, regulatory, and law enforcement scrutiny of the industry had begun to

undermine Teva’s ability to execute and sustain its price-hike strategy. Teva was finding it

increasingly difficult to increase prices. In 2014, Teva made 32 increases. In 2015, Teva made a

total of only 21 hikes; 14 in January, and seven in July, the final round of significant price

increases implemented in a systematic fashion prior to the close of the Relevant Period. By the

end of 2015, profits generated by price increases had diminished quarter over quarter for the first

time since Q1 2014.

       112.    With this context, and with the offering of $7 billion in ADS and Preferred Shares

weeks away, Teva attended a November 19, 2015, Jefferies conference. The moderator pressed

Desheh about “everyone’s favorite topic the last 2 months . . . pricing, is it an issue? . . . where

do you go on pricing?” Desheh acknowledged the swirl of concern over pricing and legislative

actions, but claimed that “Teva was not associated with any of that,” and specifically, with

respect to legislative initiatives to cap price increases, Teva’s exposure “is as a small as anybody

can have.” The opposite was true.

       113.    Shortly after making these statements, on November 30, 2015, Teva filed a

Registration Statement with the SEC, regarding Teva’s Secondary ADS and Preferred Share

Offerings, and on December 3 filed two prospectus supplements and issued the Secondary ADS

and Preferred Shares. The Offering Documents included numerous false and misleading



                                                  33
        Case 3:20-cv-00588-SRU Document 1 Filed 04/29/20 Page 44 of 175



statements attributing Teva’s profits to sources other than the price-hike strategy. The

ADS/Preferred Offerings raised approximately $7.2 billion.

               3.      As the Price-Hike Strategy Collapsed in 2016, Defendants Rushed
                       Their $20 Billion Offering

       114.    As 2015 came to a close, the effects of industry-wide pressure on generics pricing

spurred by the investigations and scrutiny on pricing practices came to the fore as a number of

industry participants reported a new trend of downward pricing pressure. On, January 11, 2016,

McKesson, one of Teva’s major wholesaler customers, announced that it “now expect[ed] that

operating profit from generic pharmaceutical pricing trends will be significantly weaker” through

the second half of its fiscal year, ending on March 31, 2016.

       115.    The same day, J.P. Morgan held a healthcare conference. With McKesson’s

announcement in mind, a J.P. Morgan analyst asked Olafsson to comment “on how you see

generic pricing as we look out not just this year but in the future and how Teva is able to

navigate the current environment?” Olafsson responded by fraudulently claiming that Teva was

not involved in “big price increases”:

               There’s a lot of headlines of examples of big price increases in
               generics. But when you are a company of the size of Teva and you
               have the portfolio that we have today – as I said, 270 products for
               the whole of the portfolio – there is a decline.

He later fraudulently explained that, because Teva had not taken “big price increases,” its

generics portfolio was not exposed to price deflation:

               The generic pricing – we need to keep in mind there’s a lot of talk
               about inflations in generic pricing. But what we see is there’s –
               overall on our total portfolio of 270 products, there is a slight
               decrease in pricing. … on 95% of our portfolio, we experience
               price decline. And then on 5%, we might be flat or a slight
               increase….


                                                34
        Case 3:20-cv-00588-SRU Document 1 Filed 04/29/20 Page 45 of 175



       116.    These false statements belied the truth. Teva had raised prices on 60 drugs, or

22% of the portfolio Olafsson cited, generating by that point as much as $1.7 billion.

               4.      Fourth Quarter and Full Year 2015 Results

       117.    On February 11, 2016, Teva issued its fourth quarter and full year 2015 financial

results. The full year disclosures reported Teva’s profit in generics in 2015 were up $500 million

YOY, concealing the $848 million contribution that price hikes had made during the year.

       118.    On the earnings call that day, Olafsson again touted a “$1 billion improvement in

operating profit over 24 months period,” pointing to generics profits going from “$1.68 billion

operating profit in 2013, or 17% of revenue, to $2.68 billion operating profit in 2015, or 28% of

revenue.” He explained rhetorically: “So how did we do this? Not by pricing but by portfolio

mix, new products, and efficiency measures.”

       119.    Olafsson denied even the mere existence of price inflation, let alone having

engaged in 71 price hikes: “on pricing…. [W]e and the generic industry overall don’t see price

inflation of generics as it sometimes is portrayed in the media.” In truth, the concealed price

hikes had generated as much as $1.5 billion in profits over the 24 months period Olafsson cited.

       120.    But additional price hikes had become more difficult, if not impossible to

implement. Accordingly, Teva reported that fourth quarter 2015 profit in generics increased only

1% compared to the fourth quarter of 2014. Analysts, thus, grew more concerned as more firms

reported pricing pressure in the fourth quarter. Guggenheim asked: “some of your competitors

have talked about pricing pressure in the generics business during the quarter. Curious if you saw

that, and if so what might be driving that.” Olafsson fraudulently responded:

               let me start on the pricing. As I mentioned in the beginning, we
               didn’t see anything change in fourth quarter. We saw
               approximately 4% pricing pressure or price decline in the US
               business over 2015 flat over the year.

                                                35
        Case 3:20-cv-00588-SRU Document 1 Filed 04/29/20 Page 46 of 175



        121.      Misled, Guggenheim expressed relief in its report, stating: “[u]nlike its generic

competitors, TEVA did not experience any increase in pricing pressure this quarter, which

highlights the strength of the company’s platform, in our view.” Jefferies’ analysts also

believed Olafsson’s false distinction between Teva and other companies reporting pricing

pressure: “Mgt noted that smaller generics players may have realized outsized gains from price

increases on individual drugs – and are thus now exposed to faster price erosion – and stressed

that its portfolio breadth and optimized supply chain/cost structure allow the co to maintain solid

profitability.”

        122.      The above false statements concealed from investors the true reason for the

flattening of the YOY profit growth from generics: Teva’s price-hike strategy had begun to

falter. The 60 drugs on which Teva had increased price were facing renewed pricing pressure. As

such, the quarterly change in profits generated by those increases had begun to decrease, by as

much as $70 million since the second quarter of 2015, or by 30%.

                  5.     Pricing Concerns Increase, Defendants Go On The Offense

        123.      As investors became increasingly concerned about the pricing environment,

Defendants continued to affirmatively deny any vulnerability to pricing pressure. At a March 8,

2016 conference, a Cowen analyst asked Olafsson to “discuss what you’re seeing” on “generic

pricing.” Olafsson said that “[Teva] never saw” price increases and that “inflation never really

happened in the generics business.” He added, “overall the pricing hasn’t changed that much,”

and was “stable,” and there had been no “big changes in the pricing environment” since 2015. In

reality, Inflated Profit had fallen in the fourth quarter 2015, to $166 million, compared to $218

million in the prior quarter.




                                                   36
        Case 3:20-cv-00588-SRU Document 1 Filed 04/29/20 Page 47 of 175



               6.     First Quarter 2016 Results

       124.    As the public and law enforcement scrutiny intensified, Teva was unable to make

significant additional price hikes, implementing only five during the entire course of 2016, all on

April 6 of that year, and all on drugs that Teva had hiked before and in markets where Teva

possessed a monopoly. See TSCA Complaint, Appendix A.

       125.    Facing declining profits, and knowing that the price-hike strategy was quickly

unraveling, Defendants desperately needed to raise the $20 billion in additional cash required to

close the Actavis deal through a bond offering before they disclosed the growing problems to

investors. On May 9, 2016, on the Q1 2016 earnings call, Defendants unexpectedly set a new

date for the $20 billion offering, moving it to September 2016.

       126.    That day, Teva also announced its first quarter 2016 financial results, reporting a

year-over-year decline in generic profit of $215 million. Defendants misleadingly attributed the

decline to higher expenses, lower sales, lower European profit, and fewer product launches.

       127.    Similarly, even as other generic drug manufacturers accurately reported poor

results due to pricing pressure, Defendants continued to deny that pricing pressure had any

impact on Teva. On the May 9, 2016 earnings call, Olafsson noted “the number of companies

citing a tougher pricing environment or price deflation seems to have grown at an almost

incredible rate.” However, he again denied that Teva had exposure to price deflation, and blamed

other manufacturers’ woes on those firms’ business models:

               Throughout the ongoing debate this year about the level of generic
               price erosion in the United States, Teva has been very consistent
               and clear with investors. Teva has not seen any fundamental
               change or worsening in the pricing environment… What this
               boils down to is each individual company’s business model.…
               Nothing has happened in the last two quarters that has changed
               the pricing environment.


                                                37
        Case 3:20-cv-00588-SRU Document 1 Filed 04/29/20 Page 48 of 175



Olafsson instead blamed Teva’s decline in generic profits entirely on issues other than pricing,

most prominently, the lack of new product launches. He misleadingly asserted that Teva’s prior

success had come from sustainable sources such as “portfolio optimization, strengthening our

capabilities in R&D, and manufacturing of complex products … and sales force effectiveness.”

       128.    In reality, like its competitors, price deflation was substantially damaging Teva’s

profits. Since the fall of 2015, the profits Teva harvested from its price hikes plummeted from as

much as $236 million in 2Q 2015, to $218 million in 3Q 2015, to a mere $124 million in the first

quarter of 2016.

       129.    Analysts credited Olafsson’s false denials. J.P. Morgan wrote, “Reassuring

Generics Outlook Ahead of [Actavis] Deal Close … Teva does not see any major changes in

the price environment.” Jefferies wrote “Generic pharmaceutical bellwether TEVA has not

witnessed a deterioration in the pricing environment, according to mgt. This directly contrasts

with what has been stated by a number of competitors over the past few months.”

       130.    With Teva’s debt offering scheduled to occur in the fall, and thus needing to keep

investors optimistic about Teva’s prospects, Defendants continued their unrelenting flow of

fraudulent statements and denials that Teva was seeing any increase in pricing pressure:

                      May 10, 2016 (Olafsson) “I know many of the competitors
                       in the generic space … are talking about a lot of pricing
                       pressure, but it shouldn’t be. There is nothing that has
                       happened over the last two quarters which has changed
                       fundamental the market.”
                      June 3, 2016 (Vigodman) “So we are very consistent. Our
                       message was conveyed, and we will continue to convey.
                       What we see is a 4% to 5% erosion. That’s what we see.
                       That’s not something which is different from what we
                       said during 2015. By the way, we continue saying it in
                       2016.”



                                                38
        Case 3:20-cv-00588-SRU Document 1 Filed 04/29/20 Page 49 of 175



                      June 8, 2016 (Olafsson) “[R]eally, the environment hasn’t
                       changed. When we signed that [Actavis] deal in July
                       [2015], we talked about 4% price erosion in the US generic
                       business. And we are still talking about the same number,
                       what we see in the base business.”

       131.    The undisclosed truth was that the rapid deterioration of the price-hike strategy

continued into the second quarter of 2016. Inflated Profits would decline 52% YOY.

       132.    Only days after Olafsson’s June 8 statements, undisclosed to shareholders, on

June 21, 2016, Teva received a subpoena from the DOJ seeking information relating to generics

pricing. And on July 12, 2016, Teva received a subpoena from the Connecticut AG.

       133.    After receiving the subpoena, Teva halted its price-hike strategy, and did not

make any further price increases for the duration of the Relevant Period.

       134.    On July 13, 2016, the day after receiving the subpoena from the Connecticut AG,

Defendants announced that Teva was accelerating its $20 billion debt offering from the

September timeframe it had announced just weeks earlier. Defendants filed the Registration

Statement with the SEC that very day.

       135.    To support this surprise announcement, Olafsson, Vigodman, and Desheh gave

bullish guidance to investors on a call that day through 2019, and reaffirmed guidance for the

remainder of 2016. Again, with industry reports of pricing pressure in mind, a Citigroup analyst

asked Olafsson on an investor call that day: “can you comment on the generics pricing

assumptions that you have baked into your forecast?” Olafsson responded: “we are assuming and

now forecasting for the guidance for the remainder of the year same pricing assumption as we

have had for the first half of the year,” because “we saw no change in the pricing. We saw a

stable environment . . . from first quarter into second quarter.”




                                                 39
        Case 3:20-cv-00588-SRU Document 1 Filed 04/29/20 Page 50 of 175



       136.    But far from being “stable,” the pricing environment for Teva’s own generics

portfolio had been deteriorating. Price-hike profit was down $122 million, or 52%, for the

second quarter as compared to the same period in 2015. After receiving the subpoena, Teva was

unable to offset this price deterioration with additional price increases. The pricing assumption

Teva “baked into” the guidance was contemporaneously false and disprovable.

       137.    At this point, however, Defendants were not only concealing the price-hike

strategy, they were also concealing that they had apparently abandoned that strategy after

receiving the Connecticut subpoena. As that strategy was central to Teva’s generic profits,

Defendants understood that abandoning it meant that Teva’s generic profits would suffer.

Defendants made no mention of this or the DOJ subpoenas until after the Notes Offering was

complete and the Actavis deal was closed.

       138.    Without the true facts, investors were falsely reassured that Teva had somehow

immunized itself from the downward industry trend. Piper Jaffray noted, “management stated

that it did not see further pricing pressure on the overall generics business,” which “may ease

recent worries regarding the near-term trajectory of the business.” Morgan Stanley wrote that

“pricing and LT Guidance [was] encouraging … [m]gmt sees US pricing environment as

unchanged.”

       139.    On July 18, 2016, Teva launched the $20 billion bond offering to finance the

Actavis transaction, approximately $15 billion of which were U.S. dollar denominated and sold

directly to investors, including Plaintiff. The offering was made pursuant to the Notes Offering

Materials, which incorporated several of the false and misleading quarterly and full year

financial disclosures. Despite dozens of pages of disclosures about other investigations and

litigations, neither the Notes Offering Materials, nor the documents incorporated by reference



                                                40
        Case 3:20-cv-00588-SRU Document 1 Filed 04/29/20 Page 51 of 175



therein, disclosed the DOJ and Connecticut AG subpoenas, or their impact on the Company’s

future revenues.

               7.      Teva’s Security Prices Fall Back to Earth as the Fraud Unravels

       140.    On August 4, 2016, Teva announced disappointing second quarter 2016 results

and disclosed for the first time the receipt of the DOJ and Connecticut AG subpoenas. The

financial disclosures reported $115 million less in generic profit in 2Q 2016, than in the second

quarter of 2015, a decrease attributed mostly to increased expenses, the loss of exclusivity on

certain products, and lower sales on products for which Teva had not taken price increases. This

misleading attribution concealed that Teva earned as much as $122 million less in Inflated Profit

for 2Q 2016 YOY. On the disclosure of the poor results and the subpoenas, the price of Teva

Securities declined.

       141.    Defendants scrambled to mitigate the bad news, making a series of false

statements to reassure investors that Teva was still immune to the swelling pricing pressure. On

the earnings call, the Citigroup analyst again asked whether decreased U.S. generic revenues had

impacted Teva’s views on pricing stability. Likewise, Olafsson once again falsely claimed that

“the pricing is stable to the same degree as before . . . very stable from the first quarter.” This

was belied by facts that Olafsson was presented with on the daily Scorecards, and in the LBEs

and Work Plan, that he shared with the other Officer Defendants, which would have revealed

dramatically decreasing Inflated Profit.

       142.    When a J.P. Morgan analyst asked whether Teva might increase prices following

the Actavis acquisition, Olafsson fraudulently implied that Teva had never increased prices to

drive profits, and that opportunities to do so were ephemeral and limited to times of shortage,

stating, “pricing comes with shortages in the market … if there’s some kind of dysfunction in



                                                  41
        Case 3:20-cv-00588-SRU Document 1 Filed 04/29/20 Page 52 of 175



the market, there might be a small pricing opportunity that usually comes in and comes out.”

The concealed truth was that Teva had made 76 price increases on 60 drugs, and none had

anything to do with shortages. And now, with those inflated prices under pressure, the Inflated

Profit was declining.

       143.    The false statements mollified unaware analysts. J.P. Morgan wrote, “[Teva’s] US

generics business [was] modest[ly] below expectations but generic pricing environment remains

stable.” Morningstar analysts similarly wrote that Teva’s “Management also noted underlying

price erosion remains consistent in the mid-single digits at approximately 4%.”

       144.    The table below reflects the change in Teva’s profits as reported in the first half of

2016, as well as the change in Inflated Profits for the same period:

         2016 ($ millions)                        Q1            Q2        Half Year
         Reported YOY Change in
                                                -$215         -$115         -$330
         Generics Profit
         (Unreported) YOY Change
                                                -$104         -$122         -$227
         in Inflated Profit

               8.       Teva’s Generics Day

       145.    On September 9, 2016, Teva held its “Generics Day” for investors, during which

Defendants touted the supposed opportunities of the combined Teva/Actavis business. Olafsson

issued more misleading, categorical claims that Teva had never inflated its prices for generics

drugs: “[t]here is no inflation in the generic pricing”; “people that say that … there’s a big

generic price inflation, are simply wrong.” He falsely reiterated that price increases occurred

only with market abnormalities like shortages: “When price increases are taken, there’s some

kind of abnormality in the business. There are shortages.”

       146.    Olafsson then falsely explained that Teva had a purported “secret sauce” that

immunized the Company from pricing pressure. In reality, the “secret sauce” was price hikes and


                                                 42
        Case 3:20-cv-00588-SRU Document 1 Filed 04/29/20 Page 53 of 175



collusion, and it had run out. Teva was suffering from pricing pressure on its drug portfolio

which in reality had “big generic price inflation” from years of large price hikes made pursuant

to the price-hike strategy.

       F.      Defendants’ Fraud Continues to Unravel in 4Q 2016

       147.    On November 3, 2016, Bloomberg published an article titled, “U.S. Charges in

Generic-Drug Probe to Be Filed by Year End,” revealing for the first time that “according to

people familiar with the matter,” “U.S. prosecutors are bearing down on generic pharmaceutical

companies in a sweeping criminal investigation into suspected price collusion” as the “antitrust

investigation by the Justice Department, begun about two years ago, now spans more than a

dozen companies and about two dozen drugs,” and “the first charges could emerge by the end of

the year.” Moreover, “Connecticut Attorney General George Jepsen . . . is seeking to lead a

group of states . . . seeking damages.” The article specifically mentioned Teva as one of the

companies.

       148.    Accordingly, Teva was now for the first time reported as a potential target of

criminal and civil liability. The price of Teva securities fell immediately upon release of this

article, with its ADS price plummeting 9%.

       149.    On November 15, 2016, Teva reported its third quarter 2016 results, its first post-

Actavis financial report, disclosing disappointing numbers, particularly from Teva’s legacy

generics business. With revenues from Actavis removed, Teva’s U.S. generics revenues declined

$277 million YOY from the third quarter of 2015. Defendants fraudulently attributed the decline

to causes such as divestments and lost sales from certain drugs. In truth, as much as $121

million, or 44%, of the overall YOY decline, was attributable to a YOY decline in Inflated Profit

as the price-hike strategy collapsed. This decline would, again, have been reflected in the



                                                 43
        Case 3:20-cv-00588-SRU Document 1 Filed 04/29/20 Page 54 of 175



Scorecards, and the “hole” between forecasts and actual revenues long ago captured in the LBEs,

and circulated to Olafsson, Desheh, and Vigodman.

       150.    Olafsson, however, falsely insisted that “like previous quarters, there hasn’t been

any fundamental change in the US drug pricing.” Indeed, Olafsson doubled down when a Wells

Fargo analyst expressly asked whether the reported increase in price erosion to 7% was a “result

of having to tame previous price increases, or give back some of those?” Olafsson flatly, and

fraudulently, stated “No.” He instead claimed the number increased because of divested drugs,

and thus, that it was an anomaly limited to the quarter. A puzzled J.P. Morgan analyst pressed

him, observing that “anyone that look[s] at the industry as a whole, it feels like this [is] a broader

issue than [a] one-off market disruption.” Olafsson adamantly insisted “there hasn’t again been

any fundamental change” in pricing.

       151.    The false statements comforted analysts otherwise troubled by the poor U.S.

generic results. Deutsche Bank wrote: “management continue[d] to expect mid-single digit price

erosion in 4Q and over the longer term.”

       152.    Less than three weeks later, on December 5, 2016, Teva unexpectedly announced

Olafsson’s “retirement.” His replacement, Bhattacharjee, immediately took over as CEO, Global

Generic Medicines Group. In reality, Olafsson, only 48 years old, was fired. He is now the CEO

of Hikma Pharmaceuticals PLC, and a director of other companies.

       153.    Analysts readily saw through the implausible reason for Olafsson’s departure,

concluding that he had been terminated due to the poor performance of Teva’s generics division.

In truth, the sudden change in performance was the materialization of the risks associated with

the price-hike strategy; Inflated Profit suddenly dropped; law enforcement was now pursuing




                                                 44
        Case 3:20-cv-00588-SRU Document 1 Filed 04/29/20 Page 55 of 175



Teva; a price-inflated generics portfolio was increasingly susceptible to pricing pressure; and

Teva could not plug the hole in its financial results with price increases.

       154.    On December 14, 2016, the DOJ announced it had charged (by information)

Glazer and Malek, the former CEO and the former President, respectively, of Heritage, a

competitor of Teva’s, for their roles in conspiracies to fix prices, rig bids, and allocate customers,

including manipulating the market for Glyburide from 2013 through the end of 2015. The

connection between Teva and these charges was clear; Teva controlled over 75% of the market

for Glyburide during the Relevant Period.

       155.    The next day, December 15, 2016, the Connecticut AG announced that he and 19

other State AGs had filed a federal lawsuit for antitrust violations against Teva USA and five

other major drug companies, alleging that Teva conspired on Glyburide. The 2018 AG

Complaint cited emails, calls, and documents that evince explicit collusion between Teva and

Heritage’s principals, Malek and Glazer. The State AGs have since filed the 2019 AG

Complaint, expanding their claims against Teva to include over 100 drugs, as discussed above.

       G.      The True Nature of Teva’s Business Finally Becomes Clear

       156.    In view of Olafsson’s departure, on January 6, 2017, Teva provided 2017

guidance a month early, announcing a significant reduction, and surprising analysts. Vigodman

attributed the reduction to previously-unannounced poor performance, and an “EBITDA gap of

$1.2 billion emanating from our US generics business.” Teva’s legacy generics business

“explain[ed] the majority of the gap.” On this news, the price of Teva Securities plummeted.

       157.    Vigodman concealed that the EBITDA “gap” was actually attributable largely to

the collapse of Teva’s price-hike strategy, and the resulting steep decline in Inflated Profit. In

2016, Teva had generated only as much as $420 million in Inflated Profit, compared to $848



                                                 45
        Case 3:20-cv-00588-SRU Document 1 Filed 04/29/20 Page 56 of 175



million in 2015. In each quarter of 2016, Inflated Profit declined at least 45% YOY. In 2016,

Teva made only five modest (~25%) price increases.

       158.    The following chart reflects the YOY reduction in Inflated Profit on a quarterly

basis from 2015 to 2016:

      Inflated Profit
                               Q1            Q2            Q3            Q4         Full Year
        ($ millions)
           2015               $228          $236          $218           $166          $848
           2016               $124          $114           $97            $86          $421


       159.    Vigodman, for his part, continued to fraudulently claim that Teva’s profitability

since 2014 was “accomplished with a strong emphasis on the cost of goods sold, product mix,

and the overall cost structure,” and “not by price.”

       160.    On February 6, 2017, Teva announced Vigodman’s termination, effective

immediately. Without a permanent replacement, Teva appointed Peterburg, its Chairman of its

Board since January 2015, as Interim President and CEO. Investors reacted negatively on this

news, and the price of Teva Securities dropped significantly. Once again, the reality was that

Vigodman was fired; the price-hike strategy had collapsed, along with all the success that

Vigodman had boasted about for years.

       161.    On February 13, 2017, Teva announced its full year 2016 and fourth quarter 2016

results. Defendants disclosed that, without the Actavis revenue, Teva would have reported a

$233 million YOY decline in quarterly U.S. generics revenues, but concealed that as much as

$80 million of that YOY decline resulted from the decline in Inflated Profit.

       162.    As to the full year 2016, without Actavis, Teva would have reported a YOY U.S.

generic revenue decline of $1.4 billion for the full year 2016, which Defendants attributed to a

loss of exclusivity, lower sales of certain drugs, and the loss of revenues from divested product,



                                                  46
          Case 3:20-cv-00588-SRU Document 1 Filed 04/29/20 Page 57 of 175



when in fact as much as $427 million of the yearly decline resulted from the decline in Inflated

Profit.

          163.   Weeks later, on June 8, 2017, Teva announced the nomination of four new

directors to its Board, in an attempt to assure investors that the Company was attempting to

redeem itself and regain lost credibility. By June 21, 2017, Desheh was also out, leaving Teva for

another job.

          164.   On August 3, 2017, with Desheh, Vigodman, and Olafsson—the principal

architects of Teva’s price-hike strategy—finally gone, and with new Board members in place,

Teva took a $6.1 billion charge against its U.S. generics business, a permanent reduction in the

entire business’s valuation and a dollar-for-dollar hit to the Company’s bottom line. In addition,

after at least thirty years of maintaining its shareholder dividend, Teva announced a 75%

reduction in its payout. In reporting a dismal loss of $5.94 per share, Teva also drastically

revised the guidance issued in January (which already revised the July 2016 guidance); this

guidance reduction was a direct result of the complete collapse of the price-hike strategy, and

evaporation of the Inflated Profits, which by this point amounted to just $53 million per quarter,

with no reason to believe that the erosion would abate.

          165.   On this news, the credit rating agencies, concerned about Teva’s ability to service

over $30 billion in debt, downgraded Teva to just one notch above “Junk” rated debt. Investors

fled Teva Securities, and the price of Teva’s ADS fell dramatically.

          166.   Further, as the multiple government investigations and State AG lawsuits

intensified, Teva repeatedly made false and misleading statements and/or failed to disclose

material adverse facts regarding Teva’s anticompetitive practices and involvement in the

collusive scheme. For example, on August 3, 2017, Teva described the various antitrust matters



                                                 47
         Case 3:20-cv-00588-SRU Document 1 Filed 04/29/20 Page 58 of 175



it faced, including the Connecticut AG and DOJ subpoenas and the December 2016 State AG

lawsuit referenced above, and fraudulently stated that “Teva denies having engaged in any

conduct that would give rise to liability with respect to the above-mentioned subpoenas and

civil suits.”

        167.    The truth about Teva’s collusion further emerged with the publication of an article

on December 9, 2018 in The Washington Post, which quoted statements from Connecticut

Assistant AG Joseph Nielsen that the State AGs’ investigation had expanded to at least 16

companies and 300 drugs, and exposed “the largest cartel in the history of the United States.”

The article also noted Teva’s continued denial of engaging in any anticompetitive conduct, and

its statement in a court filing that allegations of a price-fixing conspiracy “are entirely conclusory

and devoid of any facts.”

        168.    On May 10, 2019, after the market closed, the State AGs filed a 524-page

antitrust complaint revealing previously undisclosed facts regarding Teva’s participation in the

generic drug price-fixing conspiracy that is independently previously alleged herein. The 2019

AG Complaint alleges that Teva implemented significant price increases for approximately 112

generic drugs, including extraordinary price hikes of over 1,000%, and details Teva’s price-

fixing with regards to at least 86 of those generic drugs (over half of which are independently

alleged and in the TSCA Complaint at Appendix A). The action details Teva’s role as a

“consistent participant” and a central player in the conspiracy. Further, the civil enforcement

action names four Teva employees personally as defendants: Cavanaugh, Patel, Kevin Green

(Teva’s former Director of National Accounts), and David Rekenthaler (Teva’s former Vice

President, Sales U.S. Generics).




                                                 48
        Case 3:20-cv-00588-SRU Document 1 Filed 04/29/20 Page 59 of 175



V.     FALSE AND MISLEADING STATEMENTS AND OMISSIONS

       169.    During the Relevant Period, Defendants made six types of false and misleading

statements or omissions on conference calls with investors and in SEC filings:

        (a)    Item 5 Defendants violated their statutory duty to disclose material trends under
               Item 5 of Form 20-F. Defendants failed to disclose the material trend of
               generating profit as part of the concealed price-hike strategy. They also concealed
               the trend of declining Inflated Profit, and that they could no longer make price
               increases as the strategy unraveled.
        (b)    False Statements Regarding Competition These statements falsely indicated that
               Teva was participating in competitive and functioning markets for generic drugs.
               To the contrary, Teva made dozens of price increases in tandem with its
               competitors. Teva and these companies deliberately did not compete on price.
        (c)    False and Misleading Pricing Statements These statements concealed Teva’s
               price-hike strategy and the profits it generated. Later, the statements concealed
               that the price-hike strategy fell apart as Teva was unable to make more price
               increases or sustain Inflated Profit. These statements were particularly misleading
               as Defendants touted, and investors were highly attuned to, the sources of the
               generic segment’s purported success.
        (d)    False Denials Of Teva’s Participation in Collusive Conduct These statements
               falsely denied that Teva had participated in collusive conduct, while in reality
               Teva was the central actor in an industry-wide scheme to fix prices and allocate
               customers, and four Teva executives were so extensively involved in the unlawful
               conspiracy that they were named personally as defendants in the 2019 AG
               Complaint.
        (e)    False Statements Regarding Actavis Acquisition These statements failed to
               disclose and actively concealed the negative impact resulting from the acquisition
               and integration of Actavis on Teva’s financial results and business prospects.

       170.    The alleged false and misleading statements and omissions below that were made

in Teva’s financial disclosures filed with the SEC, and were attributable to Defendants as

follows. Desheh was responsible for and signed each Form 20-F and 6-K. Vigodman was

responsible for each Form 20-F and 6-K filed during his tenure as Teva’s CEO. Olafsson was

responsible for the reporting for Teva’s generics segment in each Form 20-F and 6- K from the

third quarter of 2014 through the third quarter of 2016.


                                                49
        Case 3:20-cv-00588-SRU Document 1 Filed 04/29/20 Page 60 of 175



       A.      Defendants Violated Their Statutory Duty to Disclose Pricing Trends

       171.    During the Relevant Period, Defendants were under a statutory duty of disclosure

pursuant to Item 5 of Form 20-F (“Item 5”), interpreted by the SEC and courts to require the

same disclosures as Item 303 of Regulation S-K (“Item 303”). Item 303 (and Item 5) require that

a foreign issuer such as Teva must, in the Management Discussion and Analysis (“MD&A”)

section of its Forms 20-F, describe any known trends or uncertainties that have had or that the

registrant reasonably expects will have a material favorable or, unfavorable impact on net sales

or revenues or income from continuing operations. The failure to disclose a material trend or

uncertainty in violation of Item 303 is an omission that is actionable under the securities laws.

       172.    According to the SEC’s interpretive release regarding Item 303, disclosure is

necessary where a trend, demand, commitment, event or uncertainty is both presently known to

management and reasonably likely to have material effects on the registrant’s financial

conditions or results of operations. Even if Defendants were not certain about the likely effect of

the event or trend on their future revenues, Defendants were still required under Item 303 to

disclose the manner in which that then-known trend, event, or uncertainty might reasonably be

expected to materially impact Teva’s future revenues.

       173.    SEC Staff Accounting Bulletin No. 104 explains this disclosure duty further,

requiring that management disclose in the MD&A section the impact of artificial or collusive

price increases, demanding that: “Changes in revenue should not be evaluated solely in terms of

volume and price changes, but should also include an analysis of the reasons and factors

contributing to the increase or decrease.”

       174.    During the Relevant Period, under Item 303, Defendants failed to disclose at least

two trends related to the pricing of Teva’s generic drugs. First, Defendants failed to disclose the



                                                 50
        Case 3:20-cv-00588-SRU Document 1 Filed 04/29/20 Page 61 of 175



trend that Teva’s financial success was driven in a material way by the price-hike strategy. These

price increases, as discussed, generated as much as $2.3 billion in Inflated Profit for Teva over

the Relevant Period. Yet, the price-hike strategy and the Inflated Profits it generated were risky

and unsustainable as the price-hike strategy was susceptible to actual competition, as well as

public scrutiny, and scrutiny by legislatures, regulators and criminal investigators.

        175.   Second, starting no later than the beginning of 2016, Defendants failed to disclose

the by-then known trend that the price-hike strategy was beginning to fail. Teva could not

maintain the Inflated Profits as industry-wide pricing pressure, which Defendants consistently

denied, was reducing the inflated prices on Teva’s generic drug portfolio. Teva was also finding

it increasingly difficult, if not impossible, to make additional price increases because of the

scrutiny from the public, Congress, and the DOJ and State AGs investigations; and indeed, Teva

effectively could not make any price increases after the DOJ subpoena was served on June 21,

2016.

        176.   SEC Release No. 33-8350 provides MD&A disclosure guidance that is a nearly

perfect analogy to the facts here, requiring that:

               if a company’s financial statements reflect materially lower
               revenues resulting from a decline in the volume of products sold
               when compared to a prior period, MD&A should not only identify
               the decline in sales volume, but also should analyze the reasons
               underlying the decline in sales when the reasons are also material
               and determinable. The analysis should reveal underlying material
               causes of the matters described, including for example, if
               applicable, difficulties in the manufacturing process, a decline in
               the quality of a product, loss in competitive position and market
               share, or a combination of conditions.

        177.   Instead, in violation of its duties under Item 303, Teva only disclosed trends that

did not bear on the issue of price inflation (through price increases), or price erosion. Teva’s


                                                     51
        Case 3:20-cv-00588-SRU Document 1 Filed 04/29/20 Page 62 of 175



failure to disclose the pricing trends was particularly misleading given that (i) price increases

were a core but concealed business strategy; (ii) management concurrently denied that pricing

had impacted Teva’s bottom line and that the Company made price increases simply for profit,

management consistently minimized the positive impact of price increases on Teva’s profits,

management consistently denied that price increases had resulted in price inflation, and

management denied that price deflation was materially affecting Teva, even as its revenues from

the former price increases cratered.

       B.      Defendants’ False and Misleading Statements That Teva Operated in a
               Competitive Market with Respect to Price

       178.    Throughout the Relevant Period, on conference calls and in Teva’s SEC filings,

Defendants made materially false and misleading statements concerning purported “intense” or

“fierce” competition on price in the U.S. market for generic drugs. These statements gave

investors the false impression that the markets for generic drugs were functioning as intended.

Given that their products are undifferentiated commodities, the only way that generics

manufacturers can compete is on the price of their products. Such competition is the very

purpose of the generics market, which was created to drive the price of generic drugs towards

their marginal cost of production, opening access for patients to life-saving medicines.

       179.    Defendants’ statements about supposed competition on price by generics

manufacturers were false and misleading because Teva was not in fact competing on price.

Instead, Teva and its competitors regularly colluded to raise prices in tandem and allocate market

share to prevent price competition. In addition, as alleged in the TSCA Complaint, Teva and its

competitors raised their prices in tandem on at least 48 occasions, often in very large amounts of

well over 100%, rather than use lower prices to increase market share. TSCA Complaint, ¶ 175

and Appendix A. Teva would also raise the price of drugs on which it had a monopoly, while

                                                 52
        Case 3:20-cv-00588-SRU Document 1 Filed 04/29/20 Page 63 of 175



other generics manufacturers stayed on the sidelines instead of entering the market. Teva was

profiting from a lack of competition, not from thriving in a competitive market environment. The

markets for generic drugs were not functioning competitively; rather than compete, generic drug

manufacturers would deliberately and intentionally avoiding competition.

               1.      False Statements on Conference Calls

       180.    July 27, 2015 Conference Call On Teva’s investor call to discuss the Actavis

acquisition, Olafsson responded to a question concerning the competitive landscape of the

generic drug market, stating:

               the U.S. generic market is very competitive … [T]here’s fierce
               competition on most of the portfolio, if not all of the portfolio.

       181.    On that same conference call, Vigodman added:

               we promise to do everything in our power to basically take the
               company to be able to continue the improvement that we have
               been witnessing here. We believe in competition, and we’ll do
               what is needed in order to win in all the markets we operate.

       182.    October 29, 2015 Earnings Call On the earnings call relating to Teva’s Q3 2015

financial results, Olafsson similarly falsely stated:

               So on the pricing, I think pricing is obviously based on the
               competition. We have talked about that the overall pricing trend
               is down.

       183.    November 19, 2015 Conference Call Desheh, on an additional investor

conference call, again falsely stressed that Teva was fiercely competing in generics markets:

               Generic prices. There is – there are no – I don’t believe that there
               are many examples for competitive environment, real
               competition, like we see in generic market in the United States …
               So it is a highly competitive environment with players coming
               from all over the world with a very fierce price competition. The
               price of generic went down 50% over the past 10 years .… So
               we’re playing a competitive game. We’re playing it fairly. We of

                                                  53
        Case 3:20-cv-00588-SRU Document 1 Filed 04/29/20 Page 64 of 175



               course play by the book and by the rule … And we are in short
               playing in a very competitive market.

       184.    These statements were false and misleading. Contrary to Olafsson’s July 27,

2015 statement, by that time there was not “fierce competition on most of . . . if not all of”

Teva’s generic drug portfolio. Since July 2013, Teva had made, pursuant to the price-hike

strategy, 61 price increases without any competitor competing on price. At least 48 of those price

increases were made in tandem with Teva’s supposed competitors. Vigodman’s July 27, 2015

statement that “we believe in competition” was also false as a result, and the fact that the Officer

Defendants had adopted and participated in the price-hike strategy, the success of which

depended on a lack of competition. Olafsson’s October 29, 2015 declaration that “pricing is

obviously based on competition” was false because, by then, the opposite was true: pricing for

the drugs subject to the price-hike strategy was based on a distinct lack of competition. Desheh’s

November 19, 2015 statements that Teva was “playing a competitive game…by the rule” in the

generics markets was false and misleading for all the reasons that the other statements were.

Each of these statements was particularly misleading given the importance of the concealed price

increases to Teva’s bottom line, and because the profits from this concealed source were in fact

the centerpiece of Teva’s supposed turn-around and its success.

               2.      False Statements in Teva’s SEC Filings

       185.    In each of the Forms 20-F that Teva filed for the years 2013, 2014, and 2015,

Defendants made substantively identical false and misleading statements (adopted by reference

in each quarterly filing) that (i) warned investors that “intense” competition was a primary risk

Teva faced in the U.S. generic drug market, and that competition would force the price of

generic drugs down, as would be expected; and (ii) described how Teva’s competitive advantage

was a “competitive pricing strategy” and the ability to launch new generics:

                                                 54
        Case 3:20-cv-00588-SRU Document 1 Filed 04/29/20 Page 65 of 175



               Our generic drugs face intense competition. Prices of generic drugs
               typically decline, often dramatically, especially as additional
               generic pharmaceutical companies (including low-cost generic
               producers based in China and India) receive approvals and enter
               the market for a given product and competition intensifies.
               Consequently, our ability to sustain our sales and profitability on
               any given product over time is affected by the number of new
               companies selling such product and the timing of their approvals.
               In the United States, we are subject to intense competition in the
               generic drug market from other domestic and foreign generic drug
               manufacturers, brand-name pharmaceutical companies through
               lifecycle management initiatives, authorized generics, existing
               brand equivalents and manufacturers of therapeutically similar
               drugs. Price competition from additional generic versions of the
               same product typically results in margin pressures. We believe that
               our primary competitive advantages are our ability to continually
               introduce new and complex generic equivalents for brand-name
               drug products on a timely basis, our quality, our customer service
               and the breadth of our product portfolio. We believe we have a
               focused and competitive pricing strategy.

Each of these statements was materially false and misleading because, while Defendants

represented that the U.S. generic drug market was working effectively as designed by forcing

rival generic drug manufacturers to compete for market share by underbidding each other on

price, the opposite was true. Teva was actively colluding with competitors. Teva had made

dozens of price increases over this time, including dozens in tandem with competitors. The

statements to the effect that that “price typically declines, often dramatically” because of

competition, resulting in “margin pressure,” and that Teva’s means to combat the purported

effects of competition were through launches and a “competitive pricing strategy,” were false

and misleading because they concealed that in 2013, 2014, and 2015 Teva implemented the

price-hike strategy and undertook, respectively, 18, 31, and 18 systematic increases of generic

drug prices to generate billions in Inflated Profits, by deliberately taking advantage of markets

that lacked competition.

                                                 55
        Case 3:20-cv-00588-SRU Document 1 Filed 04/29/20 Page 66 of 175



        C.      False and Misleading Statements and Omissions Regarding Pricing

        186.    Defendants made numerous statements to conceal their price-hike strategy and its

effects. Those false and misleading statements fall into four general categories:

        (1)     Statements in SEC filings that attribute the YOY changes in Teva’s generic
                segment profit and U.S. generic revenues to sources other than the YOY changes
                in Inflated Profit from price hikes, which are misleading half- truths. Once
                Defendants spoke on these subjects, they had a duty to fully and accurately
                describe the source of Teva’s profits.
        (2)     Flat denials that Teva had engaged in and derived material financial benefit from
                price increases.
        (3)     False claims of limited price hikes asserting that Teva only raised prices on a
                select few generic drugs when there was a shortage or other abnormality in the
                market of that drug, when in fact none of the dozens of price increases the
                Company made were accompanied by a shortage.
        (4)     Denials of pricing pressure even as Teva could not maintain the Inflated Profit
                from price increases or implement new price increases.

                1.        Fourth Quarter and Full Year 2013
                          False and Misleading Financial Disclosures

        187.    On February 6, 2014, Teva filed a press release disclosing its fourth quarter 2013

(“Q4 2013”) financial results (the “Q4 2013 Press Release”) and held an investor earnings

conference call (the “Feb. 6, 2014 Earnings Call”). On February 10, 2013, Defendants filed

Teva’s annual report with the SEC on Form 20-F (the “2013 20-F”), reporting Teva’s full-year

2013 financial results.

        188.    Q4 2013 Press Release The Q4 2013 Press Release announced U.S. generics

revenues of $1.2 billion for the fourth quarter, a YOY increase of $144 million, or 14%, with the

attribution that the increase:

                [r]esulted mainly from the exclusive launches of [niacin ER and
                temozolomide] … in the third quarter of 2013, and launches of
                [duloxetine and tobramycin] … in the fourth quarter of 2013, as
                well as higher sales of budesonide inhalation.


                                                56
           Case 3:20-cv-00588-SRU Document 1 Filed 04/29/20 Page 67 of 175



The statements were false and misleading because, having attributed the source of the revenue

increase, Defendants had a duty to disclose, but concealed the full truth that the price-hike

strategy, whereby Teva made at least 18 systematic price hikes in July and August 2013,

contributed materially to the results. These price increases generated as much as $147 million in

Inflated Profit in Q4 2013, comprising the entire YOY increase in U.S. generic revenues.

       189.     2013 20-F The 2013 20-F disclosed a YOY decline in generic profit of $400

million, or 20%, “primarily” attributed to:

                “lower revenues and lower gross profit, which were partially offset
                by a reduction in selling and marketing expenses,” and “by sales of
                higher profitability products in the United States.”

       190.     The statements were false and misleading because, while Defendants attributed

the sources offsetting the decline, they had a duty to disclose but concealed the full truth that the

price-hike strategy, whereby Teva made at least 18 systematic price hikes in July and August

2013, contributed materially to the results. These price increases generated as much as $250

million in Inflated Profit in 2013 and, without that Inflated Profit, Teva would have reported a

$650 million YOY decline in generic profit, or a 32% decrease, rather than the 20% decline

reported by the 2013 20-F. The contribution of the Inflated Profit was significant, particularly in

comparison to the attributed reduced S&M expenses, which declined only $26 million compared

to 2012.

                2.     First Quarter 2014 False and Misleading Financial Disclosures

       191.     On May 1, 2014, Teva held an investor earnings conference call (“May 1, 2014

Earnings Call”). On May 2, 2014, Teva filed its first quarter 2014 (the “Q1 2014”) financial

statements on Form 6-K with the SEC (the “Q1 2014 6-K”).




                                                 57
        Case 3:20-cv-00588-SRU Document 1 Filed 04/29/20 Page 68 of 175



       192.    The Q1 2014 6-K disclosed a YOY increase in generic profit of $117 million, or

31%, which was purportedly “primarily” due to:

               “[H]igher revenues, higher gross profit and a reduction in selling
               and marketing expenses,” with higher gross profit attributed to “the
               change in the composition of revenues in the United States and
               Europe, mainly products launched during the first quarter of 2014
               and in the United States in the second half of 2013.”

During the May 1, 2014 Earnings Call, Desheh attributed the growth in U.S. generic revenues to

“new product launches”:

               Teva’s generics division “experienced significant growth in the
               United States market, with 17% year-over-year growth, to a total
               of $1 billion with a number of new product launches.”

The statements were false and misleading because, having attributed the sources of the increases,

Defendants had a duty to disclose but concealed the full truth that the price-hike strategy,

whereby Teva made at least 18 systematic price hikes implemented in July and August 2013,

contributed materially to the results. The price increases generated as much as $120 million in

Inflated Profit in Q1 2014 that accounted for all of the increase in generic profit, and nearly all of

YOY growth in U.S. generic revenues. The Inflated Profit amounted to nearly three times the

$42 million YOY reduction in S&M expenses.

               3.      Second Quarter 2014 False and Misleading Financial Disclosures

       193.    On July 31, 2014, Teva filed its second quarter 2014 (“Q2 2014”) financial

statements on Form 6-K with the SEC (“Q2 2014 6-K), and held an investor earnings conference

call (“July 31, 2014 Earnings Call”).

       194.    The Q2 2014 6-K disclosed a YOY increase in generic segment profit of $156

million, or 41%, “primarily” attributed to:




                                                 58
        Case 3:20-cv-00588-SRU Document 1 Filed 04/29/20 Page 69 of 175



               “[A] significant reduction in selling and marketing expenses,
               higher revenues and higher gross profit,” which was attributed to
               “higher revenues in the United States, specifically of products
               launched during the first half of 2014 and in the second half of
               2013, and higher revenues in Canada as well as … the change in
               the composition of revenues in Europe.”

On the July 31, 2014 Earnings Call, Desheh similarly attributed the “better results” in Teva’s

generic segment to:

               The launches of “generic Xeloda in March and generic LOVAZA
               this quarter in the U.S. market.”

The statements were false and misleading because, having attributed the source of the profit

increase, Defendants had a duty to disclose but concealed the full truth that the price-hike

strategy, whereby Teva made at least 30 systematic price hikes since July 2013, 12 of which

were made in April 2014, contributed materially to the results. These price increases generated as

much as $160 million in Inflated Profit in Q2 2014 that comprised all of the YOY increase in

generic profit, and amounted to more than one and a half times the $101 million YOY reduction

in S&M expenses to which Defendants attributed the generic profit increase.

               4.      Third Quarter 2014 False and Misleading Financial Disclosures

       195.    On October 30, 2014, Teva filed its third quarter 2014 (“Q3 2014”) financial

statements on Form 6-K with the SEC (the “Q3 2014 6-K”), and held an investor earnings

conference call (the “Oct. 30, 2014 Earnings Call”).

       196.    The Q3 2014 6-K disclosed a YOY increase in generic profit of $160 million, or

40%, which was purportedly “primarily” from:

               “[H]igher gross profit and a significant reduction in selling and
               marketing expenses,” with higher gross profit attributed to “lower
               expenses related to production, higher revenues from our API
               business as well as higher gross profit due to the change in the
               composition of revenues.”

                                                59
        Case 3:20-cv-00588-SRU Document 1 Filed 04/29/20 Page 70 of 175



During the Oct. 30, 2014 earnings call, Vigodman also attributed Teva’s results to new products:

                “I think overall, we have a good revenue of the new launches this
                year – capecitabine, the generic Lovaza, Omega-3 and entecavir.
                Entecavir was a new launch for us in the quarter. I think all these
                three products have been very significant contributors to the year.”

The statements were false and misleading because, having attributed the source of the profit

increase, Defendants had a duty to disclose but concealed the full truth that the price-hike

strategy, whereby Teva made at least 50 systematic price hikes since July 2013, 20 of which

were made in Q3 2014, contributed materially to the results. These price increases generated as

much as $193 million in Inflated Profit in Q3 2014, a YOY increase of $90 million. That YOY

increase of as much as $90 million accounted for over half of the YOY increase in generic profit,

and was more than the entire $81 million YOY reduction in S&M expenses to which Defendants

attributed the generic profit increase.

       197.     Oct. 30, 2014 Earnings Call By this time, Congress had sent a letter to Vigodman

requesting information regarding price increases, Lannett and Impax had both disclosed

subpoenas from the Connecticut AG, and articles had highlighted increased drug prices on

certain drugs Teva did not sell. In this context, on the Oct. 30, 2014 earnings call, the UBS

analyst asked “could you talk about Generics a little bit in the U.S. … whether there were price

increases in some of your base business and whether that impacted some of Teva’s financial

performance?”

       198.     Vigodman denied that Teva was engaged in any price increases, particularly any

that had resulted in hundreds of millions of dollars in Inflated Profit:

                I think that pricing – I’ve said it before, there’s never a price
                increase on the base business as a whole. Like any other business,
                if there’s a pricing opportunity that comes in the market, we look



                                                 60
        Case 3:20-cv-00588-SRU Document 1 Filed 04/29/20 Page 71 of 175



               for that. But the base business itself has been eroding overall
               because of the consolidation of the customers.

Vigodman then explained that the market was functioning under normal conditions, i.e., that

prices increase only where there are shortages or market dynamics:

               When there’s an opportunity, when there is a shortage in the
               market, we obviously look for pricing like any other business. But
               overall, as I’ve said many times before, the base business itself is
               slowly eroding, the overall of the base business.

Vigodman’s statements were false and misleading because, far from price increases only

occurring when there are shortages or market dynamics so dictate, Teva had adopted the price-

hike strategy. Vigodman concealed that Teva had increased prices on 50 drugs and that those

concealed increases—the very subject of the UBS analyst’s question—resulted in as much as

$720 million in Inflated Profit reported since the start of the Relevant Period, and as much as

$193 million in Q3 2014 alone, on drugs for which there were no shortages.

               5.     December 11, 2014 False and Misleading Statements

       199.    On December 11, 2014, Teva held a guidance call to discuss Teva’s 2015

business outlook (the “Dec. 11, 2014 Guidance Call”). On the call, and in light of increased

reports of price hikes on generic drugs, the Morgan Stanley analyst asked: “with respect to

generic inventory in the channel, both for Teva and for other generic manufacturers, I’m

assuming that wholesalers have been seeing extraordinary price increases in recent years and has

been buying inventory ahead of tremendous price increases?”

       200.    Olafsson flatly denied even the existence of price increases, and minimized the

possibility that Teva had engaged in large price increases:

               So first let me correct. I have to disagree that they have
               experienced tremendous price increase. I think, overall, the pricing
               in the U.S. of generics has been flat to a slight down. There has


                                                61
        Case 3:20-cv-00588-SRU Document 1 Filed 04/29/20 Page 72 of 175



               been a lot of press about price increases on individual molecules
               and this has been a hot political issue selecting a few products.

The statements were false and misleading because, in responding to a direct question regarding

price hikes, Olafsson had a duty to disclose but concealed the full truth that the price-hike

strategy, whereby Teva made at least 50 systematic price hikes since July 2013, with 32 in 2014,

contributed materially to the results. Far from a limited issue involving “a few products,” by Q3

2014, Teva’s dozens of increases generated a total of as much as $720 million in pure profit,

which would increase to as much as $943 million by the end of 2014. Olafsson’s statement that

pricing had been “flat to a slight down” across the U.S. generics market concealed the full truth

that Teva’s business model since 2013 had generated 30% of Teva’s overall profit from drastic

price increases on generics drugs.

               6.      Fourth Quarter and Full Year 2014 False and Misleading Financial
                       Disclosures

       201.    On February 5, 2015, Teva filed a press release with the SEC that reported the

Company’s fourth quarter 2014 (“Q4 2014”) and full year 2014 (“FY 2014”) financial results

(the “Q4 2014 Press Release”). Also that day, Teva filed its 2014 20-F with the SEC (the “2014

20-F”) reporting the Company’s FY 2014 financial results, and held an investor earnings

conference call (the “Feb. 5, 2015 Earnings Call”). The false statements in the 2014 20-F are also

incorporated by reference into the ADS/Preferred Registration Statement that Vigodman,

Desheh, and Griffin signed, the ADS Final Prospectus, and the Preferred Final Prospectus.

       202.    Q4 2014 Press Release The Q4 2014 Press Release disclosed a YOY increase in

generic profit of $47 million, or 9%, attributed “primarily” to: “[O]ur lower S&M expenses and

lower R&D expenses.” The statement was false and misleading because, having attributed the

source of the profit increase, Defendants had a duty to disclose but concealed the full truth that


                                                 62
        Case 3:20-cv-00588-SRU Document 1 Filed 04/29/20 Page 73 of 175



the price-hike strategy, whereby Teva made at least 50 systematic price hikes since July 2013, 32

of which were made in 2014, contributed materially to the results. These price increases

generated as much as $219 million in Inflated Profit in Q4 2014, a YOY increase of as much as

$72 million. That $72 million YOY increase accounted for the entire YOY increase in generic

profit. In contrast, Defendants attributed the increased generic profit to a $113 million YOY

reduction in S&M expenses, and an $8 million YOY reduction in R&D expenses.

       203.    2014 20-F The 2014 20-F disclosed a YOY increase in generic profit of $480

million, or 29%, attributed to:

               “lower S&M expenses and higher gross profit,” which was
               purportedly “mainly a result of higher revenues in the United
               States, specifically of products launched during 2014 and in the
               second half of 2013, and higher revenues in Canada, which led to
               higher gross profits, as well as higher gross profit from API sales
               to third parties.”

The statements were false and misleading because, having attributed the source of the profit

increase, Defendants had a duty to disclose but concealed the full truth that the price-hike

strategy, whereby Teva made at least 50 systematic price hikes since July 2013, 32 of which

were made in 2014, contributed materially to the results. These price increases generated as

much as $693 million in Inflated Profit in 2014, a YOY increase of as much as $443 million,

which increase accounted for nearly the entire YOY increase in generic profit, and was more

than the entire $337 million reduction in S&M expenses to which Defendants attributed the

increase in generic profit.

       204.    The table below reflects Teva’s improved profits as reported in 2014, as well as

the YOY change in Inflated Profits for the same period:

    2014 ($ millions)                  Q1            Q2        Q3         Q4         Full Year
    Reported YOY Change in
                                      $117        $156        $160        $47          $480
    Generics Profit

                                                63
        Case 3:20-cv-00588-SRU Document 1 Filed 04/29/20 Page 74 of 175



    (Unreported) YOY Change
                                      $120        $160        $90        $72         $443
    in Inflated Profit


               7.      First Quarter 2015 False and Misleading Financial Disclosures

       205.    On April 30, 2015, Teva filed its first quarter 2015 (“Q1 2015”) financial

statements on a Form 6-K with the SEC (the “Q1 2015 6-K”), and held an investor earnings

conference call (the “April 30, 2015 Earnings Call”). The false statements in the Q1 2015 6-K

are also incorporated by reference into the ADS/Preferred Registration Statement that Vigodman,

Desheh, and Griffin signed, the ADS Final Prospectus and the Preferred Final Prospectus.

       206.    The Q1 2015 6-K disclosed a YOY increase in generic profit of $296 million, or

59%, attributed “primarily” to:

               “higher gross profit and lower selling and marketing expenses as
               well as lower research and development expenses,” with higher
               gross profit purportedly “mainly a result of the launch of
               esomeprazole in the United States during the quarter and improved
               profitability of our European business.”

On the April 30, 2015 Earnings Call, Olafsson similarly concealed the impact of the price-hike

strategy when discussing the sources of the improvements in generic profitability since the

beginning of 2014. On the call, the Bank of America analyst asked, “[H]ow much more potential

exists to increase generic segment margins purely from organic gains and operational

efficiency?” Olafsson claimed that the “1,000 basis points improvement over a two years period”

in “operating profit in the generic segment” was attributable to:

               [P]robably three or four things. First of all, … significant
               improvement in our cost of goods… the next thing is the portfolio
               offering … [including] exclusive complex generics of offering …
               [as] when we have more of the launches, it will drive up the
               market. The third thing is the cost infrastructure.




                                                64
        Case 3:20-cv-00588-SRU Document 1 Filed 04/29/20 Page 75 of 175



The statements were false and misleading because, having attributed the source of the profit

increase, Defendants had a duty to disclose but concealed the full truth that the price-hike

strategy, whereby Teva made at least 64 systematic price hikes since July 2013, 14 of which

were made in January 2015, contributed materially to the results. These price increases generated

as much as $228 million in Inflated Profit in Q1 2015, a YOY increase of as much as $108

million, which increase accounted for over a third of the YOY increase in generic profit. The

Inflated Profit increase also amounted to more than double the $43 million YOY reduction in

S&M expenses, and nine times the $12 million YOY reduction in R&D expenses, to which

Defendants attributed the increased generic profit. Olafsson’s statements on the call were also

misleading because they concealed that the price-hike strategy was a fundamental part of Teva’s

improvement. By the end of Q1 2015, Teva had generated as much as $1.1 billion in Inflated

Profit on the price increases since July 2013.

               8.      June 11, 2015 False and Misleading Statements

       207.    As investors, analysts, and Defendants were focused on Teva’s outstanding offer

to acquire Mylan, during a June 11, 2015 Goldman Sachs conference, Vigodman touted “the

profound change in the generic business,” since 2014, stating:

               These “are things that are not confined to numbers, but maybe
               numbers tell the story: 16.7% operating profit, 2013; 21.9%
               operating profit, 2014,” and attributing this success solely to “[t]he
               execution of the cost reduction program: $600 million net savings,
               2014; $500 million, 2015,” and a “[f]ull transformation of our
               operational network,” claiming that “[w]e closed or divested 11
               plants during the last 12 months[;] [w]e centralized
               procurement.… So everything that was done during 2014 was
               based on organic … moves only.”

The statements were false and misleading because, having attributed the source of the profit

increase, Vigodman had a duty to disclose but concealed the full truth that the price-hike

                                                 65
        Case 3:20-cv-00588-SRU Document 1 Filed 04/29/20 Page 76 of 175



strategy, whereby Teva made at least 64 systematic price hikes since July 2013, which generated

over $1.1 billion in Inflated Profit by the close of Q1 2015, contributed materially to the results.

Strikingly, the excess profit of as much as $1.1 billion generated by the price increases accounted

for all of the improved operating profit that Vigodman touted.

               9.      Second Quarter 2015 False and Misleading Financial Disclosures

       208.    On July 30, 2015, Teva filed its second quarter 2015 (“Q2 2015”) financial

statements on a Form 6-K with the SEC (the “Q2 2015 6-K”), and held an investor earnings call

regarding the financial results and the Actavis transaction (the “July 30, 2015 Earnings Call”).

The false statements in the Q2 2015 6-K are also incorporated by reference into the

ADS/Preferred Registration Statement that Vigodman, Desheh, and Griffin signed, the ADS

Final Prospectus and the Preferred Final Prospectus.

       209.    The Q2 2015 6-K disclosed a YOY increase in generic profit of $193 million, or

36%, attributed “primarily” to:

               “[H]igher gross profit as well as lower selling and marketing
               expenses,” while claiming that higher gross profit was “mainly a
               result of higher gross profit in the United States, due to the
               launches of aripiprazole in the second quarter of 2015 and of
               esomeprazole during the first quarter of 2015, and lower
               production expenses.”

The statements were false and misleading because, having attributed the source of the profit

increase, Defendants had a duty to disclose but concealed the full truth that the price-hike

strategy, whereby Teva made at least 64 systematic price hikes since July 2013, contributed

materially to the results. These price increases generated $236 million in Inflated Profit in Q2

2015, a YOY increase of $76 million, which increase accounted for 39% of the YOY increase in

generic profit, and amounted to over one and a half times the $53 million YOY reduction in

S&M expenses to which Defendants attributed the increased generic profit.

                                                 66
        Case 3:20-cv-00588-SRU Document 1 Filed 04/29/20 Page 77 of 175



               10.     Third Quarter 2015 False and Misleading Financial Disclosures

       210.    On October 29, 2015, Teva filed its third quarter 2015 (“Q3 2015”) financial

statements on a Form 6-K with the SEC (the “Q3 2015 6-K”), and held an investor earnings call

(the “Oct. 29, 2015 Earnings Call”). The false statements in the Q3 2015 6-K are also

incorporated by reference into the ADS/Preferred Registration Statement that Vigodman,

Desheh, and Griffin signed, the ADS Final Prospectus and the Preferred Final Prospectus.

       211.    The Q3 2015 6-K disclosed a YOY increase in generic profit of $20 million, or

4%, attributed “primarily” to:

               “[L]ower selling and marketing expenses, partially offset by lower
               gross profit,” which in turn was partially offset “by higher gross
               profit of our API business.”

The statements were false and misleading because, having attributed the source of the profit

increase, Defendants had a duty to disclose but concealed the full truth that the price-hike

strategy, whereby Teva made at least 71 systematic price hikes since July 2013, seven of which

had been implemented in July 2015, contributed materially to the results. These price increases

generated as much as $218 million in Inflated Profit in Q3 2015, a YOY increase of $25 million,

which accounted for all the YOY increase in generic profit.

       212.    During the Oct. 29, 2015 Earnings Call, Vigodman disavowed that any of the

improvement in Teva’s results over the previous years were driven by generic pricing:

               We’re very – and are very responsible in everything that portends
               to prices on the Generics side and on the Specialty side. And I
               would even put it another way, all the improvement you see in our
               – in margins is not driven by price. It is driven by quantities and by
               mix and by efficiency measures. Not by price, 2014, 2015, and
               that’s a very important message.




                                                67
        Case 3:20-cv-00588-SRU Document 1 Filed 04/29/20 Page 78 of 175



The statements were false and misleading because, by this time, Teva had increased prices on at

least 71 drugs since July 2013 as part of its price-hike strategy, often by well over 100%,

generating over $1.6 billion in Inflated Profit over that time, including as much as $690 million

in 2014 and as much as $680 million in the first three quarter of 2015 alone. Thus, the Inflated

Profit contributed significantly to improving Teva’s generic profit margin, as that Inflated Profit

was devoid of any material corresponding costs, directly contradicting Vigodman’s statements.

       213.    In light of recent legislative proposals that would penalize generic manufacturers

for raising prices above the rate of inflation, an analyst from Barclays asked for management’s

thoughts on “the potential limit to generic drug price increases.” Olafsson minimized the extent

and effect of Teva’s practice of increasing prices and implied that Teva was not dependent on

such profit and, thus, was immune to the effects of the proposed legislation:

               In terms of the proposed legislation on pricing control on generics,
               first of all we don’t really know what it’s going to be. But let me
               give you an example. So Teva has the largest portfolio on the U.S.
               market. We are offering approximately 275 products. And we have
               told you that overall on our whole portfolio, we have a decline in
               price. The talk about the inflation in generics when you have a big
               portfolio is really not there. 95% of our portfolio is declining due
               to the consolidation of the customers I talked about. There might
               be 5% of the portfolio that is either flat or increasing in pricing due
               to some abnormalities in the market.

The statements were false and misleading because, by this time, Teva had made at least 71

systematic price hikes, seven of which Teva implemented on July 29, 2015, and many of which

were increased by more than 100%. The 60 drugs subject to these price increases made up 22%

of Teva’s generic drug portfolio, and none of these price increases were due to “some

abnormalities in the market” like a shortage or an increase in demand. By the end of Q3 2015,

Defendants’ price-hike strategy had generated over $1.6 billion in Inflated Profit.


                                                 68
        Case 3:20-cv-00588-SRU Document 1 Filed 04/29/20 Page 79 of 175



               11.     November 19, 2015 False and Misleading Statements

       214.    On November 19, 2015, Jefferies held a conference, at which Desheh was pressed

by the Jefferies analyst, who asked, “[L]et’s talk about everyone’s favorite topic the last 2

months, pricing and specialty pharmacy. Could you just give us your 20,000 foot view on

pricing, is it an issue? Your particular products, where do you go on pricing?”

       215.    Desheh minimized the extent of Teva’s policy and practice of making price

increases and its financial dependence on profit therefrom:

               Now there’s a lot of noise around pricing issues. Some of it’s
               coming from politicians who are driving agenda, which is very,
               very legitimate. Our exposure to all these things is very minimal
               …. And Teva was not associated with any of that. So we’re
               playing a competitive game. We’re playing it fairly. We of course
               play by the book and by the rule. And we believe that our exposure
               to any initiative on price reduction in the United States is as a
               small as anybody can have.

This statement was false and misleading because Teva was critically dependent on Inflated Profit

from price increases, and the ability to make additional price increases to increase profits, to fill

any holes in its financial projections. Thus, Defendants’ price-hike strategy was greatly exposed

to any initiative that addressed generic drug pricing, such as those which would grant Medicare

the ability to negotiate prices, which could lead to price deflation. Without the benefit of the

price-hike strategy, Teva could not generate additional Inflated Profit or fill financial holes,

while Teva’s past practice of generating massive profits through inflated prices left it very

exposed to any efforts that would cause price deflation of those already-increased drugs.

Relatedly, these statements implied to investors that Teva was not engaging, and had not

engaged, in any practice of increasing prices, which was simply untrue.




                                                  69
        Case 3:20-cv-00588-SRU Document 1 Filed 04/29/20 Page 80 of 175



               12.    Teva’s Registration Documents for Its Secondary ADS and Preferred
                      Share Offerings Contained False and Misleading Statements

       216.    On November 30, 2015, Teva filed a Registration Statement on Form F-3, signed

by Vigodman, Desheh, and Griffin, with the SEC (the “ADS/Preferred Registration Statement”),

as well as two preliminary prospectus supplements, filed pursuant to Rule 424(b)(5), which

disclosed certain details regarding Teva’s intention to offer additional ADS and newly created

Mandatory Convertible Preferred Shares (“Preferred Shares”) to the public.

       217.    Also on November 30, 2015, Teva filed with the SEC a Form 6-K and press

release, announcing that it was commencing two concurrent public offerings totaling

approximately $6.75 billion. These offerings consisted of approximately $3.375 billion of its

ADS and approximately $3.375 billion of its Preferred Shares, and were announced pursuant to a

prospectus and related prospectus supplements constituting the “ADS/Preferred Registration

Statement”. Each ADS represents one ordinary share of Teva, and each Preferred Share

automatically converted on December 15, 2018 into 13.3333 to 16 ADS, subject to anti-dilution

adjustments.

       218.    On December 3, 2015, Teva filed with the SEC a Form 6-K, announcing the

pricing of the ADS/Preferred Offerings. That same day, Teva also filed with the SEC, pursuant

to Rule 424(b)(5), the final ADS Prospectus (the “ADS Final Prospectus”) and final Preferred

Prospectus (the “Preferred Final Prospectus”), and, pursuant to Rule 433, a free writing

prospectus and pricing term sheet, all dated December 2, 2015.

       219.    The ADS Offering and the Preferred Offering are referred to collectively as the

“ADS/Preferred Offerings.” The ADS/Preferred Registration Statement, along with the base and

preliminary prospectus and related prospectus supplements constituting part of the

ADS/Preferred Registration Statement, including the ADS Final Prospectus and the Preferred

                                               70
        Case 3:20-cv-00588-SRU Document 1 Filed 04/29/20 Page 81 of 175



Final Prospectus, and the documents incorporated by reference therein, are sometimes referred to

herein collectively as the “ADS/Preferred Offering Materials.”

       220.    The ADS/Preferred Registration Statement, the ADS Final Prospectus, and the

Preferred Final Prospectus each incorporated by reference various documents that Teva had

previously filed with the SEC. Specifically, each of those Final Prospectuses incorporated by

reference Teva’s 2014 20-F, Q1 2015 6-K, Q2 2015 6-K, and Q3 2015 6-K. The incorporated

2014 20-F and Q1, Q2, and Q3 2015 Forms 6-K contained false and misleading financial

disclosures, as discussed above.

               13.     January 11, 2016 False and Misleading Statements

       221.    At a January 11, 2016 J.P. Morgan conference, a J.P. Morgan analyst asked

Olafsson, “McKesson this morning announced some maybe challenging pricing on the generics

side or an expectation of that going forward. Could you just comment a little bit on how you see

generic pricing as we look out not just this year but in the future and how Teva is able to

navigate the current environment?”

       222.    In answer to this question, Olafsson responded:

               The generic pricing – we need to keep in mind there’s a lot of talk
               about inflations in generic pricing. But what we see is there’s –
               overall on our total portfolio of 270 products, there is a slight
               decrease in pricing. It’s low single digit, but year on year we see a
               low single-digit decrease because on 95% of our portfolio, we
               experience price decline. And then on 5%, we might be flat or a
               slight increase. So, overall, we see that in the business. There’s a
               lot of headlines of examples of big price increases in generics. But
               when you are a company of the size of Teva and you have the
               portfolio that we have today – as I said, 270 products for the whole
               of the portfolio – there is a decline.

The statements were false and misleading because they minimized the impact of price increases

– which by the end of Q3 2015 had generated as much as $1.7 billion in Inflated Profit – on

                                                71
        Case 3:20-cv-00588-SRU Document 1 Filed 04/29/20 Page 82 of 175



Teva’s bottom line since July 2013, and, thus, Teva’s potential exposure to price deflation that its

competitors and wholesalers were already reporting. By this time, Teva had increased the prices

of 60 of its generic drugs, three of which Teva had recently increased the prices on July 29,

2015, and many of which were increased by more than 100%. These drugs made up 22% of

Teva’s generic drug portfolio, flatly contradicting Olafsson’s claim that 5% of Teva’s generic

portfolio “might be flat or a slight increase.” The context is particularly important because

McKesson was one of Teva’s major wholesalers and, thus, would presumably be experiencing

issues in pricing similar to those faced by Teva.

               14.     Fourth Quarter and Full Year 2015 False and Misleading Financial
                       Disclosures

       223.    On February 11, 2016, Teva filed with the SEC a press release reporting the

Company’s fourth quarter 2015 (“Q4 2015”) and full year 2015 (“FY 2015”) financial results

(“Q4 2015 Press Release”). The same day, Teva filed its Form 20-F for the fiscal year ended

December 31, 2015 with the SEC (the “2015 20-F”) reporting the Company’s FY 2015 financial

results, and held an investor earnings conference call (the “Feb. 11, 2016 Earnings Call”) The

false statements in the 2015 20-F are also incorporated by reference into the Notes Registration

Statement that Vigodman, Desheh, and Griffin signed, and the Notes Final Prospectus.

       224.    Q4 2015 Press Release The Q4 2015 Press Release disclosed a YOY increase in

generic profit of $7 million, or 1%, attributed “primarily” to:

               “[T]he reduction in S&M expenses, partially offset” by, in part,
               “lower sales of budesonide (Pulmicort®) in the United States.”

The statements were false and misleading because Defendants explained that profits were offset

by reduced sales, while they had a duty to disclose but concealed the full truth that Inflated Profit

had declined from as much as $219 million in Q4 2014 to $166 million in Q4 2015, a decline of


                                                 72
          Case 3:20-cv-00588-SRU Document 1 Filed 04/29/20 Page 83 of 175



$53 million or 24%. This decline occurred because the price-hike strategy was unsustainable and

under increasing investigation by governmental agents and, thus, Teva’s ability to make further

increases was reduced.

          225.   2015 20-F The 2015 20-F disclosed a YOY increase in generic profit of $500

million, or 24%, attributed “primarily” to:

                 “[L]ower S&M expenses and higher gross profit,” which was
                 purportedly “mainly a result of higher revenues from new products
                 launched in the United States during 2015, lower other production
                 expenses and higher gross profit from API sales to third parties.”

The statements were false and misleading because, having attributed the source of the profit

increase, Defendants had a duty to disclose but concealed the full truth that the price-hike

strategy, whereby Teva made at least 71 systematic price hikes since July 2013, contributed

materially to the results. The price increases generated as much as $848 million in Inflated Profit

in 2015, a YOY increase of $155 million that amounted to 31% of the YOY increase in generic

profit.

          226.   The table below reflects Teva’s improved profits as reported in 2015, as well as

the YOY change in Inflated Profits for the same period:

2015 ($ millions)                    Q1            Q2           Q3            Q4         Full Year
Reported YOY Change in
                                    $296          $193          $20            $7          $516
Generics Profit
(Unreported) YOY Change
                                    $108          $76           $25          -$53          $155
in Inflated Profit

          227.   Feb. 11, 2016 Earnings Call In his opening statements, Olafsson touted “2015

was a very good year for Teva Generics,” while explicitly denying that pricing had played any

role in that supposed success, stating:

                 We continued improving the operating profit of the generic
                 business, coming from $1.68 billion operating profit in 2013, or


                                                 73
        Case 3:20-cv-00588-SRU Document 1 Filed 04/29/20 Page 84 of 175



               17% of revenue, to $2.68 billion operating profit in 2015, or 28%
               of revenue. This is $1 billion improvement in operating profit over
               24 months period. So how did we do this? Not by pricing but by
               portfolio mix, new products, and efficiency measures.

The statements are false and misleading because they are directly contradicted by the empirical

data showing that Teva had, in 2014 and 2015, made as much as over $1.5 billion in Inflated

Profit from price increases – more than the $1 billion improvement touted by Olafsson.

       228.    Later in the call, and repeated in his slide presentation, Olafsson minimized

Teva’s participation in price increases, and thus their impact on the Company’s bottom line:

               Briefly, on pricing. As I’ve previously stated, we and the generic
               industry overall don’t see price inflation of generics as it
               sometimes is portrayed in the media. On the contrary, for 2015, we
               saw a mid- single-digit price decline for the overall business.

The statements are false and misleading because Teva had taken at least 71 price increases since

July 2013, many for over 100% or more. The Inflated Profit from the increases implemented as

part of Defendants’ price-hike strategy was a necessary foundation of Teva’s purported financial

success over that time.

       229.    Olafsson denied that Teva was seeing any change in its pricing environment:

               In the US, our largest market, we saw approximately 4% price
               erosion…. We expect to see the same in 2016. Nothing today
               points to a significant change in the generic pricing environment.

A Guggenheim Securities analyst asked: “some of your competitors have talked about pricing

pressure in the generics business during the quarter. Curious if you saw that, and if so what

might be driving that.” Olafsson responded:

               As I mentioned in the beginning, we didn’t see anything change in
               fourth quarter. We saw approximately 4% pricing pressure or price
               decline in the US business over 2015 flat over the year.

The slides Olafsson presented during the call echoed these statements:

                                                74
        Case 3:20-cv-00588-SRU Document 1 Filed 04/29/20 Page 85 of 175



               Also do not see the sharp drop in prices other competitors have
               seen recently[;] Mid-single digit decrease in 2015[.]

The statements were false and misleading because, while Defendants claimed not to have seen

any changes in the pricing environment, (i) internally, Teva’s profits from price increases had

decreased precipitously, from as much as $236 million in Q2 2015, to $218 million in Q3 2015,

to $166 million in Q4 2015, a decline of $70 million, or 30%, in two quarters, and (ii) Teva was

increasingly unable to implement further price increases, as it had in the past.

               15.     March 8, 2016 False and Misleading Statements

       230.    During a March 8, 2016 Cowen conference, Olafsson touted the increased

profitability of Teva’s generics segment, attributing it to sources other than price increases:

               In terms of growing the profitability, from 2013 to 2015, we grew
               the operating profit of the generic business from 17% in 2013, and
               we exited for the full year of 2015 we were at 28.1%. So it’s about
               1,100 basis points we improved the profitability on approximately
               $10 billion in revenue. So it was a significant improvement over a
               24-month period. Part of that was due to the improvement in our
               cost of goods sold, very important in consolidation of plants and
               looking for the money there. But also part of it was due to portfolio
               selection and the cost infrastructure.

The statements were false and misleading because, once Olafsson chose to speak on this subject

and having attributed the source of the profit increase, Olafsson had a duty to disclose but

concealed the full truth that Teva had by then generated over $1.7 billion in profit from price

increases on dozens of generic drugs from 2013 through 2015, pursuant to the price-hike

strategy; far more than the $1.1 billion in improved generic profit touted by Olafsson.

       231.    Later on the call, a Cowen analyst asked Olafsson: “Can you discuss what you’re

seeing,” in generics pricing, “what you’re observing, and then maybe in the context of what

you’re hearing from others, both US and ex-US?” In response, Olafsson declared:


                                                 75
        Case 3:20-cv-00588-SRU Document 1 Filed 04/29/20 Page 86 of 175



               So we came out in our fourth quarter results, and told the market
               that we had seen approximately 4% price decline in the US market
               in 2015.… I think overall the pricing hasn’t changed that much.
               There was a lot of talk about inflation in generic pricing. But we
               never saw that…. [I]nflation never really happened in the generic
               business.… I don’t see any big changes in the pricing environment.
               It’s relatively stable. 4% is worse than maybe two years ago. But
               it’s similar to what we saw in 2014.

The statements were false and misleading because the truth was that the price-hike strategy,

whereby Teva had inflated the prices on 60 base-business generic drugs from July 2013 through

Q1 2016, had generated well over $1.7 billion in Inflated Profit from the beginning of the

Relevant Period through the end of 2015. The Inflated Profit generated by the price-hike

strategy, however, had drastically fallen. Thus “the pricing” had changed and was not like it had

been in 2014; Teva implemented at least 32 price increases that year alone, while, in 2016, it

would make only five, all of which were on prices of drugs that had been previously increased.

               16.     First Quarter 2016 False and Misleading Financial Disclosures

       232.    On May 9, 2016, Teva filed its first quarter 2016 (“Q1 2016”) financial

statements on Form 6-K with the SEC (the “Q1 2016 6-K”), and held an investor earnings call

(the “May 9, 2016 Earnings Call”) (collectively, May 9, 2016 Statements”). The false statements

in the Q1 2016 6-K are also incorporated by reference into the Notes Registration Statement that

Vigodman, Desheh, and Griffin signed, and the Notes Final Prospectus.

       233.    Q1 2016 6-K The Q1 2016 6-K disclosed a YOY decline in generic profit of $215

million, or 27%, attributed “primarily” to:

               [L]ower gross profit, as well as higher R&D expenses,” while
               lower gross profit was purportedly “mainly a result of lower sales
               of high gross profit products in the United States, higher
               production expenses and lower gross profit in our European
               markets.


                                                76
        Case 3:20-cv-00588-SRU Document 1 Filed 04/29/20 Page 87 of 175



The statements were false and misleading because, having attributed the source of the profit

decline, Defendants had a duty to disclose but concealed the full truth that Inflated Profit

declined from as much as $228 million in Q1 2015 to $124 million in Q1 2016, a decline of $104

million or 46%. That YOY decline in Inflated Profit comprised as much as 48% of the YOY

decline in generic segment profit, and was more than four times the $25 million YOY increase in

R&D expenses to which Defendants attributed the results. It further concealed that the price-hike

strategy was unsustainable, as the Inflated Profit was drastically declining, and Teva was

increasingly unable to make more hikes.

       234.    May 9, 2016 Earnings Call In his opening remarks, Olafsson explained away the

decline in generic profit margin by blaming it on issues other than pricing:

               When compared to first quarter 2015, the operating profit declined
               by 360 basis points, fully explained by the exclusive launch of
               generic Nexium, esomeprazole, in the first quarter 201[5].
               Excluding the exclusivity period of esomeprazole in first quarter,
               the profit margin of the generic segment was 24.4%.

The statements were false and misleading because they excluded entirely the decline in Teva’s

Inflated Profit from the unsustainable price-hike strategy, including the steep decline of $42

million in Inflated Profit from Q4 2015 to Q1 2016, and the $104 million YOY decline

compared to Q1 2015. That YOY decline comprised 48% of the decline in YOY generic profit

that Olafsson attributed to a decline in sales of generic Nexium, reflecting that Defendants could

no longer maintain the Inflated Profit generated by the increases implemented since July 2013,

nor could they make further price increases.

       235.    Also on that call, Olafsson, while asserting he would “do my best to provide you

with as much color as possible,” claimed that Teva was immune from downward pricing trends:

               Teva has not seen any fundamental change or worsening in the
               pricing environment – something we have been consistent about

                                                 77
        Case 3:20-cv-00588-SRU Document 1 Filed 04/29/20 Page 88 of 175



               telling investors all year. Teva experienced approximately 4%
               price erosion in the United States last year, and our guidance for
               this year is that it will remain the same.… From where I sit today,
               there is nothing that changes my mind about that. Nothing has
               happened in the last two quarters that has changed the pricing
               environment. What this boils down to is each individual
               company’s business model…

The slides presented by Olafsson during the conference call echoed Olafsson’s statements:

               “What has changed in the US pricing environment since Q4 2015?
               The short answer is…nothing[.]… There is no change in the
               pricing environment[.] It all comes down to each company’s
               business model…. Why is Teva generics performance better than
               most Gx companies? Portfolio optimization …. [and] [n]ew
               products….”

The statements were false and misleading because, far from not seeing “any fundamental change

or worsening in the pricing environment,” Teva’s price-hike strategy of generating billions in

profits from price increases was collapsing. In Q3 2015 Teva earned as much as $218 million in

Inflated Profit from price increases, while in Q1 2016 it earned $124 million; and while, in 2015,

Teva made 21 price increases on generic drugs, in 2016 it would implement only five, all of

which were on prices of drugs which had previously been increased.

       236.    During the May 9, 2016 earnings call, Olafsson also offered the supposed reasons

why Teva’s generics division had achieved success over several years, and thus was differently

positioned compared to its competitors who were reporting increased pricing pressure:

               We have taken a significant step to transform our generic business,
               solidify our foundation, increase our profitability, and to better
               position us to generate sustainable long-term growth. These many
               steps have included portfolio optimization, strengthening our
               capabilities in R&D, and manufacturing of complex products,
               regaining a leading position in submission on first-to-files,
               enhancing our go-to-market, and sales force effectiveness
               capabilities, and much, much more. These are the very capabilities
               that companies must possess in order to thrive at the global level.

                                                78
        Case 3:20-cv-00588-SRU Document 1 Filed 04/29/20 Page 89 of 175



               We have created a unique and differentiated platform, positioned
               to extract significant value in the global growing generic space.

The statements were false and misleading because, while attributing Teva’s supposed past

success to other factors, Olafsson had a duty to disclose but concealed the full truth that Teva had

generated as much as $1.9 billion in Inflated Profit from price hikes reported since the start of the

Relevant Period. The Inflated Profit, however, had begun to dry up due to the unsustainability of

the price-hike strategy, and the materialization of the risks concealed by Defendants – recently

reported by Teva’s competitors – namely the risk of increased pricing pressure due to increased

public, Congressional, and regulatory scrutiny of generic drug price increases, which would

result in increased competition and the inability to take further price increases.

               17.     False and Misleading Statements on Conference Calls Before The $20
                       Billion Debt Offering

       237.    On May 10, 2016, Olafsson participated in a Bank of America conference, and

claimed that Teva was immune from pricing pressure:

               [T]here’s nothing I have seen which shows a worsening pricing
               environment. We saw a price erosion in the US last year of
               approximately 4%. …
               I know many of the competitors in the generic space, and in the
               specialty space, are talking about a lot of pricing pressure, but it
               shouldn’t be. There is nothing that has happened over the last two
               quarters which has changed fundamental the market. And I feel
               that we are blaming the environment on individual company’s
               business model more than anything else because as long as you
               have the right portfolio, you have had the right investment in
               R&D, you really have a strong opportunity.

During a June 3, 2016 Sanford C. Bernstein conference, in response to an analyst question

regarding pricing pressure, Vigodman stated Teva was not facing increased pricing pressure:

               So we are very consistent. Our message was conveyed, and we will
               continue to convey. What we see is a 4% to 5% erosion. That’s


                                                 79
        Case 3:20-cv-00588-SRU Document 1 Filed 04/29/20 Page 90 of 175



               what we see. That’s not something which is different from what we
               said during 2015. By the way, we continue saying it in 2016. I
               think our results in Q1 demonstrated that.

Then, during a June 8, 2016 Goldman Sachs Global Healthcare Conference, Olafsson conveyed a

similar response to a question from a Goldman Sachs analyst regarding pricing pressure:

               But really, the environment hasn’t changed. When we signed that
               deal in July, we talked about 4% price erosion in the US generic
               business. And we are still talking about the same number, what we
               see in the base business.

The statements were false and misleading because Teva was experiencing a drastic decline in

Inflated Profit from price increases, the inability to make additional price increases, and, in the

past two quarters, the acceleration of the deterioration of the pricing environment. Thus, the

price-hike strategy was proving to be unsustainable, with Inflated Profit declining by $104

million in Q1 2016 as compared to Q1 2015, as the risks concealed by Defendants’ strategy

began to materialize, namely increased pricing pressure and the inability to take further price

increases due to increased public, legislative, and regulatory scrutiny of generic drug price

increases, which resulted in increased competition.

               18.     False July 13, 2016 Guidance Assumption

       238.    In a July 13, 2016 call held by Defendants to announce the acceleration of Teva’s

debt offering, including the Notes Offering, to the end of July, which, on the May 9, 2016

investor call, had been scheduled to occur in September 2016 or in Q4 2016, a Citigroup analyst

asked about pricing: “[C]an you comment on the generics pricing assumptions that you have

baked into your forecast? Following on that, Siggi, maybe you could just comment on the

generics pricing environment, more broadly, that you are currently seeing in the marketplace.”




                                                 80
        Case 3:20-cv-00588-SRU Document 1 Filed 04/29/20 Page 91 of 175



       239.    In response Olafsson indicated that Teva had still not seen any change in the

pricing environment, and that this stable pricing was baked into the assumptions underlying

Teva’s guidance and projections:

               Our assumption and what we assume is basically approximately
               5% organic growth that we see year on year.… In terms of generic
               pricing in the second quarter, we saw no change in the pricing. We
               saw a stable environment, as we talked about, from first quarter
               into second quarter. Obviously, in second quarter, as we have
               highlighted to investors, there was no significant new launches that
               we saw in Teva, which obviously impacts the overall generic
               numbers. The pricing has remained stable.… Our assumption for
               the rest of the year is basically assuming the same pricing erosion.
               It is difficult to say; but as I’m sitting here today, with the
               information I have in hand, we are assuming and now forecasting
               for the guidance for the remainder of the year same pricing
               assumption as we have had for the first half of the year.

These statements were false and misleading at the time because Teva’s price erosion assumption

was not based on “stable” pricing in which there was “no change” in the second quarter or the

“first half of the year.” In truth, Teva was at that time experiencing a drastic decline in Inflated

Profit from price increases, the inability to make additional price increases, and, over the past

year, the acceleration of the deterioration of the pricing environment. Teva generated $10 million

less in Inflated Profits from the first quarter of 2016 to the second quarter of 2016, which was

part of a trend of steep decline. Teva generated $122 million less Inflated Profit in the second

quarter 2016 than it had in the second quarter of 2015. In the first two quarters of 2015, Teva

made as much as $464 million in Inflated Profit. In the first two quarters of 2016, Teva made

$238 million. In the first half of 2015, Teva had made 14 price increases. In the first half of

2016, Teva only made five, generating less than $12 million by the end of the Relevant Period.




                                                  81
        Case 3:20-cv-00588-SRU Document 1 Filed 04/29/20 Page 92 of 175



               19.     The False and Misleading Notes Registration Statement and
                       Prospectus

       240.    On July 13, 2016, Teva filed with the SEC a Post-Effective Amendment No. 1 to

Form F-3, which was signed by Vigodman, Desheh, and Griffin, (the “Notes Registration

Statement”). On July 15, 2016, Teva filed with the SEC, under Rule 424(b)(5), a preliminary

prospectus supplement for the Notes Offering dated July 18, 2016. On July 19, 2016, Teva filed

with the SEC, pursuant to Rule 424(b)(5), its final prospectus for the Notes Offering (the “Notes

Final Prospectus”).

       241.    On July 21, 2016, Teva consummated, through Teva Finance, its special purpose

finance subsidiary, the offering of an aggregate of $15 billion of debt securities comprised of (i)

$1,500,000,000 of 1.400% Senior Notes due 2018; (ii) $2,000,000,000 of 1.700% Senior Notes

due 2019; (iii) $3,000,000,000 of 2.200% Senior Notes due 2021; (iv) $3,000,000,000 of 2.800%

Senior Notes due 2023; (v) $3,500,000,000 of 3.150% Senior Notes due 2026; and (vi)

$2,000,000,000 of 4.100% Senior Notes due 2046 (collectively, the “Notes” and the “Notes

Offering”). The payment of principal and interest was unconditionally guaranteed by Teva. After

underwriting discounts and estimated offering expenses payable by the Company, Teva’s net

proceeds from the Notes Offering were approximately $14.9 billion.

       242.    The Notes Final Prospectus incorporated by reference various documents that had

previously been filed with the SEC. Specifically, the Notes Final Prospectus incorporated by

reference the 2015 20-F and the Q1 2016 6-K. The incorporated 2015 20-F and Q1 2016 6-K

contained material misstatements and omissions concerning (i) the price-hike strategy and the

benefits and risks stemming therefrom; (ii) the purported competitiveness of the U.S. generics

market and Teva’s relationship to that market; (iii) material trends that were not disclosed under

Item 5 of Form 20-F; and (iv) misstatements and omissions concerning subpoenas issued to the

                                                 82
        Case 3:20-cv-00588-SRU Document 1 Filed 04/29/20 Page 93 of 175



Company by the DOJ and the State AGs, as well as other topics discussed below in Section

VIII.A. The statements and omissions contained in the 2015 20-F and the Q1 2016 6-K and the

reasons why they are materially misleading are described in this Section.

                 20.    Second Quarter 2016 False and Misleading Financial Disclosures

       243.      On August 4, 2016, Teva filed its second quarter 2016 (“Q2 2016”) financial

statements on Form 6-K with the SEC (the “Q2 2016 6-K”), and held an investor earnings

conference call (the “Aug. 4, 2016 Earnings Call”).

       244.      The Q2 2016 6-K disclosed a YOY decline in generic profit of $115 million, or

16%, attributed “primarily” to:

                 “[L]ower gross profit,” which in turn was purportedly “mainly a
                 result of loss of exclusivity on certain products as well as increased
                 competition on other products in the United States … and higher
                 production expenses…”

During the Aug. 4, 2016 Earnings Call, Desheh attributed the poor performance of the

Company’s generic segment to factors other than a decrease in Inflated Profit:

                 Revenues of our US generics business was impacted by
                 competition to our Aripiprazole, Esomeprazole, and Budesonide
                 which were the major drivers of our generic business in the US in
                 the second quarter last year.

The statements were false and misleading because, having attributed the source of the profit

decline, Defendants had a duty to disclose but concealed the full truth that Inflated Profit

declined from as much as $236 million in Q2 2015 to $114 million in Q2 2016, a decline of $122

million or 52%. That YOY decline in Inflated Profit comprised nearly all of the YOY decline in

generic profit. The statements further concealed that the price-hike strategy was unsustainable, as

the Inflated Profit was drastically declining, and Teva was increasingly unable to implement

further hikes.


                                                  83
        Case 3:20-cv-00588-SRU Document 1 Filed 04/29/20 Page 94 of 175



       245.    Also during that call, and in response to a Citigroup analyst’s inquiry regarding

pricing stability, Olafsson denied seeing any change in the pricing environment:

               [T]he pricing is stable to the same degree as before. We saw
               approximately in the US, 4% price erosion in the business, in a
               way very stable from the first quarter. And the global pricing
               impact we saw in the business, in the generic business was
               approximately 5%. So we are pleased with the environment.

Olafsson then reiterated the same false and misleading sentiment later in the call:

               So overall, the business itself is fairly stable. As I mentioned in the
               beginning, we are seeing exactly the 4% price erosion…. 4% price
               erosion in the US.

The statements were false and misleading because, in Q2 2016, Teva suffered a $122 million

YOY reduction in Inflated Profit from price increases compared to Q2 2015, and Teva was

increasingly unable to implement further price hikes, implementing only five, immaterial

increases during 2016, compared to 21 in 2015, and 32 in 2014, during the height of the strategy.

       246.    In response to a question from a J.P. Morgan analyst regarding whether Teva

could implement price hikes following the Actavis acquisition, Olafsson stated:

               I think the pricing comes with shortages in the market. If you have
               an exclusive product, if there’s some kind of dysfunction in the
               market, there might be a small pricing opportunity that usually
               comes in and comes out. But overall, the size, and being a
               combined company doesn’t play into that.

These statements were false and misleading because they minimized Teva’s price-hike strategy

when, in reality, Teva took 76 price increases on 60 drugs, most of which were for 100% or

more, that were not associated with any such shortage or dysfunction. This left Teva very

exposed to the pricing pressure facing the industry at the time.




                                                 84
        Case 3:20-cv-00588-SRU Document 1 Filed 04/29/20 Page 95 of 175



               21.    In the Third Quarter 2016, Defendants Continue to Deny Price
                      Inflation and Increased Pricing Pressure in Statements to Investors

       247.    On September 7, 2016, Desheh participated in a Wells Fargo conference where he

was asked by the Wells Fargo analyst, “Teva has said during this whole, the last couple years,

that you’re not really seeing the same generic erosion, pricing erosion that some of the other

companies have mentioned or blamed. Is that still the case?” Desheh responded by claiming

that Teva was not experiencing increased pricing pressure:

               Now, with talking about prices of the base business, product that
               we’ve been selling more than two years already, the prices are very
               stable there.… [Y]ou don’t see -- there you don’t see the erosion.
               Where we see erosion is … [when] you have six months
               exclusivity, you start with the high price, and then obviously more
               competitors go into the market and the price goes down. But when
               we look at the base, there’s no – there’s no pressure on prices.

On Teva’s September 9, 2016 Generic Medicines Business Overview call with analysts, the

slides presented echoed that Teva was not experiencing a change in pricing pressure:

               Price erosion is nothing new. . . . Diverse portfolio and competitive
               cost structure allows for long-term value creation.

The statements were false and misleading because, while Desheh claimed that Teva’s base

business was experiencing “no pressure on prices,” and the slides claimed that “price erosion is

nothing new,” Teva was suffering massive declines in Inflated Profit and the inability to

implement further hikes due to increased pricing pressure that was itself the materialization of

the risks concealed by Defendants. Most recently, in Q2 2016, Teva suffered a massive $122

million YOY reduction in Inflated Profit from price increases compared to Q2 2015, and Teva

implemented only five immaterial hikes in 2016, compared to 21 in 2015, and 32 in 2014,

demonstrating the unsustainability of the price-hike strategy.




                                                85
        Case 3:20-cv-00588-SRU Document 1 Filed 04/29/20 Page 96 of 175



       248.    During the September 9, 2016 call, Olafsson categorically denied Teva had

increased prices on its generic drugs:

               There is no inflation in the generic pricing, which I will talk about.

Later during that same call, in response to a Bank of America analyst’s question regarding the

impact of specialty drug pricing on generics, Olafsson responded:

               [S]o first of all, we need to differentiate generics from branded
               pricing. And people that say that the generic – there’s a big generic
               price inflation, are simply wrong.

Olafsson even claimed that Teva had a “secret sauce” that immunized the Company from price

fluctuations. These statements were false and misleading because each of these statements

minimized (i) Teva’s practice of making price increases pursuant to the price-hike strategy, often

by raising the price over 100% above the pre-inflation price, on 60 drugs or 22% of its portfolio;

(ii) the importance of the Inflated Profit from those price increases to the Company, (iii) the

unnatural price inflation in Teva’s book of generic drugs caused by those increases and the

attendant risks associated with such inflation; and (iv) that Teva was at the time experiencing a

dramatic drop in Inflated Profit from those price increases and an inability to implement further

increases as a result of the materialization of the risks concealed by Defendants.

       249.    During the September 9, 2016 call, Olafsson also responded to a question as to

whether Teva would be taking price increases following the Actavis acquisition, stating:

               So first of all, it doesn’t work like we wake up when we are one
               Company, and we can take price increases. Simply, it doesn’t work
               like that in generics. When price increases are taken, there’s some
               kind of abnormality in the business. There are shortages.

The statements were false and misleading because they implied that because Teva only increased

prices in limited circumstances, it was not exposed to price deflation. The truth was that Teva

had raised the prices of 60 drugs, or 22% of its portfolio, via 76 price increases frequently by

                                                 86
         Case 3:20-cv-00588-SRU Document 1 Filed 04/29/20 Page 97 of 175



more than 100% of the original price, and thus had enormous price inflation in its portfolio; none

of the price increases related to shortages.

                22.    Third Quarter 2016 False and Misleading Financial Disclosures

         250.   On November 15, 2016, Teva filed its third quarter 2016 (“Q3 2016”) financial

statements on Form 6-K with the SEC (the “Q3 2016 6-K”), and held an investor earnings

conference call (the “Nov. 15, 2016, Earnings Call”).

         251.   The Q3 2016 6-K disclosed a YOY increase in U.S. generic revenue of $261

million, or 25%, attributed to increased revenues from Actavis. But, after removing Actavis’

$538 million in U.S. generic revenues that quarter, Teva’s U.S. generic revenues from its legacy

business suffered a YOY decline of $277 million, or 27%. In discussing the increased revenues

that were due to Actavis, Teva disclosed that those revenues were:

                partially offset by loss of revenues following our divestment of
                certain products in connection with the acquisition, a decline in
                sales of budesonide … due to increased competition and the loss of
                exclusivity on esomeprazole.

The statements were false and misleading because, having attributed the sources offsetting the

increased revenues from Actavis, Defendants had a duty to disclose but concealed the full truth

that Inflated Profit declined from as much as $218 million in Q3 2015 to $97 million in Q3 2016,

a decline of $121 million or 56%. That YOY decline in Inflated Profit comprised as much as

44% of the YOY decline in U.S. generic revenue from Teva’s legacy business, excluding the

impact of Actavis. It further concealed that the price-hike strategy was unsustainable, as the

Inflated Profit was drastically declining, and Teva was increasingly unable to implement further

hikes.

         252.   During the Nov. 15, 2016 Earnings Call, a Credit Suisse analyst asked, “[Y]ou

mentioned that 7% erosion this quarter, but you said you’re confident it will still remain in the

                                                87
        Case 3:20-cv-00588-SRU Document 1 Filed 04/29/20 Page 98 of 175



mid single-digits going forward…. [W]hat’s going to happen in the coming quarters [that] will

be different than what you saw this quarter?” Olafsson responded:

               Let me start on the drug pricing, so overall, like previous quarters,
               there hasn’t been any fundamental change in the US drug pricing.
               And what we saw in the difference between the 5% or mid single-
               digit we guided for going into it, versus exiting at 7%, was the
               impact of the pricing impact on the divested product.

Olafsson doubled down on this explanation when pressed by an incredulous analyst from J.P.

Morgan, who asked how Teva was sure that the decline was not the same pricing pressure seen

throughout the market. Olafsson reiterated:

               [W]here I sit here today, experiencing the market, there hasn’t
               again been any fundamental change.

The statements were materially false and misleading because Teva was in fact experiencing a

sustained and material decline in the pricing environment, particularly with regard to the drugs

whose price Teva had previously raised pursuant to the price-hike strategy, in direct

contradiction to Olafsson’s specific denials. These flat denials in answer to specific questions on

the matter, in the face of contrary empirical evidence that Teva had inflated prices on 60 drugs,

profited by as much as over $2.1 billion since the start of the Relevant Period, and was now

suffering from drastic YOY reductions in Inflated Profit generated from those price hikes and an

inability to implement more, were particularly misleading.

       253.    During the same Nov. 15, 2016 Earnings Call, a Wells Fargo analyst asked

whether the stated 7% price erosion experienced that quarter was a “result of having to tame

previous price increases, or give back some of those?” Olafsson denied the existence of a pricing

trend beyond that caused by Actavis-acquisition related divestitures:

               No, basically, the main reason … was that we had to divest a very
               good portfolio of products that had limited competition, so we had


                                                88
        Case 3:20-cv-00588-SRU Document 1 Filed 04/29/20 Page 99 of 175



               to divest it. What our customers did, as they do, is that there is a
               new player in the market that took over those products, and that
               became a pricing pressure on roughly about 60 molecules of -- and
               these were one of our top -- the top molecules we had in our
               portfolio. So there was an instability that happened in the market
               during the month of August, when the new owners were taking
               market share. It didn’t change the fundamental of the market. It
               didn’t change the structure of the market, or the chemistry of the
               market, but we saw the impact on the divested molecule
               significantly more than we saw for on the rest of the portfolio
               which gave us a 7% versus 5%, which we assumed going into the
               quarter.

The statements were false and misleading because the Inflated Profit from price hikes had

declined drastically, contributing just $97 million in Q3 2016, a YOY reduction of $121 million,

or 56%. The sharp decline in Inflated Profit was a result of the materialization of the risks that

Defendants concealed as they implemented their price-hike strategy, namely increased pricing

pressure resulting from increased public, legislative, and regulatory scrutiny of generic drug

pricing, which in turn resulted in increased competition and the inability to implement further

price hikes. Those were not single-quarter issues related to divested products, as suggested by

Olafsson, but a long-term trend with no end in sight.

               23.     The January 6, 2017 Guidance Call

       254.    During a December 8, 2016 Citi Global Healthcare Conference, Vigodman

announced that Teva would provide 2017 guidance early in January 2017. During the call,

Vigodman claimed Teva’s past success was not due to Inflated Profit from price hikes, stating:

               Since the start of 2014, one of our greatest priorities has been to
               increase the profitability of our generics business. In the first three
               years of this great effort, we have been able to improve
               significantly the margins of Teva’s standalone generics business.
               This has been accomplished with a strong emphasis on the cost of
               goods sold, product mix, and the overall cost structure.


                                                 89
       Case 3:20-cv-00588-SRU Document 1 Filed 04/29/20 Page 100 of 175



The statement was false and misleading because, having attributed the source of the profitability

increases, Vigodman had a duty to disclose but concealed that the price-hike strategy, whereby

Teva made at least 76 systematic price hikes since July 2013, many of which were in excess of

100% of the prior price, contributed over $2.2 billion to Teva’s profit from the start of the

Relevant Period through the end of 2016.

               24.     Fourth Quarter and Full Year 2016
                       False and Misleading Financial Disclosures

       255.    On February 13, 2017, Teva filed with the SEC a press release (“Q4 2016 Press

Release”) reporting the Company’s fourth quarter 2016 (“Q4 2016”) and full year 2016 (“FY

2016”) financial results, and held an investor earnings conference call (the “Feb. 13, 2017

Earnings Call”). Two days later, on February 15, 2017, Teva filed its Form 20-F for the fiscal

year ended December 31, 2016 with the SEC (the “2016 20-F”) reporting the Company’s FY

2016 financial results (collectively, the “Q4 and FY 2016 Statements”).

       256.    2016 20-F The 2016 20-F disclosed a YOY decline in U.S. generic revenues of

$200 million, or 5%. When removing the impact of Actavis’ $1.168 billion in U.S. generic

revenues, Teva’s U.S. generic revenues from its legacy business suffered a YOY decline of $1.4

billion, or 29%. Per the 2016 20-F this decline purportedly:

               “resulted mainly from the loss of exclusivity on esomeprazole …
               and aripiprazole …, a decline in the sales of budesonide … due to
               increased competition, loss of revenues following our divestment
               of certain products in connection with the Actavis Generics
               acquisition and the decline in sales of capecitabine.”

       257.    The statements were false and misleading because, having attributed the source of

the increased revenues, Defendants had a duty to disclose but concealed the full truth that

Inflated Profit declined from as much as $848 million in 2015 to $421 million in 2016, a decline

of $427 million or 50%. That YOY decline in Inflated Profit comprised 31% of the YOY decline

                                                 90
       Case 3:20-cv-00588-SRU Document 1 Filed 04/29/20 Page 101 of 175



in U.S. generic revenue from Teva’s legacy business, excluding the impact of Actavis. Even

giving Teva the benefit of Actavis’ 2016 revenues, the YOY decline in Inflated Profit was more

than double the $200 million YOY decline in U.S. generic revenues. It further concealed that the

price-hike strategy was unsustainable, as Inflated Profit was drastically declining, and Teva was

unable to implement more hikes.

       D.      False and Misleading Denials of Teva’s Participation in Collusive Conduct

       258.    Teva repeatedly, and falsely, denied its participation in collusive conduct.

       259.    In Teva’s August 3, 2017 Form 6-K filed with the SEC, Teva described the

various antitrust matters it faced, including the Connecticut AG and DOJ subpoenas and the

December 2016 State AG lawsuit referenced above, and fraudulently stated that “Teva denies

having engaged in any conduct that would give rise to liability with respect to the above-

mentioned subpoenas and civil suits.” Teva made materially identical false and misleading

statements in each of its periodic reports filed with the SEC between August 3, 2017, and May

10, 2019, including Teva’s Form 6-K filed on November 2, 2017; Teva’s Form 10-K for the year

ended December 31, 2017, filed on February 12, 2018; Teva’s Form 10-Q for the period ended

March 31, 2018, filed on May 3, 2018; Teva’s Form 10-Q for the period ended June 30, 2018,

filed on August 2, 2018; Teva’s Form 10-Q for the period ended September 30, 2018, filed on

November 1, 2018; and Teva’s Form 10-K for the year ended December 31, 2018, filed on

February 19, 2019.

       2.      Further, on October 31, 2017, in response to media reports issued after the State

AGs filed a proposed amendment expanding their first antitrust complaint, a Teva spokeswoman

stated to Courthouse News that “Teva denies these allegations and will continue to defend itself

vigorously in court.” The Company further stated that “[i]n accordance with our values, Teva is



                                                91
       Case 3:20-cv-00588-SRU Document 1 Filed 04/29/20 Page 102 of 175



committed to complying with all applicable competition laws and regulations. To this end, we

have a robust compliance program designed to ensure that our employees are aware of

competition laws, regulations and internal policies, and their obligations to abide by them.”

       260.     Teva issued further denials in a December 19, 2018 statement to Business Insider,

in which Teva denied the State AGs’ allegations and said it “will continue to vigorously defend

itself.” On January 18, 2019, Teva stated to Law360: “Overall, we establish prices to enable

patient access, maintain our commitment to innovative and generic medicines and fulfill

obligations to shareholders.” Teva added that it is “committed to complying with all applicable

laws and regulations and is dedicated to conducting business with integrity and fairness.

Litigation surrounding U.S. generic pricing of several companies, including Teva, continues to

be the subject of inaccurate media stories.” On February 19, 2019, in response to media reports

discussing an unredacted version of the first State AG complaint that had recently been made

public, Teva stated to Bloomberg that it would “vigorously defend itself against these unfounded

allegations.”

       261.     In addition, each of the reports Teva filed with the SEC on Forms 10-Q and 10-K

throughout the Class Period contained certifications pursuant to Section 302 of the Sarbanes-

Oxley Act of 2002 (“SOX Certifications”) signed by Defendants Schultz and McClellan, stating

that the “report does not contain any untrue statement of a material fact or omit to state a material

fact necessary to make the statements made, in light of the circumstances under which such

statements were made, not misleading with respect to the period covered by this report.”

       262.     These statements were false and misleading because, as alleged herein, Teva had

in fact engaged in the collusive conduct the State AGs alleged; Teva was not merely a

participant, but the central actor in an industry-wide scheme to fix prices and allocate customers;



                                                 92
          Case 3:20-cv-00588-SRU Document 1 Filed 04/29/20 Page 103 of 175



and four Teva executives were so extensively involved in the unlawful conspiracy that they were

named personally as defendants in the 2019 AG Complaint.

          E.     False and Misleading Statements Regarding Actavis Acquisition

          263.   Teva’s Q3 2016 6-K asserted that the Actavis acquisition “had a significant

impact on our generic medicines segment, expanding our product portfolio, R&D capabilities,

product pipeline, and global operational network.”

          264.   In the press release announcing the Q3 2016 results, Defendant Vigodman stated:

                 This has been a year of transition for Teva, underscored this
                 quarter by the close of our strategic acquisition of Actavis
                 Generics, which had significant contribution to our results. Actavis
                 will continue to contribute in a meaningful way to the future
                 growth of our generics business through the strengthened R&D
                 capabilities and complementary pipeline and portfolio, and
                 enhance our leadership in an increasingly evolving industry.

          265.   During the Nov. 15, 2016, earnings call the same day, Teva made the following

false and misleading statements concerning the financial impact of the Actavis acquisition and

integration on the Company’s business prospects and reported financials:

                 [Vigodman:] The completion of the Actavis acquisition
                 strengthens and broadens our R&D capabilities, and highly
                 complements our product pipeline, product portfolio, geographical
                 footprint and operational network. It enhances Teva’s leadership in
                 an evolving competitive landscape and massive consolidation
                 across our customer base. In addition, our integration plans with
                 the Actavis generics business are on track.
                                            *       *       *
                 [Olafsson:] On August 2, we completed the strategic acquisition of
                 Actavis generics. The result is a much stronger, more competitive
                 Teva that is best positioned to thrive in an evolving global generics
                 marketplace.

          266.   In response to a question about the Actavis transaction, Defendant Olafsson

stated:

                                                  93
       Case 3:20-cv-00588-SRU Document 1 Filed 04/29/20 Page 104 of 175



              The closing of the Actavis transaction has gone very smoothly
              since day one with no operational disrupter. While we were
              disappointed at the delays with antitrust review, the time allows the
              integration teams at Teva and Actavis Generics to work diligently
              to plan for integration of the two companies in order to ensure that
              combined company would be fully operational immediately as on
              closing of the transaction. As a result, Teva was able to begin
              capitalizing immediately on the benefits offered by the acquisition
              of Actavis Generics. This included optimizing our R&D activities,
              harmonizing our customer contracts and relationships, and
              realizing economies of scale with our purchase.

       267.   On December 5, 2016, Teva filed a report on Form 6-K with the SEC, which

included the following false and misleading statements concerning the financial impact of the

Actavis acquisition and integration on the Company’s business prospects and reported financials:

              Erez Vigodman, Teva’s President and [CEO stated:] ... “As we
              continue to focus on integrating and realizing the value of the
              Actavis Generics transaction, which is progressing according to
              plan, Dipankar and his team will focus on generating organic
              growth through new launches and replenishing the pipe line
              through our industry-leading R&D, and drive efficiencies across
              the generics organization”

              . . . [Dipankar] Bhattacharjee[, Teva’s President and CEO, Global
              Generic Medicines Group stated:] “With the integration of Actavis
              proceeding on schedule and the complementary U.S. distribution
              capabilities provided by our recent acquisition of Anda, we have a
              matchless opportunity to add value in the U.S. healthcare system,
              and in the fast-changing global generics marketplace.”

       268.   On February 13, 2017, Teva filed with the SEC the Q4 2016 Press Release. In the

Feb. 13, 2017 earnings call the same day, Defendants Peterburg and Desheh made the following

false and misleading statements concerning the financial impact of the Actavis acquisition and

integration on the Company’s business prospects and reported financials:

              [Peterburg:] The Company’s priorities continue to be extracting all
              synergies related to the Actavis generic acquisition, successfully

                                               94
       Case 3:20-cv-00588-SRU Document 1 Filed 04/29/20 Page 105 of 175



              launching the key generic and specialty products we have planned
              for 2017, and generating significant cash flow to rapidly pay down
              our existing debt to maintain a strong balance sheet.
              We are reiterating our guidance for 2017, including our earnings
              per share of $4.90 to $5.30. We are very committed to this EPS
              range, and the management team and I will do what it takes to
              protect it, including additional cost reduction if necessary.
                                         *       *       *
              [Desheh :] The increase in our operating profit was driven mainly
              by our generic business, following the closing of the Actavis
              transaction.
                                         *       *       *
              Total sales were $93 billion, with significant growth in goodwill
              and intangible assets, resulting from the progress made on the
              Actavis acquisition versus price allocation.

       269.   On February 15, 2017, Teva filed the 2016 20-F. In the 2016 20-F, Teva made the

following false and misleading statements concerning the financial impact of the Actavis

acquisition and integration on the Company’s business prospects and reported financials:

              In August 2016, we completed the Actavis Generics acquisition.
              Our strong legacy generics business, combined with the Actavis
              Generics business, has a world-leading product portfolio,
              comprehensive R&D capabilities, robust product pipeline and an
              efficient global operational network. The combined generic
              business has a wide-reaching commercial presence, as the market
              leader in the United States and a top three leadership position in
              over 40 countries, including some of our key European markets.
              The combined business benefits from a leading and diverse
              pipeline of products, which will help us continue executing key
              generic launches and further expand our product pipeline, focusing
              on both large and small opportunities. We expect that a larger
              number of smaller but more durable launches will help offset
              expected price erosion while diversifying our revenue stream.
                                        *       *       *
              In August 2016, we completed our acquisition of Allergan plc’s
              worldwide generic pharmaceuticals business (“Actavis Generics”).
              At closing, we paid Allergan consideration of approximately $33.4
              billion in cash and approximately 100.3 million Teva shares. The


                                              95
         Case 3:20-cv-00588-SRU Document 1 Filed 04/29/20 Page 106 of 175



                acquisition significantly expanded our generics product portfolio
                and pipeline, R&D capabilities and global operational network.
                                           *      *      *
                Significant highlights of 2016 included:
                          In August 2016, we completed our acquisition of
                           Actavis Generics. The acquisition had a significant
                           impact on our generic medicines segment, expanding
                           our product portfolio and pipeline, R&D capabilities
                           and global operational network.

         270.   The 2016 20-F contained signed certifications pursuant to the Sarbanes-Oxley Act

of 2002 by Defendants Peterburg and Desheh, stating that the financial information contained in

the 2016 20-F was accurate and disclosed any material changes to the Company’s internal

control over financial reporting.

         271.   On May 11, 2017, Teva filed a report on Form 6-K with the SEC reporting the

Company’s financial and operating results for the quarter ended March 31, 2017 (the “Q1 2017

6-K”).

         272.   In the Q1 2017 6-K, Teva made the following false and misleading statements

concerning the financial impact of the Actavis acquisition and integration on the Company’s

business prospects and reported financials:

                On August 2, 2016, Teva consummated its acquisition of Allergan
                plc’s (“Allergan”) worldwide generic pharmaceuticals business
                (“Actavis Generics”). At closing, Teva transferred to Allergan
                consideration of approximately $33.4 billion in cash and
                approximately 100.3 million Teva shares. The acquisition
                significantly expanded Teva’s generics product portfolio and
                pipeline, R&D capabilities and global operational network.

         273.   In a conference call the same day, Defendants Peterburg and Desheh made the

following false and misleading statements concerning the financial impact of the Actavis

acquisition and integration on the Company’s business prospects and reported financials:



                                                96
       Case 3:20-cv-00588-SRU Document 1 Filed 04/29/20 Page 107 of 175



               [Peterburg:] As it relates to our first priority, I’m pleased to report
               the synergies related to the Actavis Generics acquisition and
               additional cost reduction, which the company has identified, is
               now on track to realize cumulative net synergies and cost reduction
               of approximately $1.5 billion by the end of 2017.

                                          *      *       *

               Turning to generics. It has been 2 full quarters since the
               completion of our acquisition of Actavis Generics. The acquisition
               has provided us with many benefits, especially much stronger and
               broader R&D capabilities, which we believe are the engine for any
               substantial generic business. This is essential in today’s world
               when we are operating across such an evolving competitive
               landscape and ongoing consolidation across our customer base. We
               are very confident that the global business we have built will allow
               Teva to thrive in the long-term future as a leader in the generics
               industry.

               [Desheh:] The increase in our operating profit was driven mainly
               by our generic business, following the closing of the Actavis
               transaction.

       274.    The statements referenced above were materially false and misleading.

Considered as a whole, Defendants’ representations misled investors by presenting a materially

false and misleading picture of Teva’s business, financial results and operations by, in addition to

the reasons set forth above, failing to disclose and actively concealing the negative impact

resulting from the acquisition and integration of Actavis on the Company’s financial results and

business prospects, which (among other things) exacerbated the risky and unsustainable nature of

the price-hike strategy, which collapsed shortly after the closing of the Actavis acquisition in

August 2016.




                                                 97
       Case 3:20-cv-00588-SRU Document 1 Filed 04/29/20 Page 108 of 175



VI.    ADDITIONAL ALLEGATIONS OF SCIENTER

       275.    Together with the above-alleged facts, Defendants each acted with scienter in that

each knew or recklessly disregarded the true facts in making the materially false and misleading

statements identified herein.

       A.      Defendants Were Motivated to Use Teva’s ADS as “Currency” for a
               “Transformational” Acquisition

       276.    As alleged above, Defendants were motivated to make false statements to inflate

the price of Teva Securities in order to complete a “transformational” acquisition. By January

2014, once the price-hike strategy was fully implemented and had generated material profits

toward fourth quarter 2013 results, Desheh announced this motivation, stating that, “the stock

price will go up and we’ll be able to use our share as a currency . . . to fund transactions.” Upon

his hiring in February 2014, Vigodman was reported to also favor significant M&A activity.

       277.    When Teva announced the $40 billion acquisition of Actavis on July 27, 2015,

Vigodman explained that the improvement in generics was a “precondition” for accomplishing

the deal. Indeed, without the inflated securities as a “currency,” Teva did not have the cash; the

$40 billion price tag was roughly twenty years of Teva’s average annual income from 2013 to

2015. They raised the cash from investors, such as Plaintiff.

       278.    By the second quarter 2015, however, the price-hike strategy had peaked. Teva

began to experience pricing pressure on its generic drugs, and was increasingly unable to make

additional large price increases. As analysts questioned the deteriorating pricing environment and

Teva’s weakening financials, Defendants flatly denied Teva was making profits from price

increases, or that Teva was facing pricing pressure.

       279.    It was not until Defendants had completed over $27 billion in public offerings by

July 28, 2016, and closed the deal on August 2, 2016, that they disclosed negative results in the

                                                 98
       Case 3:20-cv-00588-SRU Document 1 Filed 04/29/20 Page 109 of 175



generic business, and that it was the subject of government subpoenas. Soon after that, the truth

began to leak into the marketplace, and the fraud fell apart.

       B.      Conscious Misbehavior or Recklessness

               1.      Implementation and Concealment of the Price-Hike Strategy

       280.    Teva’s systematic implementation of a strategy to hike prices on generic drugs,

while publicly denying that price increases played any role in the Company’s reported results,

supports a strong inference of scienter. As discussed above, allegations in both the TSCA

Complaint and the 2019 AG Complaint—which corroborate one another—detail how Teva

adopted a strategy of systematically raising prices on generic drugs just before the Relevant

Period, how the strategy was adopted with the full knowledge of senior executives, and how

senior executives reviewed and approved price increases. TSCA Complaint, ¶¶ 270-74; 2019 AG

Complaint ¶¶ 1111-1114. The TSCA Complaint attributes these allegations to former Teva

employees, and the State AGs draw their allegations from a long-running investigation as well as

party discovery in the Generics MDL, including Teva’s full custodial file for Nisha Patel, a

central player in Teva’s collusion.

       281.    The fact that senior executives reviewed and signed off on price increases

supports an inference of scienter. The TSCA Complaint includes allegations that Teva

employees would provide a list of potential price increases to Maureen Cavanaugh and Deborah

Griffin, who approved the timing and amounts of the price increases. TSCA Complaint ¶ 282.

       282.    The 2019 AG Complaint corroborates these allegations with detailed descriptions

of the systematic approach taken to price increases. For example, the 2019 AG Complaint

describes how, shortly after joining Teva, Patel began to rank competitors on their “quality”—

meaning their willingness to collude—and, with approval from her supervisor “K.G.” (Galownia,



                                                 99
        Case 3:20-cv-00588-SRU Document 1 Filed 04/29/20 Page 110 of 175



on information and belief, as discussed above), she used this list to identify price-hike

candidates. K.G. forwarded the list of price increases, which was based on information obtained

from competitors, to Cavanaugh, who approved them, and allegedly understood the source of the

information. 2019 AG Complaint ¶¶ 1111-1114. The 2019 AG Complaint walks through

numerous other examples where Patel and other Teva employees would follow this process for

subsequent price increases—identifying candidates in collusion with competitors, and then

forwarding to senior executives for approval.

        283.    Given this formalized process involving Griffin and Cavanaugh, there is a strong

inference that Defendants were aware of, or at least recklessly disregarded, the more than 76

price increases, ranging from 50% to 1500%, over the course of over three years, that generated

over $2 billion in Inflated Profit.

                2.        Continuous Access to Documents and Information Tracking Profits
                          from Price Increases

        284.    According to the TSCA Complaint, Defendants were provided reports that

tracked the financial impact of the price-hike strategy against the detailed revenue goals for

Teva’s U.S. generics business, as often as on a daily basis, and had access to a database that

tracked pricing at a granular level. TSCA Complaint ¶¶ 288-291. Given the close attention paid

to revenue and its sources, and the readily available information concerning these topics, there is

a strong inference that Defendants knew or recklessly ignored that billions of dollars in Inflated

Profit were generated through the price-hike strategy, and that its collapse caused the later

short-falls in profits.

                3.        Defendants Spoke Repeatedly About the Pricing of Generic Drugs

        285.    Defendants repeatedly claimed that they had accurate knowledge of the sources of

Teva’s generics profitability. Defendants claimed to have intimate knowledge of whether Teva

                                                100
       Case 3:20-cv-00588-SRU Document 1 Filed 04/29/20 Page 111 of 175



had taken price increases and whether those price increases contributed to the increased

profitability of Teva’s generics division. For example, on October 29, 2015, Vigodman claimed

awareness that “all the improvement . . . in our . . . margins is not driven by price. It is driven by

quantities and by mix and by efficiency measures. Not by price, 2014, 2015.” Similarly, on

February 11, 2016, Olafsson claimed he knew that the “$1 billion improvement in operating

profit over 24 months period,” was achieved “[n]ot by pricing but by portfolio mix, new

products, and efficiency measures.” On November 19, 2015, when asked about industry price

increases, Desheh claimed that “Teva was not associated with any of that.”

       286.    Defendants also claimed knowledge of when Teva would take price increases,

limiting them to instances with shortages. For example, on October 30, 2014, Vigodman claimed

he knew that Teva looked for pricing only “when there is a shortage in the market.” On August

4, 2016, Olafsson claimed that Teva would increase prices only where there were “shortages in

the market,” then “there might be a small pricing opportunity.”

       287.    Defendants further claimed they were aware of the rate of pricing decline that

Teva was experiencing in 2016, and how it compared to prior years. For example, on June 3,

2016, Vigodman asserted he knew that “[w]hat we see is a 4% to 5% erosion.… That’s not

something which is different from what we said during 2015.” Earlier, on May 9, 2016, Olafsson

asserted awareness that despite “a tougher pricing environment or price deflation,” “Teva has not

seen any fundamental change or worsening in the pricing environment . . . . What this boils down

to is each individual company’s business model. . . . Nothing has happened in the last two

quarters that has changed the pricing environment.” Similarly, on September 7, 2016, Desheh

claimed that the pricing environment for Teva’s base generic business was “very stable,” and

that “there’s no pressure on prices.”



                                                 101
       Case 3:20-cv-00588-SRU Document 1 Filed 04/29/20 Page 112 of 175



       288.    Defendants also claimed knowledge of whether Teva was competing in a

functional and competitive generics market. For example, on July 27, 2015, Olafsson asserted

that he knew that “there’s fierce competition on most of [Teva’s] portfolio, if not all the

portfolio.” During that same call, Vigodman added, “We believe in competition, and we’ll do

what is needed in order to win all the markets we operate.” On November 19, 2015, Desheh

claimed he knew that Teva was “playing a competitive game . . . . playing it fairly . . . . by the

book and by the rule.”

       289.    This self-proclaimed personal involvement by Defendants supports a strong

inference that they possessed knowledge of the true state of affairs of the business, and thus had

knowledge that their representations were misleading, or were reckless in not knowing.

               4.        Defendants’ and Analysts’ Focus on Generics

       290.    The fact that Defendants touted Teva’s generics segment, fueled by its U.S.

division, as driving the Company’s turnaround during the Relevant Period supports a strong

inference of scienter. For example, on May 13, 2015, Desheh described the turn-around in

generics as “nothing short of a revolution.” On June 10, 2015, Olafsson touted improvement of

the “generic business by … $1 billion [] in 14 months, 16 months.” That same day, Vigodman

touted “the profound change in the generic business,” citing increased operating profit from 2013

to 2014.

       291.    Analysts accordingly focused on Teva’s generics businesses, and particularly its

U.S. division, as a financial driver for the Company, further supporting a strong inference of

scienter. For example, in a February 5, 2015 report, Piper Jaffray noted that “the profitability of

the generics business [is] continuing to improve.” On April 30, 2015, J.P. Morgan wrote: “Teva

continues to make progress on generics profitability . . . we remain encouraged by the recovery



                                                102
        Case 3:20-cv-00588-SRU Document 1 Filed 04/29/20 Page 113 of 175



in Teva’s generic business.” The same day Cowen and Company noted that Teva’s

“outperformance was a result of better than expected U.S. generic sales.”

        292.    Similarly, when industry pricing pressure damaged Teva’s competitors, analysts

peppered Defendants with questions about pricing pressure over the course of several months,

which were met with detailed answers: For example, on February 11, 2016, Guggenheim asked

Olafsson about “pricing pressure in the generics business,” with Olafsson claiming to know that

“on the pricing … we didn’t see anything change in fourth quarter.” On September 7, 2016,

Wells Fargo asked whether Teva was “seeing the same generic erosion, pricing erosion that

some of the other companies” had, to which Desheh asserted he knew that “the base [generics]

business . . . the prices are very stable there.”

                5.      The Magnitude, Importance, and Duration of the Fraud

        293.    The fact that the price-hike strategy generated as much as $2.3 billion in Inflated

Profit supports a strong inference of scienter. Indeed, the Inflated Profits drove Teva’s reported

financial turnaround throughout the Relevant Period. In 2014 and 2015, Inflated Profits

comprised an increasingly large portion of Teva’s overall net income. As to the generic

segment’s profits, the Inflated Profits accounted for 15% of segment profits in 2013; 32% in

2014; and 32% in 2015. The Inflated Profits accounted for an even larger portion of the

Company’s overall net income: in 2013, Inflated Profits accounted for 20% of net income; in

2014, 23%; in 2015, 54%, and in 2016, more than all of Teva’s overall profit. The strong

inference is that Defendants knew of the source of these profits.

        294.    Likewise, in 2016, the price-hike strategy deteriorated as Teva began to

experience significant pricing pressure and accelerated price erosion, and was no longer able to

implement additional price hikes; as a result Teva’s generic drug profits plummeted. Indeed,



                                                    103
       Case 3:20-cv-00588-SRU Document 1 Filed 04/29/20 Page 114 of 175



Teva’s deteriorating financial condition in 2017 called into question whether it could service its

massive $35 billion debt, and forced the Company to take a $6.1 billion impairment charge to its

generics business, and reduce its dividend. The stronger inference by far is that Defendants were

aware of the source of this decline, or were reckless in not knowing.

               6.      Contemporaneous Red Flags

       295.    Contemporaneous red flags alerted Defendants to the possibility that their

statements were false and misleading. At a minimum, Defendants recklessly failed to review or

check information that they had a duty to monitor under these circumstances.

       296.    Congressional Inquiry: On October 2, 2014, Congress sent Vigodman a personal

letter seeking answers to “the underlying causes of recent increases in the price of [Teva’s]

drugs.” This should have placed Defendants on alert to discover whether Teva had taken price

increases and to what extent. Despite this, on October 30, 2014, Vigodman, when faced with an

analyst question on the subject, denied that Teva derived revenues from price increases.

Similarly, Congress invited Teva to testify at a November 20, 2014 hearing on whether “there

was a rational economic reason as to . . . huge price increases.” Again, this should have sparked

an internal inquiry from Teva’s executives. Yet, on December 11, 2014, when faced with the

assertion from an analyst that wholesalers were seeing large price increases, Olafsson flatly

denied that Teva was involved in those practices.

       297.    The State AG and DOJ Investigations: The fact that the DOJ and the State AGs

began investigations into Teva’s competitors related to their pricing practices also supports a

strong inference of scienter. The fact of those investigations should have triggered an internal

inquiry at Teva into the facts of its own pricing practices, including the dozens of price increases




                                                104
       Case 3:20-cv-00588-SRU Document 1 Filed 04/29/20 Page 115 of 175



that Teva made in tandem with its competitors. Indeed, as set forth below, Teva has produced

over one million documents to the DOJ.

       298.    GAO Report: On September 12, 2016, the GAO, which Congress had

commissioned over two years earlier, publicly released its report on “Generic Drugs Under

Medicare,” documenting its audit of Medicare Part D data from June 2015 to August 2016. The

GAO found hundreds of unexplained “extraordinary price increases,” defined as the price of a

particular drug increasing over 100% within a 12-month period, and that some drug prices

increased more than 1,000%. Teva had numerous drugs that showed extraordinary price

increases in the GAO report. The facts of the GAO report support the inference that Defendants

spoke the alleged false statements with scienter.

               7.     Officer Terminations Support Scienter

       299.    That three of the Officer Defendants—Olafsson, Vigodman, and Desheh—

resigned from Teva or had their employment with Teva terminated at a critical time, as the

Company’s price-hike strategy was deteriorating and Teva was in regulators’ crosshairs, further

supports scienter. There is a strong inference that the termination of Olafsson was connected to

his fraudulent cover-up of the price-hike strategy and the subsequent decline in Teva’s profits as

the strategy collapsed. The explanation for his termination as “retirement” was false, and the

first charges from the DOJ and State AGs regarding their pricing investigations were released

only days later. There is a similarly strong inference regarding Vigodman’s termination. He was

fired without a replacement just one month after Teva significantly revised its 2017 guidance

downwards, resulting in part from increased price erosion and dwindling generic profits, and one

week before Teva reported disappointing financial results for Q4 2016. Finally, less than two

months after Desheh left Teva, and in the very first reporting period after all Defendants were



                                               105
       Case 3:20-cv-00588-SRU Document 1 Filed 04/29/20 Page 116 of 175



gone, Teva took a staggering $6.1 billion charge against its U.S. generics business, and

announced a radical 75% reduction in dividend payments to shareholders. This supports an

inference that it was these Defendants who were blocking the true financial state of the Company

from coming to light.

               8.       Evidence of Collusion Supports a Strong Inference of Scienter

       300.    Teva’s collusion supports a strong inference of scienter. Given the information

available to them, each Defendant knew, or recklessly disregarded, that in order for the price-

hike strategy to generate the high level of Inflated Profits apparent in data regularly available and

reported to them, Teva would likely have had to, and did, coordinate, communicate, and

potentially reach illegal agreements with other manufacturers.

       301.    As discussed above, the 2019 AG Complaint provides detailed allegations about

Teva’s collusion with other drug manufacturers to raise prices and/or allocate market share for

over 100 drugs just before and during the Relevant Period. Moreover, the State AGs have

alleged that, before and during the Relevant Period, Teva adhered to a widespread code of

conduct among generic drug manufacturers that allowed them to fix prices and allocate markets

to suppress competition. According to the State AGs, the code’s objective was to attain a price

equilibrium where manufacturers had no incentive to compete for additional market share by

lowering price. Under that code, competitors would agree collectively to raise or maintain drug

prices, dictating that a competitor should not underbid the competitor who raised prices.

Manufacturers also entered into collusive fair share market allocation agreements by making

knowingly uncompetitive bids, refusing to bid, or readjusting market share by walking away

from customers. 2019 AG Complaint ¶¶ 18, 132-133.




                                                106
       Case 3:20-cv-00588-SRU Document 1 Filed 04/29/20 Page 117 of 175



       302.    The State AGs have stated that evidence they have secured shows that executives

at the highest levels of Teva conceived and directed many of the schemes. This and other

allegations corroborate the allegations in the TSCA Complaint, including that Cavanaugh and

Griffin were involved in pricing decisions, and Olafsson and Oberman would have received and

reviewed reports and forecasts reflecting the Inflated Profit generated thereby.

       303.    Teva’s price increase approval processes necessarily involved senior

management. As discussed above, Teva’s senior management and executives, including Griffin

and Cavanaugh, approved price increases and were aware of the impact of the increases on

Teva’s financial results, which was over $1 billion just for the drugs discussed in the TSCA

Complaint.

       304.    With the knowledge gained from these reports and data, Teva’s executives and

the generic segment CEO (Oberman and then Olafsson), Teva CAO and CFO of Teva USA

(Griffin), and COO of Teva USA (Cavanaugh) could see when price increases were effective for

an abnormally long time, or whether an abnormal quantity of price increases remained effective

in contravention of rational economics.

       305.    Finally, Oberman, Olafsson, and Cavanaugh personally attended numerous trade

shows and conferences during the relevant period, affording them the opportunity to interact with

individuals responsible for pricing and marketing decisions at other manufacturers. See TSCA

Complaint, Appendix C.

               9.      Other Facts Supporting Scienter

       306.    The Receipt of the Subpoenas: Teva’s receipt of subpoenas from the DOJ and the

Connecticut AG on June 21, 2016 and July 12, 2016, respectively, and the Defendants’ actions in

response, support a strong inference of Defendants’ scienter. Particularly, after receiving the



                                                107
       Case 3:20-cv-00588-SRU Document 1 Filed 04/29/20 Page 118 of 175



subpoena from the Connecticut AG, Defendants abruptly announced the next day that they

would be moving forward the Notes Offering. Defendants failed to disclose them in the

mandatory SEC disclosures filed in conjunction with the Notes Offering and Notes Offering

materials, but then disclosed them approximately two weeks after completing the Offering. The

failure to disclose receipt of the subpoenas until the Notes Offering was completed supports

scienter. Moreover, those subpoenas triggered a legally mandatory duty to inquire into Teva’s

pricing practices. Yet, Defendants thereafter made materially false and misleading statements

about their exposure to price erosion, including during Teva’s September 9, 2016 Generics Day.

       307.    Further, Defendants did not take any further collusive price increases after

receiving the subpoenas. The fact that the Company implemented dozens of price increases each

year prior to receiving the subpoenas, suggests that Teva made a conscious decision not take any

further price increases in light of the subpoenas.

       308.    Bloomberg Article: The November 3, 2016 Bloomberg article revealed that Teva

was the subject of the DOJ criminal inquiry, and that the DOJ and State AGs could bring charges

later in the year. Despite this, Vigodman, almost two weeks later, on November 15, 2016,

claimed that he was “not aware of any fact that would give rise to an exposure to Teva with

respect to the investigation.” The State AGs’ suit and the DOJ charges against Glazer and Malek

soon followed, and, subsequently, those investigations have expanded massively. The close

proximity of Vigodman’s statement to the announcement of the charges diminishes the

plausibility of innocent explanations or denials from Defendants.

       309.    Teva’s Further Denials of Liability: Despite its purported investigation of the

facts, Teva repeatedly denied any involvement in collusive conduct during the Relevant Period,

and continues to do so. For example, on November 7, 2019, Defendant Schultz stated during an



                                                108
       Case 3:20-cv-00588-SRU Document 1 Filed 04/29/20 Page 119 of 175



investor earnings conference call: “We have, of course, shared more than 1 million documents

with [the DOJ]. We have not found any evidence that we were in any way part of any structured

collusion or price fixing.” Such statements underscore that Defendants knew Teva was a central

actor in collusive conduct, or at a minimum, recklessly failed to review or check information

they had a duty to monitor that would have revealed that fact.

       C.      Corporate Scienter

       310.    Teva possessed scienter by virtue of the fact that the Officer Defendants, who

acted with scienter, as set forth above, had binding authority over the Company. In addition,

certain allegations herein establish Teva’s corporate scienter based on (i) the state of mind of

employees whose intent can be imputed to the Company, and/or on (ii) the knowledge of

employees who approved the statements alleged herein despite knowing the statements’ false and

misleading nature. It can also be inferred from the above allegations that senior corporate

executives at Teva possessed scienter such that their intent can be imputed to the Company.

VII.   LOSS CAUSATION

       311.    In addition to the allegations herein, Defendants’ fraudulent conduct directly and

proximately caused Plaintiff to suffer substantial losses as a result of purchasing Teva Securities

at artificially inflated prices during the Relevant Period.

       312.    Defendants, through each category of false and misleading statements and

omissions, concealed the truth about Teva’s core business strategy that materially contributed to

Teva’s financial and operational success during the Relevant Period, as well as Teva’s collusive

conduct. By concealing, among other things, the price-hike strategy, that Teva was not

competing on price, that the strategy was driving known material trends, that as the strategy

failed and pricing competition increased Teva’s financial condition was deteriorating, that Teva



                                                 109
        Case 3:20-cv-00588-SRU Document 1 Filed 04/29/20 Page 120 of 175



was in fact engaged in collusion and the central actor in an industry-wide conspiracy, and the

negative impact of the Actavis acquisition and integration of the acquired business on Teva’s

financial results and business prospects, Defendants also concealed the numerous and related

risks associated with their false statements and omissions, including but not limited to, the risks

that:

           ● the strategy was highly risky and not sustainable, and as the strategy failed,
             Teva’s profits would collapse;
           ● by their nature, especially when done in tandem with competitors, price hikes
             might appear to arise from anti-competitive and/or collusive conduct and, thus,
             draw the attention of government investigators and law enforcement agencies,
             precipitating possible legal actions, civil liabilities, and criminal sanctions;
           ● should the price-hike strategy come under public, legislative, or law enforcement
             scrutiny, the viability of sustaining the Inflated Profits and/or implementing new
             price hikes would be severely undermined, and would thereby undercut a major
             driver of the generic segment’s profit;
           ● if pricing pressure or competition increased, Teva would be far more susceptible
             to a rapid and material decline in Inflated Profits, resulting in poor financial
             results and undercutting reported and forecasted profits;
           ● upon the failure of the price-hike strategy, the Company could be further
             disrupted by the termination of the senior managers who were responsible for the
             strategy, and by any increased difficulty in hiring qualified replacements; and
           ● as the price-hike strategy in fact failed over time, Teva’s Inflated Profits declined,
             and Teva was prevented from making additional price increases, those trends
             would continue.

The concealed risks bore directly on Teva’s ability to generate and sustain its profits and its

ability to service the over $30 billion in debt.

        313.   Beginning in August 2016, the concealed risks began to materialize through a

series of negative events and disclosures that revealed, on a piecemeal basis, the false and

misleading nature of Defendants’ Relevant Period statements and omissions. Despite these

partially corrective events and disclosures, Teva Securities’ prices remained artificially inflated

and were prevented from declining to their true value by Defendants continuing to make


                                                   110
       Case 3:20-cv-00588-SRU Document 1 Filed 04/29/20 Page 121 of 175



materially false and misleading statements that had the effect of, at least temporarily, concealing

their fraud. As the relevant truth leaked out into the market from August 2016 to May 2019,

Plaintiff suffered losses, which were foreseeable and caused by the materialization of the risks

that Defendants’ fraudulent conduct concealed from investors, as set forth below.

       A.      August 4-5, 2016

       314.    After the close of trading on August 4, 2016, Teva filed its Q2 2016 6-K,

reporting 2Q 2016 results, which announced: (i) poor generics segment earnings, including a

$115 million YOY decline in profits for the generics segment; and (ii) that “[o]n June 21, 2015

[sic], Teva USA received a subpoena from the Antitrust Division of the United States

Department of Justice seeking documents and other information relating to the marketing and

pricing of certain of Teva USA’s generic products and communications with competitors about

such products” and “[o]n July 12, 2016, Teva USA received a subpoena from the Connecticut

Attorney General seeking documents and other information relating to potential state antitrust

law violations.”

       315.    On this news, the prices of Teva Securities declined. For example, between the

close of trading on August 4, 2016 and on August 5, 2016, the price of Teva’s ADS fell $1.24 or

2.24% to close at $54.21.

       316.    This marked the beginning of the relevant truth leaking out, as Teva’s price-hike

strategy had begun to collapse and Teva lost its ability to profit from the 76 historic price hikes

or to implement new increases in 2016. The disclosure of the subpoenas was a materialization of

the risks: (1) that Teva’s collusive conduct would lead to potential enforcement actions, and (2)

that after nearly two years of ongoing investigations, the DOJ and State AGs would seek

evidence from Teva in connection with Teva’s pricing practices.



                                                111
       Case 3:20-cv-00588-SRU Document 1 Filed 04/29/20 Page 122 of 175



       B.        November 3, 2016, December 13-16, 2016

       317.      On November 3, 2016, during the trading day on the NYSE, Bloomberg

published an article titled “U.S. Charges in Generic-Drug Probe to Be Filed by Year End,”

describing the DOJ’s “sweeping” two-year investigation related to the soaring prices of generic

drugs and how executives from more than a dozen generic pharmaceutical manufacturers,

including Teva, were suspected of colluding to raise the prices of generic drugs. The article

broke the news that the first criminal charges against executives of those companies could

emerge by the end of the year, and that State AGs were seeking to bring claims against generic

manufacturers.

       318.      On this news, the prices of Teva Securities declined once again. For example,

between the close of trading on November 2, 2016 and the close of trading on November 3,

2016, Teva’s ADS price fell $4.13 or 9.53% to close at $39.20; and the prices of Teva’s 2026

and 2046 Notes fell $11.19 or 1.15%, and $27.94 or 3.02%, respectively.

       319.      In a November 3, 2016 article titled “News of Charges in Price-Fixing Inquiry

Sends Pharmaceuticals Tumbling,” The New York Times reported that the price of Teva’s

securities had declined significantly in response to reports that the DOJ and State AGs’

investigations found serious evidence of criminal conduct. On November 4, 2016, S&P Capital

IQ lowered its rating of Teva ADS from “buy” to “hold” and lowered its 12-month price target

by $34 to $50 per share, noting that “[w]e think this could pose yet another challenge to an

industry that has been hit hard by charges of high drug prices and will be an overhang on the

shares.” In its November 4, 2016 analyst report, HSBC downgraded Teva from “buy” to “hold”

and lowered its price target from $66 per share to $44 per share, noting “US DOJ investigation

into alleged US generic drug price collusion creates significant uncertainty” for Teva and for



                                                112
       Case 3:20-cv-00588-SRU Document 1 Filed 04/29/20 Page 123 of 175



investors. In a November 10, 2016 article titled “DOJ’s price-fixing investigation could lead to

sizable liabilities, analyst says,” Fierce Pharma reported that analysts tracking the generic drug

industry believed that liability from the investigations could have a sizeable financial impact on

Teva, estimated at $700 million.

       320.    Within weeks, the expected governmental actions materialized. On December 13,

2016, the DOJ, by means of an Information, charged Malek and Glazer, the top two executives at

Heritage, with two felony counts of violating Section 1 of the Sherman Act partly for fixing the

price of Glyburide, a drug for which Teva held 75% of the market.

       321.    On December 14, 2016, led by the Connecticut AG, the State AGs filed their

lawsuit against Teva and several of its peers for civil violations of the antitrust laws, accusing

Teva of conspiring to allocate the markets for, and fix the prices of, generic drugs, including for

Glyburide, and of participating in a larger market-wide collusive conspiracy. Forbes reported the

next day, in an article titled “State Attorneys General Accuse Six Generic Companies Of Fixing

Drug Prices,” that the State AG’s complaint revealed new information regarding Teva’s potential

exposure, made “clear which companies could be implicated in the antitrust investigation federal

prosecutors are pursuing,” and also noted that Glazer and Malek were cooperating.

       322.    On the news of the DOJ charges and the filing of the State AGs’ complaint, the

prices of Teva Securities continued to decline. For example, between the close of trading on

December 13, and December 16, 2016, the ADS price fell $1.15 or 3% to close at $36.51 and the

price of the Company’s 2046 Notes declined $17.54, a drop of 2.5%.

       C.      November 15, 2016

       323.    On November 15, 2016, before trading opened on the NYSE, Teva filed a press

release with the SEC reporting its Q3 2016 financial results, which were well below consensus



                                                 113
       Case 3:20-cv-00588-SRU Document 1 Filed 04/29/20 Page 124 of 175



expectations, largely due to poor sales in Teva’s generics divisions, including a $277 million

YOY decline in revenue in Teva’s “legacy” U.S. generics segment (i.e., in the pre-Actavis-

transaction portion of Teva’s U.S. generics business). In the Company’s November 15, 2016

earnings call, the Company also revised downward its 2016 guidance, and disclosed for the first

time that the rate of price erosion for its generic drugs had increased from 5% to 7%, although

Olafsson falsely claimed that the increase was the result of divestitures from the Actavis

transaction, and thus was limited to one quarter.

       324.    On this news, the prices of Teva Securities continued to decline. For example,

between the close of trading on November 14 and 15, 2016, the ADS price fell $3.43 or 8.36% to

close at $37.60.

       325.    Analysts responded negatively to the new information concerning the Company’s

disappointing financial results. That day, in a report titled, “Are The Wheels Coming Off? Sure

Feels That Way,” Piper Jaffray lowered its price target from $57 per share to $43 per share,

noting that “it appears to us that Teva painted an overly sanguine picture of its generics business

at its investor event in September [during the Generics Day],” and describing Q3 2016 as a

“credibility-damaging quarter,” because, in the face of Olafsson’s explanation that the price

erosion would be limited, it was “difficult for us to take that assertion at face value.” Also that

day, Deutsche Bank wrote “TEVA reported 3Q revenue that was below our estimate on lower

generic sales … the company saw higher than expected price erosion in 3Q …” and, as a result,

lowered its price target for the Company from $68 per share to $54 per share on “lower growth

assumptions for generics.” Likewise, in a November 16, 2016 report, Morgan Stanley lowered its

price target for the Company from $63 per share to $42 per share, as a result of the lower than

expected generics growth and worse than expected price erosion.



                                                 114
       Case 3:20-cv-00588-SRU Document 1 Filed 04/29/20 Page 125 of 175



       D.     December 5-6, 2016

       326.   After the close of trading on December 5, 2016, Teva filed a Form 6-K

announcing that Olafsson would be stepping down as President and CEO of the Company’s

Global Generic Medicines Group and that, effective immediately, he would be replaced by

Bhattacharjee. Teva offered no explanation for Olafsson’s departure, instead claiming he was

“retiring” even though he was only in his late 40s and quickly obtained other employment.

       327.   On this news, on December 6, 2016, the prices of Teva Securities continued to

decline. For example, between the close of trading on December 5 and on December 6, 2016, the

ADS price fell $2.01 or 5.43% to close at $35.03 and the price of Teva’s 2046 Notes fell $17.01,

or 1.95%.

       328.   Analysts tied Olafsson’s termination to the disappointing results in Teva’s

generics segment and concerns over pricing pressure. On December 6, Morningstar reported:

“Teva’s announcement [that it] will replace Siggi Olafsson as CEO of the generics segment does

not inspire confidence. Recent pricing pressure in the generic drug market … remain[s]

significant near-term challenge[] for Teva, which makes the abrupt leadership change a

concerning development at a critical time for the company.” A December 5 BTIG report noted

“[w]ithout Siggi Olafsson at the helm of Teva’s global generic segment, we think investor

sentiment could worsen as the market has remained focused on price erosion for the

[company’s] base generic business” and that “the departure of Mr. Olaffson [sic] creates more

uncertainty as we head into 2017.”

       E.     January 6, 2017

       329.   On January 6, 2017, before the beginning of the trading day on the NYSE, Teva

filed a press release on Form 6-K announcing a significant reduction in the 2017 guidance



                                              115
        Case 3:20-cv-00588-SRU Document 1 Filed 04/29/20 Page 126 of 175



previously released on July 13, 2016. In the investor conference call that day, Vigodman claimed

the “significantly” reduced guidance resulted from “significant headwinds” faced by “[t]he entire

healthcare sector” to which Teva “ha[d] not been immune,” and “some issues specific to Teva”

resulting in “an EBITDA gap of $1.2 billion emanating from our US generics business.” In

addition to the materialization of the concealed risks described herein, this was the

materialization of the risk of Defendants using an “assumption” for price erosion in the July 13,

2016 guidance that was empirically false at the time; specifically, Defendants assumed a pricing

environment that was “stable”— i.e., 4%-5% erosion rate disclosed in prior years and quarters—

when, in fact, pricing pressure was causing a more rapid decline.

        330.    As a result of this new negative information, the prices of Teva Securities

continued to decline. For example, between the close of trading on January 5 and January 6,

2017, the ADS price fell $2.86 or 7.53% to close at $35.10 and the prices of Teva’s 2026 and

2046 Notes declined $10.96, or 1.17%, and $17.75, or 2.01%, respectively.

        331.    Analysts tied this disclosure to the fact that the prior guidance was “inflated” as a

result of understating generic drug price erosion. In a report dated January 6, 2017, Evercore ISI

conducted its own price erosion analysis for the Company and noted that, as a result of its lower

than expected revenues and EPS, “I think it’s pretty clear that mgmt’s prior expectation for

2017 were very inflated.” Similarly, the same day, Maxim Group downgraded its rating of the

Company from “buy” to “hold” and its price target for the Company from $49 per share to $41

per share and noted “challenges in the near term to the core generic . . . business are becoming

bigger issues.” In a January 8, 2017 report, Piper Jaffray stated that “Teva once again provided

disappointing guidance, further eroding what in our view was already limited management

credibility.”



                                                 116
       Case 3:20-cv-00588-SRU Document 1 Filed 04/29/20 Page 127 of 175



       F.      February 6-7, 2017

       332.    On February 6, 2017, after the close of trading on the NYSE, in a Form 6-K filed

with the SEC, Teva announced the termination of Vigodman as CEO, effective immediately and

without a permanent replacement, and the conclusion of his service on the Board of Directors.

       333.    On this news, the prices of Teva Securities continued to decline. For example,

between the close of trading on February 6 and on February 7, 2017, the ADS price fell $2.16 or

6.29% to close at $32.19; Teva’s 2026 Notes fell $13.69 (1.51%); and the 2046 Notes fell $32.33

(3.76%).

       334.    Analysts tied Vigodman’s abrupt departure to the Company’s poor financial

performance in its generics business, as well as sustained difficulties for the generics business

ahead. For example, in a February 6, 2017 report titled “CEO Transition Adds Further

Uncertainty to Story,” J.P Morgan reported “we view today’s update as a disappointment, with

arguably the two most important executives at Teva stepping down (Erez and Siggi Olafsson,

CEO of generics) within the last several months at a time of significant fundamental challenges.

With Teva facing headwinds across both its generics (incremental competition, pricing

headwinds) and branded business … we continue to believe a near-term recovery in the

company’s business is unlikely.” Similarly, that day, Wells Fargo concluded that “more investors

will be uneasy with the uncertainty of an unexpected and abrupt CEO departure.”

       G.      August 3-7, 2017

       335.    On August 3, 2017, before the NYSE opened, Teva filed a press release on a

Form 6-K announcing lower-than-expected Q2 2017 financial results, which it attributed its poor

financial results to poor performance in its U.S. generics business (with reported profits of only

$691 million, far below analyst expectations) and “accelerated price erosion.” The Company also



                                                117
       Case 3:20-cv-00588-SRU Document 1 Filed 04/29/20 Page 128 of 175



disclosed it would take a $6.1 billion accounting charge permanently writing-down the value of

the generics business and imposed a 75% reduction in the Company’s long- standing dividend.

The Company also significantly lowered its guidance for 2017, revising downward its earlier-

reported guidance from January 2017 for the Company’s net revenues, operating income,

EBITDA, EPS, and cash flow. On the Company’s earnings conference call held that day,

Defendant McClellan, Teva’s interim CFO, explained that the poor results and reduced guidance

were partly the result of increased price erosion and price pressure. Importantly, Bhattacharjee

further noted the “impact of the shelf stock adjustments that [Teva has] done,” as a “key

element” of the revised outlook. Shelf stock adjustments are contractual provisions that require

charge backs to customers when prices decline. It was highly foreseeable that prices would

decline on at least the 60 drugs subject to the price-hike strategy, drugs for which Teva had

increased price by at least 50%, and as much as 1543% over the Relevant Period. Teva’s $6.1

billion permanent impairment charge directly reduced Teva’s bottom line dollar-for-dollar.

During the August 3, 2017, earnings call, Defendant Peterburg stated that the $6.1 billion charge

was “to reduce goodwill associated with our U.S. Generics business unit, which includes both

the Teva legacy business and the Actavis Generics business.”

       336.    Analysts reacted harshly. That day, J.P. Morgan wrote, “Teva reported weaker-

than-expected results but more importantly lowered in 2017 sales and EPS guidance … and cut

its dividend by 75%.... U.S. generic weakness appears to be at the heart of these reductions.”

Jefferies wrote, “Mgt Had Effectively No Choice but to Cut the Dividend; Maintaining Debt

Covenants a Key Concern.” Oppenheimer noted, “it may be difficult for Teva’s board to attract

top talent (meaningful pharma CEO experience) given the company’s ongoing challenges,” as

the CEO and CFO positions remained unfilled. Analysts were further concerned about Teva’s



                                               118
       Case 3:20-cv-00588-SRU Document 1 Filed 04/29/20 Page 129 of 175



ability to sustain its debt and debt rating. Jefferies wrote: “Can It Get Any Worse?,” noting that

“[a]t present, Teva has a debt covenant that requires a minimum leverage of 4.25 x (net

debt/EBITDA) by YE17 … If mgt’s ever-shrinking EBITDA guidance . . . erodes much further,

it is possible Teva may not meet the [debt] obligation.” The reality was that Teva’s poor results,

guidance reduction, and the risk that it could not satisfy its debt obligations were the

materialization of the risks associated with the price-hike strategy and its ultimate demise. There

was no realistic prospect that the strategy could be revived, or that it could again generate the

same Inflated Profits. The result was the write down of the generics business by $6.1 billion, and

Teva cutting its dividend by 75%.

       337.    With the true financial condition of the Company more evident, credit rating

agencies immediately issued rating downgrades. On August 3, 2017, Moody’s downgraded

Teva’s debt rating to Baa3 (one step above “junk”), with a negative outlook, reflecting slower-

than-anticipated deleveraging “as Teva contends with weakness in its US generics business.”

Likewise, on August 4, Fitch Ratings also downgraded Teva to BBB- (one step above “junk”),

with a negative outlook.

       338.    As investors digested the news, the prices of Teva Securities dropped. For

example, between the close of trading on August 2 and the close of trading on Monday, August

7, 2017, the price of Teva’s ADS fell $12.66 or 40.51% to close at $18.59; the price of the 2018,

2019, 2026, and 2046 Notes fell $7.76 (.78%), $12.45 (1.25%), $40.88 (4.20%), and $57.51

(6.34%), respectively.

       H.      November 2, 2017

       339.    On November 2, 2017, Teva filed a press release on a Form 6-K announcing

lower-than-expected Q3 2017 financial results, including a 9% decline in U.S. generic quarterly



                                                119
       Case 3:20-cv-00588-SRU Document 1 Filed 04/29/20 Page 130 of 175



revenues compared to Q3 2016. The Company attributed the decrease to “pricing declines

resulting from customer consolidation and accelerated FDA approvals for additional generic

versions of competing off-patent medicines as well as volume decline of methylphenidate

extended-release tablets (Concerta® authorized generic) due to the launch of a competing

product.”

       340.    As a result of this new negative information, the prices of Teva Securities

continued to decline. For example, between the close of trading on November 1 and on

November 2, 2017, the ADS price fell $2.79 or 19.90% to close at $11.23; and the price of the

2018, 2019, 2026, and 2046 Notes fell $0.16 (.16%), $1.05 (1.07%), $4.62 (5.13%), and $1.85

(2.3%), respectively.

       341.    Analysts reacted negatively. For example, RBC Capital Markets stated that the

results were even “below our cautious expectations,” and that the “magnitude of weakness in the

US generics business in both revenue and margins was surprising.” Wells Fargo found Teva’s

results “especially disappointing.”

       I.      February 8, 2018

       342.    On February 8, 2018, Teva filed a press release on a Form 8-K announcing Q4

2017 and FY 2017 financial results, including a staggering $17.1 billion goodwill impairment, of

which $10.4 billion related to Teva’s U.S. generics business. Teva stated that the $10.4 billion

write-down was based in part on “further deterioration in the U.S. generics market”—including

“[p]ricing challenges due to government regulation”—and Teva’s resulting expectation of

“larger pricing declines” than previously anticipated.

       343.    As a result of this new negative information, the prices of Teva Securities

continued to decline. For example, between the close of trading on February 7, 2018 and the



                                               120
       Case 3:20-cv-00588-SRU Document 1 Filed 04/29/20 Page 131 of 175



close of trading on February 8, 2018, the price of Teva’s ADS fell $2.21 or 10.6% to close at

$18.64; and the price of the 2026 and 2046 Notes fell $0.86 (1.07%) and $1.75 (2.33%),

respectively.

       344.     Analysts reacted negatively. Wells Fargo noted that Teva had missed consensus

expectations “by a significant margin,” pointed to “commentary about generic pricing worsening

in 4Q,” and concluded that investors “should see [Teva’s $17.1 billion impairment] as reflective

of how challenging the situation is.” IBI Brokerage noted that the impairment charge was

“almost entirely for the generics business in the US,” and that Teva’s 2018 guidance was “way

below market expectations.”

       J.       December 7-10, 2018

       345.     On December 9, 2018, an article in The Washington Post quoted statements from

Connecticut Assistant AG Joseph Nielsen that the State AG investigation had expanded to at

least 16 companies and 300 drugs, and exposed “the largest cartel in the history of the United

States.” While the article noted Teva’s continued denial of engaging in any anticompetitive

conduct, and its statement in a court filing that allegations of a price-fixing conspiracy “are

entirely conclusory and devoid of any facts,” the price of Teva Securities dropped substantially

with the disclosure of the State AGs’ expanded investigation.

       346.     For example, between the close of trading on December 7, 2018 (the last trading

day before the announcement) and the close of trading on December 10, 2018, the price of

Teva’s ADS fell $0.97 or 5% to close at $18.44; and the price of the 2019, 2026, and 2046 Notes

fell $0.11 (0.11%), $1.13 (1.39%), and $1.70 (2.43%), respectively.




                                                121
       Case 3:20-cv-00588-SRU Document 1 Filed 04/29/20 Page 132 of 175



VIII. ADDITIONAL SUBSEQUENT DEVELOPMENTS CONTINUE TO REVEAL
      THE TRUTH

       A.      May 10-13, 2019

       347.    On May 10, 2019, after the market closed, the State AGs filed a 524-page

antitrust complaint revealing previously undisclosed facts regarding Teva’s participation in the

generic drug price-fixing conspiracy. The May 2019 complaint details Teva’s price-fixing with

regard to at least 86 different generic drugs, compared to just 7 drugs in the previously filed

action. The complaint further asserts that the Company implemented significant price increases

for approximately 112 generic drugs, including extraordinary price hikes of over 1,000%, and

details Teva’s role as a “consistent participant” and a central player in the conspiracy. Further,

the May 2019 complaint names four Teva employees personally as defendants: Cavanaugh,

Patel, Kevin Green (Teva’s former Director of National Accounts), and David Rekenthaler

(Teva’s former Vice President, Sales U.S. Generics).

       348.    On this news, the price of Teva’s ADS declined by 14.83%, from a closing price

of $14.36 on May 10, 2019, to a closing price of $12.23 on May 13, 2019; and the price of the

2019, 2021, 2023, 2026, and 2046 Notes fell $0.09 (0.09%), $0.65 (0.68%), $1.37 (1.51%),

$1.78 (2.14%), and $2.16 (3.00%), respectively.

       349.    Analysts were surprised by the revelations in the State AGs’ May 10, 2019

complaint. For example, Bernstein warned that “the price-fixing lawsuit is worse than we

expected” and “there seem to be specific cases in the lawsuit that are going to be hard to explain

away.” J.P. Morgan stated that “[w]e were open to the majority of price spikes being

‘explainable’ by way of shortages, limited competition (only two or three competitors), and price

‘signaling,’ a grey area of antitrust law. So we were sorely disappointed by the nature of the

direct quotes attributed to Teva employees in the expanded complaint.”

                                                122
       Case 3:20-cv-00588-SRU Document 1 Filed 04/29/20 Page 133 of 175



IX.    RELIANCE

       350.    Plaintiff is entitled to a presumption of reliance on Defendants’ material

misrepresentations and omissions pursuant to the fraud-on-the-market doctrine. At all relevant

times, the market for Teva’s ADS, Preferred Shares, and Notes was efficient for the following

reasons, among others:

        (a)    Teva’s ADS met the requirements for listing, and were listed and actively traded
               on the NYSE, a highly efficient and automated market;

        (b)    The average weekly trading volume of Teva Securities was significant;

        (c)    As a regulated issuer, Teva filed public reports with the SEC and the NYSE;

        (d)    Teva was eligible to file simplified SEC filings;

        (e)    Teva regularly communicated with the public through established market
               communication channels, including through the regular dissemination of news
               releases on major newswire services, through communications with the financial
               press, and through other wide-ranging public disclosures; and

         (f)   Numerous securities and credit analysts followed Teva and wrote reports that
               were published, distributed, and entered the public domain.

       351.    Accordingly, the markets for Teva Securities promptly digested current

information regarding the Company from all publicly available sources and reflected such

information in the price of Teva Securities. Under these circumstances all purchasers of Teva

Securities during the Relevant Period suffered similar injury through their purchases at

artificially inflated prices. A presumption of reliance therefore applies.

       352.    In addition, or in the alternative, Plaintiff is entitled to a presumption of reliance

pursuant to Affiliated Ute Citizens of Utah v. United States, 406 U.S. 128 (1972), and its

progeny, because the claims asserted herein are predicated in part upon omissions of material

fact that Defendants had a duty to disclose.



                                                 123
       Case 3:20-cv-00588-SRU Document 1 Filed 04/29/20 Page 134 of 175



X.     INFLATED PROFIT ANALYSIS

       353.    Teva did not disclose profits, revenues, or pricing for individual generic drugs,

nor was that information otherwise public. To track and calculate the profits yielded by

Defendants’ price-hike strategy, counsel in the TSCA engaged econometric experts. According

to the TSCA Complaint:

        (a)    The investigation comprised multiple distinct econometric analyses, including
               regression analyses, that ultimately took into account thousands of data points.

        (b)    The analysis screened Teva’s entire generic drug portfolio during the relevant
               period to identify Wholesale Acquisition Cost (“WAC”) increases of at least 50%.
               The data was accessed via private, subscription-only databases costing tens of
               thousands of dollars annually. Next, any price increases plausibly connected to
               supply shortages or other economic anomalies were removed from the set.

        (c)    To isolate Inflated Profit for each drug, the analysis first determined the drug’s
               price per unit had Teva not made the increase. To do so, the drug’s specific
               pricing history was analyzed using a regression analysis that determined the price
               through the relevant period had prevailing drug-specific pricing trends continued.
               The analysis further took into account CPI inflation for prescription drugs and
               empirical measures of the trend in average pricing for prescription drugs over the
               five year period preceding the analysis.

        (d)    Calculating Inflated Profit, i.e., the difference between Teva’s actual revenues
               (with the price increase) and the revenues that would have been earned at each
               drug’s price without the increase, involved accounting on a month-by-month basis
               for (i) Teva’s sales quantities; and (ii) the discounts and rebates, unique to each
               drug, that Teva would provide to customers, which varied over time.

        (e)    Sales volumes were derived by reference to figures reported in a subscription
               database. Through another regression analysis, it was confirmed that the price and
               volume for each drug exhibited no statistically meaningful relationship, meaning
               that as pricing changed, volume of sales did not change.

        (f)    Teva’s discounts and rebates were unavailable. Thus, the level of discounts and
               rebates was determined by analyzing, on a month-by-month basis over the
               relevant period, multiple data points from a number of subscription and other
               industry datasets that reflected average pricing and sales volume data. This
               analysis was unique for each drug and captured fluctuations over time.

                                               124
       Case 3:20-cv-00588-SRU Document 1 Filed 04/29/20 Page 135 of 175



XI.    INAPPLICABILITY OF THE STATUTORY SAFE HARBOR OR BESPEAKS
       CAUTION DOCTRINE

       354.    The statutory safe harbor and bespeaks caution doctrine applicable to forward-

looking statements under certain circumstances do not apply to any of the untrue or misleading

statements alleged herein. The statements complained of herein concerned then-present or

historical facts or conditions that existed or were purported to exist at the time the statements

were made.

       355.    To the extent any of the untrue or misleading statements alleged herein can be

construed as forward-looking, they were not accompanied by meaningful cautionary language

identifying important facts that could cause actual results to differ materially from those in the

statements; the generalized risk disclosures Teva or other Defendants made were not sufficient to

shield Defendants from liability.

       356.    To the extent the statutory safe harbor otherwise would apply, Defendants are

liable under the Exchange Act for any untrue or misleading forward-looking statement

complained of herein because the person who made each such statement knew that the statement

was untrue or misleading when made, or because each such statement was approved by an

executive officer who knew that the statement was untrue or misleading when made.

       357.    Specifically as to the alleged false and misleading guidance issued on July 13,

2016, and January 6, 2017, that guidance incorporated an assumption grounded on historically-

inaccurate data. Namely, the assumption was that pricing was declining at the same rate as it had

during 2015 and the first half of 2016 because, as Olafsson puts it on Teva’s July 13, 2016

Preliminary Outlook call, Teva was “assuming . . . [the] same pricing assumption as we have had

for the first half of the year,” because Teva “saw no change in the pricing. We saw a stable

environment . . . from first quarter into second quarter.” Teva’s pricing erosion was not,

                                                125
       Case 3:20-cv-00588-SRU Document 1 Filed 04/29/20 Page 136 of 175



however, “stable.” Teva’s Inflated Profits had declined by $10 million from Q1 2016 to Q2

2016, and had declined over $100 on YOY basis from Q1 2015 due to an increasingly adverse

pricing environment. Moreover, because Teva had received the DOJ and State AG subpoenas, it

would be unable to mitigate these declines, as it had in the past, by taking additional price

increases.

XII.   CLAIMS FOR RELIEF

                                           COUNT I
              For Violations of Section 10(b) of the Exchange Act and Rule 10b-5
                                   (Against All Defendants)

       358.    Plaintiff incorporates ¶¶ 1-357 by reference as if fully set forth herein.

       359.    During the Relevant Period, Defendants made, disseminated or approved the false

and misleading statements specified above, which they knew or recklessly disregarded were false

and misleading in that the statements contained material misrepresentations and failed to disclose

material facts necessary in order to make the statements made, in light of the circumstances

under which they were made, not misleading.

       360.    Defendants violated § 10(b) of the Exchange Act and Rule 10b-5 in that they:

        (a)    Employed devices, schemes, and artifices to defraud;

        (b)    Made untrue statements of material fact or omitted to state materials facts
               necessary in order to make the statements made, in light of the circumstances
               under which they were made, not misleading; and/or

        (c)    Engaged in acts, practices and a course of business that operated as a fraud or
               deceit upon Plaintiff in connection with its purchases of Teva Securities during
               the Relevant Period.

       361.    Plaintiff has suffered damages in that, in reliance on Defendants false and

misleading statements and omissions and/or the integrity of the market, they paid artificially

inflated prices for Teva Securities. Plaintiff would not have purchased Teva Securities at the


                                                126
       Case 3:20-cv-00588-SRU Document 1 Filed 04/29/20 Page 137 of 175



prices they paid, or at all, if it had been aware that the market prices of those securities had been

artificially and falsely inflated by Defendants’ misleading statements.

       362.    As a direct and proximate result of Defendants’ wrongful conduct, Plaintiff

suffered damages in connection with its purchases of Teva securities during the Relevant Period.

                                          COUNT II
                      For Violations of Section 20(a) of the Exchange Act
                                   (Against All Defendants)

       363.    Plaintiff incorporates ¶¶ 1-357 by reference as if fully set forth herein.

       364.    During the Relevant Period, Defendants acted as controlling persons of Teva

within the meaning of § 20(a) of the Exchange Act. By virtue of their positions and their power

to control public statements about Teva, the Officer Defendants had the power and ability to

control the actions of Teva and its employees. Teva controlled the Officer Defendants and its

other officers and employees. By reason of such conduct, Defendants are liable pursuant to

§ 20(a) of the Exchange Act.

                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiff prays for relief and judgment as follows:

        (a)    Awarding Plaintiff damages against all Defendants, jointly and severally, in an
               amount to proven at trial for all injuries sustained as a result of Defendants’
               wrongdoing, including pre-judgment and post-judgment interest;
        (b)    Awarding Plaintiff reasonable costs and expenses incurred in this action,
               including attorneys’ fees and experts’ fees; and
        (c)    Awarding equitable/injunctive or further relief as the Court may deem just and
               proper.

                                         JURY DEMAND

       365.    Plaintiff hereby demands a trial by jury.




                                                 127
       Case 3:20-cv-00588-SRU Document 1 Filed 04/29/20 Page 138 of 175



Dated: April 29, 2020

                                      Respectfully submitted,

                                      /s/ David A. Slossberg
                                      HURWITZ, SAGARIN, SLOSSBERG &
                                      KNUFF, LLC
                                      David A. Slossberg (CT13116)
                                      Jeffrey P. Nichols (CT29547)
                                      147 Broad St.
                                      Milford, CT 06450
                                      Telephone: (203) 877-8000
                                      Facsimile: (203) 878-9800
                                      dslossberg@hssklaw.com
                                      jnichols@hssklaw.com

                                      LABATON SUCHAROW LLP
                                      Serena P. Hallowell (pro hac vice forthcoming)
                                      Eric J. Belfi (pro hac vice forthcoming)
                                      Thomas W. Watson (pro hac vice forthcoming)
                                      140 Broadway
                                      New York, NY 10005
                                      Tel: (212) 907-0700
                                      Fax: (212) 818-0447
                                      shallowell@labaton.com
                                      ebelfi@labaton.com
                                      twatson@labaton.com

                                      Counsel for Plaintiff




                                     128
Case 3:20-cv-00588-SRU Document 1 Filed 04/29/20 Page 139 of 175




                   APPENDIX A
         Case 3:20-cv-00588-SRU Document 1 Filed 04/29/20 Page 140 of 175
                                                                                            APPENDIX A


                   1.         Pravastatin

       Counsel’s investigation indicates that price hikes in 2013 by Teva for its generic
Pravastatin were the result of collusion among market participants.

       Pravastatin is among the class of lipid-lowering compounds known as statins, which
reduce the biosynthesis of cholesterol.

       According to Symphony data for July 2017, Pravastatin was among Teva’s top-50
generic drugs, both in terms of revenues and units sold.

       During the Relevant Period, the main competitors in the market for generic Pravastatin
were Teva, Glenmark Pharmaceuticals Inc. (“Glenmark”), and Apotex Corp. (“Apotex”).
Manufacturers with lesser shares of the market included Zydus Pharmaceuticals (USA), Inc.
(“Zydus”), and Lupin Pharmaceuticals, Inc. (“Lupin”). A repackager, International Laboratories,
LLC (“International Labs”) was responsible for selling a significant number of units as well.
Together, over the past four full years these entities were responsible for 99% (2013), 99%
(2014), 97% (2015), and 94% (2016) of the generic Pravastatin sold in the United States (as
measured in terms of Symphony Units).

       In mid-2013, just as Teva was experiencing a sharp downward trend in its U.S. generics
business, Teva and its competitors dramatically raised the list prices of their Pravastatin
products. As detailed in the graph below, the competitors’ dramatic increases in the list prices of
generic pravastatin were remarkably similar in terms of scale and timing, and occurred in close
proximity to several industry gatherings:

              PRAVASTATIN SODIUM TABLETS: Wholesale Acquisition Cost % of Change
                          (volume‐weighted average WAC, relative to WAC as of March 2012)

   300%
               Oct 2012: GPhA
                  Annual Meeting
               Feb 2013: GPhA
   250%           Annual Meeting
               April 2013: NACDS
                  Annual Meeting
   200%        June 2013: GPhA CMC
                  Workshop

   150%

   100%

    50%


                                                 TEVA USA               APOTEX CORP         LUPIN PHARMA
  Underlying Source: Symphony Health Solutions
                                                 ZYDUS PHARMA           GLENMARK PHARMA



      Data from the NADAC survey, captured in the graph below, shows that the Pravastatin
competitors’ WAC increases were correlated with real market-pricing impact, that the average

                                                            1
                          Case 3:20-cv-00588-SRU Document 1 Filed 04/29/20 Page 141 of 175
                                                                                                                     APPENDIX A


cost of generic Pravastatin quickly grew by six times, jumping over the course of just four
months from ten to nearly sixty cents for a typical (volume-weighted average strength) tablet,
and that at least a portion of this increase continued to have material revenue impact from mid-
2013 through at least the end of 2016.

                                          PRAVASTATIN SODIUM TABLETS: Weighted NADAC
                                                  (volume‐weighted average NADAC, Feb‐2013 to July‐2017)
                        0.70
                        0.60
   Price per Unit ($)




                        0.50
                        0.40
                        0.30
                        0.20
                        0.10
                        0.00




                               Underlying Source: CMS, Symphony Health Solutions       PRAVASTATIN SODIUM TABLETS: Weighted NADAC



       Counsel’s investigation reveals that manufacturers’ relative shares of the market for
generic Pravastatin became more stable in the period after the price increases, a fact which is
generally regarded as corroborative of collusion.

        During the Relevant Period, despite the massive price hikes, no competitor successfully
undercut the price-increasing competitors in order to seize market share. Each manufacturer
retained substantially the same market share.

        Counsel’s investigation has found that there is no rational alternative explanation for
these price hikes other than collusion. There was no shortage of raw materials or supply (see
FDA, Current and Resolved Shortages Reported to FDA) or unexpected increase in demand.

                                     2.         Enalapril Maleate

       Counsel’s investigation has indicated that price hikes in 2013 and 2014 by Teva for its
generic Enalapril Maleate were the result of collusion among market participants.

       Enalapril Maleate is among the class of antihypertensive compounds known as
angiotensin-converting enzyme (“ACE”) inhibitors, used to treat high blood pressure, and by
extension heart and kidney disease.

       During most of the Relevant Period, the main competitors in the market for generic
Enalapril were Teva, Mylan, Taro, Legacy Pharmaceuticals International (“Legacy”), and
Wockhardt. Taro did not possess significant market share until 2014, and Teva substantially

                                                                                   2
         Case 3:20-cv-00588-SRU Document 1 Filed 04/29/20 Page 142 of 175
                                                                                              APPENDIX A


exited the market in 2016. Together, over the past four full years these entities were responsible
for 90% (2013), 100% (2014), 99% (2015), and 91% (2016) of the generic Enalapril Maleate
sold in the United States (as measured in terms of Symphony Units).

        In mid-2013, just as Teva was experiencing a sharp downward trend in its U.S. generics
business, Teva and its main competitors raised the list prices of their Enalapril Maleate products.
As detailed in the graph below, the competitors’ increases in the list prices of generic Enalapril
Maleate were remarkably similar in terms of scale and timing, and occurred in close proximity to
several industry gatherings:

                     ENALAPRIL TABLETS: Wholesale Acquisition Cost % of Change
                        (volume‐weighted average WAC, relative to WAC as of January 2012)
 1600%
                         Oct 2013: GPhA Fall Technical Conference
 1400%                   Feb 2014: GPhA Annual Meeting
                         Jun 2014: GPhA Workshop
 1200%                   Oct 2014: GPhA Fall Technical Conference
                         Nov 2014: Annual IGPA Conference
 1000%                   Feb 2015: GPhA Annual Meeting

  800%
  600%

  400%
  200%
    0%



                                                                        MYLAN               WOCKHARDT USA
         Underlying Source: Symphony Health Solutions                   TARO PHARM USA      TEVA USA



        Data from the NADAC survey, captured in the graph below, shows that the Enalapril
Maleate competitors’ WAC increases were correlated with real market-pricing impact. The data
also show that in 2013 the average cost of generic Enalapril Maleate quickly grew by five times,
jumping over the course of just four months from three to 15 cents for a typical (volume-
weighted average strength) tablet; in 2014 this now-higher average itself tripled to 45 cents,
resulting in a per-tablet cost roughly fifteen times more than the prices that had prevailed in early
2013. At least a portion of these increases continued to have material revenue impact from mid-
2013 through at least the end of 2016.




                                                                    3
                          Case 3:20-cv-00588-SRU Document 1 Filed 04/29/20 Page 143 of 175
                                                                                                                APPENDIX A


                                                   ENALAPRIL TABLETS: Weighted NADAC
                                                 (volume‐weighted average NADAC, Feb‐2013 to July‐2017)
                        0.50
                        0.45
                        0.40
   Price per Unit ($)




                        0.35
                        0.30
                        0.25
                        0.20
                        0.15
                        0.10
                        0.05
                        0.00




                               Underlying Source: CMS, Symphony Health Solutions           ENALAPRIL TABLETS: Weighted NADAC



        Counsel’s investigation reveals that manufacturers’ relative shares of the market for
generic Enalapril Maleate became more stable in the period after the price increases, a fact which
is generally regarded as corroborative of collusion.

        During the Relevant Period, despite the massive price hikes, no competitor successfully
undercut the price-increasing competitors in order to seize market share. Each manufacturer
retained substantially the same market share.

        Counsel’s investigation has found that there is no rational alternative explanation for
these price hikes other than collusion. There was no shortage of raw materials or supply
according to the FDA Drug Shortages List, and no unexpected increase in demand.

                                     3.        Cephalexin Oral Suspension

        Counsel’s investigation has indicated that price hikes in 2014 by Teva for the oral
suspension form of its generic Cephalexin were the result of collusion among market
participants.

         Cephalexin is a semisynthetic antibiotic that can treat a number of bacterial infections,
including streptococcal pharyngitis, bone and joint infections, pneumonia, cellulitis, and urinary
tract infections. It is among the “Key Access Antibiotics” on the World Health Organization’s
Model List of Essential Medicines necessary for a basic and functional healthcare system.

       During the Relevant Period, the main competitors in the market for generic Cephalexin
were Teva and Lupin Pharmaceuticals, Inc. Together, over the past four full years Teva and
Lupin were responsible for 94% (2013), 99% (2014), 96% (2015), and 89% (2016) of the generic
Cephalexin oral suspension sold in the United States (as measured in terms of Symphony Units).
Karalex Pharma, LLC also sold Cephalexin before October 2013 and after July 2015, but not in

                                                                                   4
         Case 3:20-cv-00588-SRU Document 1 Filed 04/29/20 Page 144 of 175
                                                                                                APPENDIX A


between. During the times that it sold the drug, Karalex was responsible for between 10% and
20% of the market share.

        In late 2013 and early 2014, respectively, Lupin and Teva – which already had
established identical pricing structures – made identical increases in their prices for Cephalexin
oral suspension. As detailed in the graph below, the competitors’ increases in the list prices of
generic Cephalexin oral suspension were remarkably similar in terms of scale and timing, and
occurred in close proximity to several industry gatherings.

              CEPHALEXIN ORAL SUSPENSION: Wholesale Acquisition Cost % of Change
                          (volume‐weighted average WAC, relative to WAC as of January 2012)
 230%
                   Oct 2013: GPhA Fall Technical Conference
 210%              Feb 2014: GPhA Annual Meeting
                   Jun 2014: GPhA Workshop
 190%              Oct 2014: GPhA Fall Technical Conference

 170%
 150%
 130%
 110%
  90%
  70%
  50%




        Underlying Source: Symphony Health Solutions                       TEVA USA           LUPIN PHARMA



        Data from the NADAC survey, captured in the graph below, shows that the Cephalexin
oral suspension competitors’ WAC increases were correlated with real market-pricing impact,
that the average cost of generic Cephalexin oral suspension quickly grew by roughly three times,
jumping over the course of just two months from five to fifteen cents for a typical (volume-
weighted average strength) dose, and that at least a portion of this increase continued to have
material revenue impact from early 2014 through at least the end of 2016.




                                                              5
                          Case 3:20-cv-00588-SRU Document 1 Filed 04/29/20 Page 145 of 175
                                                                                                                     APPENDIX A


                                          CEPHALEXIN ORAL SUSPENSION: Weighted NADAC
                                                 (volume‐weighted average NADAC, Feb‐2013 to July‐2017)
                        0.18

                        0.16
   Price per Unit ($)




                        0.14

                        0.12

                        0.10

                        0.08

                        0.06

                        0.04



                               Underlying Source: CMS, Symphony Health Solutions       CEPHALEXIN ORAL SUSPENSION: Weighted NADAC



       Counsel’s investigation reveals that manufacturers’ relative shares of the market for
generic Cephalexin oral suspension became more stable in the period after the price increases, a
fact which is generally regarded as corroborative of collusion.

        During the Relevant Period, despite the massive price hikes, no competitor successfully
undercut the price-increasing competitors in order to seize market share. Indeed, when Karalex
re-entered the market, it matched the price of Teva and Lupin rather than compete on price.

        Counsel’s investigation has found that there is no rational alternative explanation for
these price hikes other than collusion. There was no shortage of raw materials or supply
according to the FDA Drug Shortages List, and no unexpected increase in demand.

                                     4.        Ketoconazole Tablets and 2% Cream

        Counsel’s investigation has indicated that price hikes in 2014 by Teva and its competitors
for generic Ketoconazole tablets and 2% cream were the result of collusion among market
participants.

        Ketoconazole is a synthetic imidazole antifungal drug primarily used to treat fungal
infections.

        The markets for Ketoconazole tablets and 2% cream are highly concentrated with all
three major manufacturers being previously identified together in other drug price-fixing cases.
During the Relevant Period, the main competitors in the market for both tablets and 2% cream
were Teva and Taro; in each market, a third competitor – Mylan with respect to tablets and
Fougera Pharmaceuticals Inc., a part of the Sandoz division of Novartis AG (“Fougera/Sandoz”)
with respect to 2% cream – held a smaller portion of the market. In or around July 2015, Teva
exited the market for Ketoconazole 2% cream. Together, over the past four full years, in the

                                                                                   6
        Case 3:20-cv-00588-SRU Document 1 Filed 04/29/20 Page 146 of 175
                                                                                                 APPENDIX A


markets for both forms of the drug at issue, the top-three competitors controlled the entire market
(as measured in terms of Symphony Units).

       On April 4 and April 18, 2014, respectively, Teva and Taro dramatically raised the price
of Ketoconazole tablets and 2% cream. The remarkable similarity in timing and scale of Taro
and Teva’s price increases is evident in the graph below, which also shows that the Ketoconazole
competitors’ price increases occurred in close proximity to several industry gatherings:

                 KETOCONAZOLE TABLETS: Wholesale Acquisition Cost % of Change
                         (volume‐weighted average WAC, relative to WAC as of January 2012)
 400%
                  Oct 2013: GPhA Fall Technical Conference
                  Feb 2014: GPhA Annual Meeting
 350%             Jun 2014: GPhA Workshop
                  Oct 2014: GPhA Fall Technical Conference
 300%

 250%

 200%

 150%

 100%

  50%




        Underlying Source: Symphony Health Solutions                    TEVA USA             TARO PHARM USA



        Data from the NADAC survey, captured in the graph below, shows that the Ketoconazole
competitors’ WAC increases were correlated with real market-pricing impact, and that the
average cost of generic Ketoconazole cream quickly tripled, jumping over the course of just two
months from twenty to sixty cents for a typical (volume-weighted average strength) dose, and
rising to nearly one dollar per dose prior to Teva’s exiting the market. With respect to the tablet
form, the average cost immediately tripled, and eventually settled at a price seven to eight times
the prevailing price prior to the WAC increases. At least a portion of these increases continued to
have material revenue impact from early 2014 through Teva’s exiting the market with respect to
the cream form, and through at least the end of 2016 with respect to the tablet form.




                                                             7
                          Case 3:20-cv-00588-SRU Document 1 Filed 04/29/20 Page 147 of 175
                                                                                                               APPENDIX A


                                               KETOCONAZOLE TABLETS: Weighted NADAC
                                                 (volume‐weighted average NADAC, Feb‐2013 to July‐2017)
                        2.00
                        1.80
                        1.60
   Price per Unit ($)




                        1.40
                        1.20
                        1.00
                        0.80
                        0.60
                        0.40
                        0.20
                        0.00



                               Underlying Source: CMS, Symphony Health Solutions        KETOCONAZOLE TABLETS: Weighted NADAC



       Counsel’s investigation reveals that manufacturers’ relative shares of the market for
generic Ketoconazole became more stable in the period after the price increases, a fact which is
generally regarded as corroborative of collusion.

        During the Relevant Period, despite the massive price hikes, no competitor undercut the
price-increasing competitors in order to seize market share.

        The price increase was maintained through at least July 2015, when Taro and
Fougera/Sandoz again raised their prices. Although Teva did not raise its WAC price at the time,
it soon exited the market altogether. The timing of Teva’s exit coincides approximately with the
FTC’s review of Teva’s purchase of Actavis.

        Counsel’s investigation has found that there is no rational alternative explanation for
these price hikes other than collusion. There was no shortage of raw materials or supply
according to the FDA Drug Shortages List, and no unexpected increase in demand.

                                     5.        Baclofen

       Counsel’s investigation has indicated that price hikes in 2014 by Teva for its generic
Baclofen tablets were the result of collusion among market participants.

       Baclofen – a structural analog of the inhibitory neurotransmitter gamma-aminobutyric
acid (“GABA”) – acts as a muscle relaxant and an antispastic agent.

       According to Symphony data for July 2017, Baclofen is one of Teva’s top fifty generic
drugs in the United States market, both in terms of revenue and in terms of quantity of units
manufactured.


                                                                                   8
        Case 3:20-cv-00588-SRU Document 1 Filed 04/29/20 Page 148 of 175
                                                                                               APPENDIX A


        During the Relevant Period, the main competitors in the market for generic Baclofen
tablets were Teva, Qualitest Pharmaceuticals Co. (now part of Par), and Upsher-Smith
Laboratories (“Upsher-Smith”). Together, over the past three full years these entities were
responsible for 90% (2013), 90% (2014), 95% (2015), and 84% (2016) of the generic Baclofen
tablets sold in the United States (as measured in terms of Symphony Units).

       In early 2014, Teva and Upsher-Smith increased their WAC list price, in equal or nearly
equal amounts. As detailed in the graph below, the competitors’ increases in the list prices of
generic Baclofen were remarkably similar in terms of scale and timing and occurred in close
proximity to several industry gatherings.

              BACLOFEN TABLETS: Wholesale Acquisition Cost % of Change
                          (volume‐weighted average WAC, relative to WAC as of January 2012)

 700%
             Oct 2013: GPhA Fall Technical Conference
             Feb 2014: GPhA Annual Meeting
 600%        Jun 2014: GPhA Workshop
             Oct 2014: GPhA Fall Technical Conference
 500%

 400%

 300%

 200%

 100%

   0%



                                                                         TEVA USA             UPSHER‐SMITH
        Underlying Source: Symphony Health Solutions
                                                                         QUALITEST/PAR


        Data from the NADAC survey, captured in the graph below, shows that the Baclofen
competitors’ WAC increases were correlated with real market-pricing impact, that the average
cost of generic Baclofen quickly grew by roughly five times, jumping over the course of just
three months from five to twenty-five cents for a typical (volume-weighted average strength)
dose, and that at least a portion of this increase continued to have material revenue impact from
early 2014 through at least the end of 2016.




                                                         9
                          Case 3:20-cv-00588-SRU Document 1 Filed 04/29/20 Page 149 of 175
                                                                                                                APPENDIX A


                                                    BACLOFEN TABLETS: Weighted NADAC
                                                 (volume‐weighted average NADAC, Feb‐2013 to July‐2017)
                        0.35

                        0.30
   Price per Unit ($)




                        0.25

                        0.20

                        0.15

                        0.10

                        0.05

                        0.00




                               Underlying Source: CMS, Symphony Health Solutions           BACLOFEN TABLETS: Weighted NADAC



       Counsel’s investigation reveals that manufacturers’ relative shares of the market for
generic Baclofen became more stable in the period after the price increases, a fact which is
generally regarded as corroborative of collusion.

        During the Relevant Period, despite the massive price hikes, no competitor successfully
undercut the price-increasing competitors in order to seize market share. Thus each manufacturer
retained substantially the same market share.

        Counsel’s investigation has found that there is no rational alternative explanation for
these price hikes other than collusion. There was no shortage of raw materials or supply
according to the FDA Drug Shortages List, and no unexpected increase in demand.

                                     6.        .05% Fluocinonide

        Counsel’s investigation has indicated that price hikes in 2014 by Teva for its generic
.05% Fluocinonide cream, ointment, and gel were the result of collusion among market
participants. For purposes of this Complaint, unless otherwise noted, references to “.05%
Fluocinonide” encompass the cream, ointment, and gel forms of .05%-strength generic
Fluocinonide.

        Fluocinonide is a high-potency topical corticosteroid widely used to reduce the swelling,
itching, and redness associated with a variety of skin conditions such as psoriasis, eczema,
dermatitis, and vitiligo.

        During the Relevant Period, the main competitors in the combined market for generic
.05% Fluocinonide were, as with Ketoconazole, Teva, and Taro. Actavis/Mayne, which
manufactures only the cream form of .05% Fluocinonide, had a lesser share of the market and
did not enter in any material way until June 2014. Together, over the past four full years, these

                                                                                   10
         Case 3:20-cv-00588-SRU Document 1 Filed 04/29/20 Page 150 of 175
                                                                                               APPENDIX A


entities were responsible for 98% (2013), 99% (2014), 100% (2015), and 99% (2016) of the
.05% Fluocinonide cream, ointment, and gel sold in the United States (as measured in terms of
Symphony Units).

       In mid-2014, Taro and Teva made massive, and identical, increases in WAC list prices.
As detailed in the graph below, the competitors’ increases in the list prices of generic
Fluocinonide were remarkably similar in terms of scale and timing and occurred in close
proximity to several industry gatherings.

             FLUOCINONIDE MULTIPLE FORMS*: Wholesale Acquisition Cost % of Change
                          (volume‐weighted average WAC, relative to WAC as of January 2012)
 750%
                      Oct 2013: GPhA Fall Technical Conference
                      Feb 2014: GPhA Annual Meeting
 650%                 Jun 2014: GPhA Workshop
                      Oct 2014: GPhA Fall Technical Conference
 550%

 450%

 350%

 250%

 150%

  50%



        Underlying Source: Symphony Health Solutions
        *Includes .05% Fluocinonide cream, ointment and gel             TEVA USA          TARO PHARM USA



       Data from the NADAC survey, captured in the graph below, shows that the .05%
Fluocinonide competitors’ WAC increases were correlated with real market-pricing impact, that
the average cost of generic .05% Fluocinonide quickly grew by three times, jumping over the
course of just one month from approximately $0.62 to approximately $1.86 for a typical
(volume-weighted average form/strength) dose, and that at least a portion of this increase
continued to have material revenue impact from mid-2014 through at least the end of 2016.




                                                                 11
                          Case 3:20-cv-00588-SRU Document 1 Filed 04/29/20 Page 151 of 175
                                                                                                      APPENDIX A


                                FLUOCINONIDE MULTIPLE FORMS*: Weighted NADAC
                                        (volume‐weighted average NADAC, Feb‐2013 to July‐2017)
                        2.10
                        1.90
                        1.70
   Price per Unit ($)




                        1.50
                        1.30
                        1.10
                        0.90
                        0.70
                        0.50



             Underlying Source: CMS, Symphony Health Solutions                         FLUOCINONIDE: Weighted NADAC
             *Includes .05% Fluocinonide cream, ointment and gel



       Counsel’s investigation reveals that manufacturers’ relative shares of the market for
generic Fluocinonide became more stable in the period after the price increases, a fact which is
generally regarded as corroborative of collusion.

        During the Relevant Period, despite the massive price hikes, no competitor successfully
undercut the price-increasing competitors in order to seize market share. Thus each manufacturer
retained substantially the same market share.

        Counsel’s investigation has found that there is no rational alternative explanation for
these price hikes other than collusion. There was no shortage of raw materials or supply
according to the FDA Drug Shortages List, and no unexpected increase in demand.

                               7.     Carbamazepine Tablets And Chewable Tablets

        Counsel’s investigation has indicated that price hikes during 2014 by Teva for its generic
Carbamazepine tablets and chewable tablets (cf. sustained release tablets) were the result of
collusion among market participants.

      Carbamazepine is an anticonvulsant, used primarily in the treatment of epilepsy and
neuropathic pain.

        During the Relevant Period, the main competitors in the market for generic
Carbamazepine tablets and chewable tablets were, as with Ketoconazole and .05% Fluocinonide,
Teva and Taro. Torrent Pharmaceuticals Ltd. (“Torrent”) and Apotex held smaller shares of the
market (Apotex did not compete in the chewables market). Together, over the past four full years
these entities were responsible for 100% (2013), 99% (2014), 99% (2015), and 100% (2016) of
the combined market for generic Carbamazepine tablets and chewable tablets sold in the United
States (as measured in terms of Symphony Units).

                                                                   12
         Case 3:20-cv-00588-SRU Document 1 Filed 04/29/20 Page 152 of 175
                                                                                               APPENDIX A


        In mid-2014, the four competitors in Carbamazepine tablets and three competitors in
chewable tablets all increased WAC list prices for Carbamazepine tablets and chewable tablets.
The remarkable similarity in timing and scale of the competitors’ price increases is evident in the
graph below, which also shows that the Carbamazepine competitors’ price increases occurred in
close proximity to several industry gatherings:

                CARBAMAZEPINE TABLETS: Wholesale Acquisition Cost % of Change
                         (volume‐weighted average WAC, relative to WAC as of March 2013)

                         Feb 2014: GPhA Annual Meeting
 3000%                   Jun 2014: GPhA Workshop
                         Oct 2014: GPhA Fall Technical Conference

 2500%

 2000%

 1500%

 1000%

  500%

    0%



                                                                         TEVA USA         APOTEX CORP
         Underlying Source: Symphony Health Solutions
                                                                         TARO PHARM USA   TORRENT PHARMAC


        Again, the market participants went into 2014 at different price points, but the new WAC
prices established in mid-2014 established largely identical pricing structures.

        Data from the NADAC survey, captured in the graph below, shows that the
Carbamazepine competitors’ WAC increases were correlated with real market-pricing impact,
that the average cost of generic Carbamazepine tablets quickly grew by fifteen times, jumping
over the course of just two months from roughly five to more than seventy-five cents for a
typical (volume-weighted average form/strength) dose, and that at least a portion of this increase
continued to have material revenue impact from mid-2014 through at least the end of 2016.




                                                                    13
                           Case 3:20-cv-00588-SRU Document 1 Filed 04/29/20 Page 153 of 175
                                                                                                                APPENDIX A


                                              CARBAMAZEPINE TABLETS: Weighted NADAC
                                                 (volume‐weighted average NADAC, Feb‐2013 to July‐2017)
                        0.90
                        0.80
                        0.70
   Price per Unit ($)




                        0.60
                        0.50
                        0.40
                        0.30
                        0.20
                        0.10
                        0.00



                        Underlying Source: CMS, Symphony Health Solutions              CARBAMAZEPINE TABLETS: Weighted NADAC



       Counsel’s investigation reveals that manufacturers’ relative shares of the market for
generic Carbamazepine became more stable in the period after the price increases, a fact which is
generally regarded as corroborative of collusion.

        During the Relevant Period, despite the massive price hikes, no competitor successfully
undercut the price-increasing competitors in order to seize market share. Thus each manufacturer
retained substantially the same market share.

        Counsel’s investigation has found that there is no rational alternative explanation for
these price hikes other than collusion. There was no shortage of raw materials or supply
according to the FDA Drug Shortages List, and no unexpected increase in demand.

                                     8.        Estradiol Tablets

       Counsel’s investigation has indicated that price hikes in 2015 by Teva for its generic
Estradiol tablets were the result of collusion among market participants.

       Estradiol, a naturally occurring steroid hormone, is a form of the primary female sex
hormone estrogen. Estradiol is used mainly in hormone replacement therapy (HRT) where the
body does not naturally produce sufficient estrogen. It is also used in hormonal contraception
and sometimes in the treatment of hormone-sensitive cancers like prostate cancer.

        From 2013 through the present, Teva has dominated the market for Estradiol with annual
market shares ranging from 74% to 85%. As of early 2015, Teva’s largest competitor in the
Estradiol tablets market was Actavis, which held approximately 10% of the market until Teva
and Actavis merged in August 2016. Teva and Actavis together were responsible for 96% of
units sold in 2014 and 95% in 2015. In 2016, Teva and Actavis, now combined, controlled 87%
of the market (as measured in terms of Symphony Units). Before 2013, Mylan was a significant

                                                                            14
        Case 3:20-cv-00588-SRU Document 1 Filed 04/29/20 Page 154 of 175
                                                                                              APPENDIX A


competitor, but its market share dropped significantly in July 2013, before re-emerging in 2016
and 2017.

        In early 2015, Teva dramatically raised the list WAC of its Estradiol tablets by 90%
across the board. Actavis matched this new pricing structure. The scale and timing of these price
increases are evident in the graph below:

                    ESTRADIOL TABLETS: Wholesale Acquisition Cost % of Change
                       (volume‐weighted average WAC, relative to WAC as of January 2012)
 240%
                                 Oct 2014: GPhA Fall Technical Conference
 220%                            Nov 2014: Annual IGPA Conference
                                 Feb 2015: GPhA Annual Meeting
 200%
 180%
 160%
 140%
 120%
 100%
  80%




        Underlying Source: Symphony Health Solutions                        TEVA USA       ACTAVIS PHARMA



        Data from the NADAC survey, captured in the graph below, shows that the Estradiol
tablets competitors’ WAC increases were correlated with real market-pricing impact, that the
average cost of generic Estradiol tablets quickly grew by a factor of roughly 1.6, jumping over
the course of just one month from roughly eight to more than thirteen cents for a typical
(volume-weighted average strength) dose, and that at least a portion of this increase continued to
have material revenue impact from mid-2015 through at least the end of 2016.




                                                                  15
                          Case 3:20-cv-00588-SRU Document 1 Filed 04/29/20 Page 155 of 175
                                                                                                              APPENDIX A


                                                 ESTRADIOL TABLETS: Weighted NADAC
                                               (volume‐weighted average NADAC, Feb‐2013 to July‐2017)
                        0.15
                        0.14
                        0.13
   Price per Unit ($)




                        0.12
                        0.11
                        0.10
                        0.09
                        0.08
                        0.07



                        Underlying Source: CMS, Symphony Health Solutions                 ESTRADIOL TABLETS: Weighted NADAC



        During the Relevant Period, despite the massive price hikes, no competitor successfully
undercut the price-increasing competitors in order to seize market share. Thus each manufacturer
retained substantially the same market share.

        Counsel’s investigation has found that there is no rational alternative explanation for
these price hikes other than collusion. There was no shortage of supply according to the FDA
Drug Shortages List, and no unexpected increase in demand.




                                                                            16
Case 3:20-cv-00588-SRU Document 1 Filed 04/29/20 Page 156 of 175




                     EXHIBIT 1
Case 3:20-cv-00588-SRU Document 1 Filed 04/29/20 Page 157 of 175



                     UNITED STATES DISTRICT COURT
                  EASTERN DISTRICT OF PENNSYLVANIA

IN RE:                   .        Case No. 2:16-MD-02724 (CMR)
                         .
GENERIC PHARMACEUTICALS .
PRICING ANTITRUST        .        U.S. Courthouse
LITIGATION               .        601 Market Street
                         .        Philadelphia, PA 19106
                         .
                         .        September 24, 2019
. . . . . . . . . . . . ..        11:17 a.m.

                    TRANSCRIPT OF CIVIL HEARING
            BEFORE HONORABLE CYNTHIA M. RUFE and JURY
                   UNITED STATES DISTRICT JUDGE

APPEARANCES:

Defense Liaison Counsel           JAN P. LEVINE
                                  PEPPER HAMILTON LLP
                                  3000 TWO LOGAN SQ
                                  18TH & ARCH STS
                                  PHILADELPHIA, PA 19103-2799

Direct Purchaser Plaintiffs       ROBERTA D. LIEBENBERG
PSC                               FINE, KAPLAN AND BLACK
                                  ONE SOUTH BROAD ST SUITE 2300
                                  PHILADELPHIA, PA 19107

State Attorneys General           W. JOSEPH NIELSEN
Plaintiffs                        ATTORNEY GENERAL’S OFFICE - ELM
                                  55 ELM ST
                                  HARTFORD, CT 06106

                                  ANGELINA M. WHITFIELD
                                  STATE OF ILLINOIS ATTORNEY
                                  GENERAL’S OFFICE
                                  Antitrust Bureau
                                  100 W Randolph
                                  CHICAGO, IL 60601

                                  LAURA JOHNSON MARTELLA
                                  ATTORNEY GENERAL’S OFFICE- ELM
                                  55 ELM ST
                                  HARTFORD, CT 06106

                                  RACHEL O DAVIS
                                  OFFICE OF THE ATTORNEY GENERAL
                                  55 ELM STREET, FOURTH FLOOR
                                  HARTFORD, CT 06106
Case 3:20-cv-00588-SRU Document 1 Filed 04/29/20 Page 158 of 175



                                  TIMOTHY M. FRASER
                                  FL OFFICE OF THE ATTORNEY
                                  GENERAL
                                  PL-01 THE CAPITOL
                                  TALLAHASSEE, FL 32399

                                  Special Master
David H. Marion                   DAVID H. MARION
                                  WHITE AND WILLIAMS LLP
                                  1800 ONE LIBERTY PLACE
                                  1650 MARKET STREET
                                  PHILADELPHIA, PA 19103

                                  Special Master
Bruce P. Merenstein               BRUCE P. MERENSTEIN
                                  SCHNADER HARRISON SEGAL & LEWIS
                                  1600 MARKET STREET
                                  SUITE 3600
                                  PHILADELPHIA, PA 19103-7286

                                  Special Master
Daniel L. Regard                  DANIEL L. REGARD
                                  iDISCOVERY SOLUTIONS
                                  3000 K STREET ST NW SUITE 330
                                  WASHINGTON, DC 20007




Audio Operator:

Transcriber:                 UBIQUS REPORTING, INC.
                             61 Broadway, Suite 1400
                             New York, NY 10006
                             212-346-6666
                             Email: infousa@ubiqus.com



            Proceedings recorded by electronic sound
    recording, transcript produced by transcription service.
Case 3:20-cv-00588-SRU Document 1 Filed 04/29/20 Page 159 of 175


                                                                           3
                               I N D E X

                                                                   PAGE



PRELIMINARY JURY INSTRUCTIONS



OPENING STATEMENTS                                                 4



WITNESS FOR THE PLAINTIFF




EXHIBITS                                                  ID.       EVD.
     Case 3:20-cv-00588-SRU Document 1 Filed 04/29/20 Page 160 of 175


                              Opening Statement                             4
1                   COURTROOM DEPUTY: All rise.       The Court is now in

2      session for the United States District Court for the Eastern

3      District of Pennsylvania.        The Honorable Cynthia M. Rufe

4      presiding.

5                   THE COURT:   Good morning, everyone.

6                   THE COURTROOM:    Good morning, Your Honor.

7                   THE COURT:   Please be seated.     So, we started early

8      this morning with a conference with liaison counsel and we’re

9      now ready to address remaining issues on the agenda and I would

10     like to know who... since I have a sign-in sheet, I believe

11     there’s also counsel on the telephone?         Do I have a list of

12     them?

13                  FEMALE VOICE 1:     - - .

14                  THE COURT:   So, if you wish to speak and you’re on

15     the telephone, you must identify yourself, please, when that

16     happens.     I don’t know which of these pages...

17                  MR. WILLIAM STEWART:     Hi, this is Bill Stewart from

18     Schneider Wallace on the line.

19                  THE COURT:   Hello?    Who else is on the phone?    I

20     believe we have our Special ESI Master--

21                  MS. NIKOLE BROCK:     [Interposing] - - Attorney

22     General’s Office on the line.

23                  THE COURT:   Would you repeat that, please?

24                  MS. BROCK:   Nikole Brock from the Pennsylvania

25     Attorney General’s Office.
     Case 3:20-cv-00588-SRU Document 1 Filed 04/29/20 Page 161 of 175


                              Opening Statement                              5
1                   THE COURT: Thank you. Who else?

2                   MR. FRANK DELEON:     Frank DeLeon [phonetic] from the

3      Montana Attorney General’s Office, Your Honor.

4                   THE COURT:    Thank you.   Anyone else?

5                   MS. LEEANNE APPLEGATE:     LeeAnne Applegate, Kentucky

6      Attorney General’s Office.

7                   THE COURT:    Thank you.   Who else, please?

8                   MS. LAURA MARTELLA:    Laura Martella from the

9      Connecticut Attorney General’s Office.

10                  THE COURT:    Thank you.   Anyone else--?

11                  MS. RACHEL DAVIS:     [Interposing] Rachel Davis from

12     the Connecticut Attorney General’s Office.          I do not intend to

13     speak.

14                  THE COURT:    I did not hear that.

15                  MALE VOICE:    That was Rachel Davis from the

16     Connecticut Attorney General’s.

17                  MR. TIMOTHY FRASER:    Timothy Fraser, Florida AG’s

18     Office.

19                  THE COURT:    And who was that?

20                  MALE VOICE:    Tim Fraser from the Florida Attorney

21     General’s.

22                  THE COURT:    All right.   Anyone else?

23                  MR. DANIEL REGARD:    This is Dan Regard, the Special

24     Master for ESI discovery.

25                  THE COURT:    Thank you, Mr. Regard.      I did try to
     Case 3:20-cv-00588-SRU Document 1 Filed 04/29/20 Page 162 of 175


                           Opening Statement                       6
1      introduce you a moment ago and thank you for joining us this

2      morning.

3                  MR. REGARD:     Yes, ma’am.

4                  THE COURT:    Anyone else on the phone?

5                  MS. JUDITH ZAHID:     Your Honor, it’s Judith Zahid and

6      Eric Buetzow for United HealthCare Services, Inc.

7                  THE COURT:    Thank you.

8                  MS. ELIN ALM:     Elin Alm from the North Dakota

9      Attorney General’s Office.

10                 THE COURT:    Thank you.      Might that--

11                 MS. HUGHES:     [Interposing] - - Hughes on behalf of

12     Nisha Patel.

13                 THE COURT:    Okay.   Thank you.

14                 MR. RYAN:     - - Ryan on behalf of Jay Nesta

15     [phonetic].

16                 THE COURT:    Thank you, sir.

17                 MR. ROBERT CONLEY:     Robert Conley [phonetic] on

18     behalf of James Grosson [phonetic].

19                 THE COURT:    Thank you.

20                 MR. JOHN SELDEN:      John Selden, Alabama Attorney

21     General’s Office.

22                 THE COURT:    Thank you, sir.

23                 MS. ELIZABETH HAAS:     Elizabeth Haas with Foley and

24     Lardner on behalf Apitex.

25                 THE COURT:    Thank you.
     Case 3:20-cv-00588-SRU Document 1 Filed 04/29/20 Page 163 of 175


                              Opening Statement                      7
1                   MS. TAMARA WEAVER: Tamara Weaver from the Indiana

2      Attorney General’s Office.

3                   THE COURT:     Thank you.

4                   MR. MATTHEW MCKINLEY:       Matthew McKinley from the Ohio

5      Attorney General’s Office.

6                   THE COURT:     Thank you.

7                   MR. DAVID HASSELMAN:     David Hasselman [phonetic] on

8      behalf of Impax.

9                   THE COURT:     Thank you.   I guess that’s it.      Thank you

10     very much.

11                  Let’s address the joint proposed agenda.         It has two

12     items.     Of course, there are other items that the Court could

13     entertain, if there is time this morning.         But I would like to

14     address what counsel--liaison counsel believe should be

15     addressed first.     And I’m going to ask the Plaintiffs to

16     proceed.

17                  MR. JOSEPH NIELSEN:     Good morning, Your Honor.      Joe

18     Nielsen from the State of Connecticut Attorney General’s Office

19     on behalf of the Plaintiff states.

20                  THE COURT:     Good morning.

21                  MR. NIELSEN:    I think number one on the agenda is we

22     wanted to notify the Court that the Plaintiff states will be

23     amending, as of right, the complaint that we filed on May 10th,

24     2019.    We’re planning to add several additional Plaintiff

25     states and jurisdictions as well as, likely, an additional
     Case 3:20-cv-00588-SRU Document 1 Filed 04/29/20 Page 164 of 175


                           Opening Statement                       14
1      case cited by the Defendants, the Ninth Circuit emphasized that

2      effective coordination of an MDL proceeding requires that a

3      district court be given even greater discretion to structure a

4      procedural framework that will move the case as a whole and

5      that Rule 16 authorizes the Court to manage these cases so that

6      disposition is expedited and settlement is facilitated.

7                  Plaintiffs endorse the Case Management proposal set

8      forth by Special Master Marion because it provides an efficient

9      procedural framework for the timely commencement and completion

10     of discovery for all drugs in these cases and it avoids the

11     substantial delays inherent in Defendants’ phased discovery

12     approach.    I’m now going to turn the presentation over to Mr.

13     Nielsen to address really what we think are the two key

14     discovery issues before this Court and that is the use of

15     custodial files or broad search terms.         Thank you, Your Honor.

16                 THE COURT:     Mr. Nielsen?

17                 MR. NIELSEN:     Thank you, Your Honor.     Before I start,

18     I just wanted to mention that with me today is Angelina

19     Whitfield, an Assistant Attorney General from the State of

20     Illinois, sitting in the jury box, who prepared the briefing

21     for the states on this issue and I wanted her to introduce

22     herself to the Court.

23                 THE COURT:     Thank you.

24                 MR. NIELSEN:     As Ms. Liebenberg said, I did want to

25     address the two key issues involved in the case management
     Case 3:20-cv-00588-SRU Document 1 Filed 04/29/20 Page 165 of 175


                           Opening Statement                       15
1      briefing and that is the Plaintiffs’ request for full custodial

2      file productions from certain key individuals at the Defendants

3      as well as the Defendants’ request to filter their productions

4      based on responsive - - relevance prior to producing the

5      documents as to the Plaintiff states.

6                  First, Your Honor, with regard to the custodial file

7      issue, I wanted to make it clear that the Plaintiffs are

8      requesting full custodial files for a limited set of the key

9      individuals from each company.        This is not an expansion of

10     what the Plaintiffs were previously seeking in discovery.         In

11     fact, the Plaintiffs had negotiated a much larger list of

12     custodians in the meet and confer with the Defendants prior to

13     this case management proposal.        So, this is actually a

14     concession in that respect from the Plaintiffs and there is a

15     lot of risk involved from the Plaintiffs’ perspective to make

16     this proposal.     There will certainly be a number of custodians

17     who had relevant and, indeed, highly relevant documents that

18     the Plaintiffs would be willing to forgo discovery on in order

19     to focus on the limited set of key individuals and getting a

20     real deep dive into their documents.         Because they are the key

21     individuals responsible for engaging in the collusion or in the

22     price increases that were at issue in the complaints.

23                 And in the context of making this proposal, Your

24     Honor, what the Plaintiffs are trying to do here is come up

25     with an innovative and creative way to accomplish the
     Case 3:20-cv-00588-SRU Document 1 Filed 04/29/20 Page 166 of 175


                           Opening Statement                       16
1      objectives of the JPML and of this MDL, which are number one,

2      to avoid duplication of discovery and, two, to conserve the

3      resources of the parties, their counsel, and of this Court.

4                  The Plaintiffs believe that the production of full

5      custodial files is the most efficient and reasonable approach

6      to move the entire MDL forward as quickly as possible while

7      still taking into account and accommodating future complaints

8      that will be filed and not putting all of those cases into a

9      suspense docket where they would be stayed indefinitely.

10                 Full custodial file production, Your Honor, would

11     reduce the number of custodians at issue significantly.            It

12     would, therefore, reduce the number of places where the

13     Defendants have to go to find and produce documents.             It will

14     likely reduce the total number of documents that have to be

15     produced by the Defendants.       And that’s just common sense, Your

16     Honor.    Less custodians equal less documents.        Especially when

17     the alternative is what Special Master Marion has proposed

18     which would be broad search terms apply to a larger, much

19     larger, number of custodians.

20                 And, in their brief, Your Honor, the Defendants

21     argue, and I’m quoting from page 11, that the sheer size of a

22     typical custodial file would make the volume of documents to be

23     reviewed unworkable.      And I can tell you from experience that

24     that’s flatly incorrect.       Number one, many of these Defendants

25     have actually produced full custodial files to the states
     Case 3:20-cv-00588-SRU Document 1 Filed 04/29/20 Page 167 of 175


                           Opening Statement                       17
1      during the course of their investigation so, I know it’s not

2      unworkable.

3                  Also, the volume of the documents in those custodial

4      files that have been produced is not overwhelming.           In fact,

5      the largest custodial file that the states received as part of

6      their investigation was a total of 167,000 pages.           Which, in a

7      very large antitrust case such as this one, is not significant

8      overall where typically cases involve hundreds of millions of

9      documents in cases like this.       But even if the custodial file

10     were much larger than 167,000 pages, that would be proportional

11     to the scope and magnitude of this MDL.         The sheer size, the

12     volume of the evidence, the allegations, the overarching

13     conspiracy, and the importance of the market that we’re talking

14     about, Your Honor.

15                 Production of full custodial files will also be

16     quicker and more efficient.       We can eliminate search terms

17     entirely from the process.       And I would point to pages 18 to 23

18     of the Defendants’ brief, Your Honor, where they go through and

19     describe the inherent delays associated with applying search

20     terms.    In particular, the parade of horribles that will result

21     if Special Master Marion’s recommendation is applied to them.

22     They go through and they seek, you know, they describe the

23     significant delays that will result.         Many of those delays are

24     just the basic fundamental agreement on search terms

25     themselves.     Which search terms are going to be applied and
     Case 3:20-cv-00588-SRU Document 1 Filed 04/29/20 Page 168 of 175


                           Opening Statement                      18
1      will there be a dispute about that? And I would point to page

2      19 of the Defendants’ brief, Your Honor, where the Defendants

3      actually say, without knowing--without having done any testing

4      on any of the search terms and without having gone through meet

5      and confer on any of these proposed search terms from Special

6      Master Marion’s recommendation, that most if not all of the

7      Defendants will dispute the search terms.         They say they know

8      that that’s going to happen, and the production of full

9      custodial files will cut through all of that, leaving only a

10     privileged review by the Defendants.         And there are many ways

11     for these Defendants to engage in a very efficient and

12     reasonable privileged review that can be done quickly and

13     protect their rights.

14                 The production of full custodial files would also

15     eliminate duplication, which again is one of the primary

16     objectives of the MDL.      With full custodial files documents are

17     produced once, that is it.       These Defendants will never have to

18     go back to that custodian’s files ever again for anything.         And

19     they will accomplish discovery in the cases that are on file

20     currently as well as future cases that involve different drugs

21     but the same companies.

22                 These key individuals at these companies had

23     responsibility for all the companies’ drugs and would be

24     involved and key players in future cases as well.

25                 Custodial files will also reduce the number of
     Case 3:20-cv-00588-SRU Document 1 Filed 04/29/20 Page 169 of 175


                           Opening Statement                                   19
1      potential depositions as well as the risk of multiple

2      depositions of the same individuals over time.          As additional

3      documents are produced piecemeal...        If we do this the way the

4      Defendants proposed to do it, as additional cases come out of

5      the suspense docket and new discovery is conducted, additional

6      depositions of the same individuals would have to happen

7      multiple times over and over again.        The production of full

8      custodial files will cut through that.

9                  And, in additional to all these benefits and savings,

10     the production of full custodial files is appropriate based on

11     the allegations in the complaints that are on file.              This is an

12     extremely unique case with the volume of the allegations, the

13     allegations of an industry-wide overarching conspiracy and the

14     volume of the evidence and communications that has already been

15     alleged.    But I just want to identify one example of why a full

16     custodial file would be important, Your Honor.          And that

17     involves the full custodial file that the Defendant Teva

18     produced with regard to Nisha Patel who was also an individual

19     Defendant in the state’s May 10th complaint.          Having the full

20     custodial file from Defendant Patel allowed the states to

21     understand the extensive nature of the conduct and develop that

22     complaint based almost primarily on her full custodial file.

23                 As you may or may not know, if you haven’t read the

24     full entire complaint, it goes through in painstaking detail

25     alleging how the Defendant Nisha Patel started at Teva, she
     Case 3:20-cv-00588-SRU Document 1 Filed 04/29/20 Page 170 of 175


                           Opening Statement                       20
1      began formulating price increase lists and formulating--ranking

2      competitors based on their quality and identifying price

3      increase candidates based on the relationships that she and

4      others at Teva had with these competitors.          And she...

5      Ultimately, we determined that she spent a good day [sic] of

6      her--of each of her workday communicating with competitors to

7      identify and seek agreements on these price increases.

8                  And this story, when you read it in the complaint,

9      Your Honor, it seems obvious and apparent but none of that was

10     obvious or immediately apparent from the documents as they were

11     produced.    Significantly, Nisha Patel never once referred to a

12     single competitor that she communicated with by name in a

13     document.    When she spoke to these competitors and then passed

14     along information internally to her colleagues, in emails or in

15     other documents, she would often do it using code or veiled,

16     opaque references to information that she had learned from the

17     competitors.

18                 Throughout the complaint, you see terms like

19     strategic, to identify that there was an agreement in place

20     with a competitor on a certain drug.         When she would get off

21     the phone with a competitor, she would send an email saying

22     there was a rumor of a price increase.         It didn’t say where she

23     got the information, who she had spoken to, any of those

24     things.     She used terms like fluff pricing to indicate a cover

25     bid where Teva would not seek to obtain the business from their
     Case 3:20-cv-00588-SRU Document 1 Filed 04/29/20 Page 171 of 175


                              Opening Statement                              21
1      competitor.     Even the term quality, Your Honor, doesn’t

2      necessarily immediately jump out at you as identifying that

3      there is a collusive relationship in place.          All of that, the

4      context of each and every document was important and could not

5      be properly evaluated without having access to many other

6      sources of information, many of which the Defendants just

7      simply won’t have in order to look through these documents and

8      determine relevance.

9                  For example, the states have an industry-wide phone

10     record database where it makes it very easy for the states to

11     identify which competitors were talking to each other, when and

12     for how long.     We have developed extensive information about

13     pricing and price increases throughout the industry over time

14     relating to specific companies and the states also, in the

15     course of their investigation, have a number of documents from

16     competitors that we can look at to determine the context and

17     determine whether these documents are relevant.

18                 And all of these documents and all of these sources

19     of information were necessary in order to create this context

20     where the documents in her full custodial file could be

21     properly understood.      And she is not alone, Your Honor.      We

22     identified a number of individuals at various companies who are

23     also named as individual Defendants in our complaint who

24     engaged in conduct at similar levels in terms of communicating

25     with competitors.      And at a minimum, the states have
     Case 3:20-cv-00588-SRU Document 1 Filed 04/29/20 Page 172 of 175


                           Opening Statement                       22
1      established through their allegations that the full custodial

2      files from the individual Defendants would be appropriate based

3      on the scope and volume of their conduct.

4                  Full custodial files would also be necessary and

5      appropriate in order to evaluate the defenses that will be

6      raised by the Defendants in this case.         Just on example of a

7      defense that will be hotly contested, Your Honor, is the

8      authority of these individuals to engage in price fixing

9      agreements and market allocation agreements with their

10     competitors.     And the full custodial files are necessary to

11     determine the scope of these individuals’ authority on an

12     everyday basis.     Is this part of their authority to identify

13     price increases or to list price increases or to do these

14     different things?      The full context, even with regard to drugs

15     that are not at issue in the complaint, will be relevant to

16     determine these key individuals’ authority.          And full custodial

17     files will be necessary to evaluate that.

18                 One thing that the...one opposition that the

19     Defendants raised to the production of full custodial files is

20     that they will contain a lot of personal information.            And I

21     can tell you, Your Honor, from experience, some of that

22     personal information is actually highly relevant to the case

23     and to the story on what happened over time.

24                 One example I’ll point out, I’ll be brief, it also

25     involves Nisha Patel while we’re on that theme of Nisha Patel.
Case 3:20-cv-00588-SRU Document 1 Filed 04/29/20 Page 173 of 175


                                                                   78


                         C E R T I F I C A T I O N

               We, Nathalie I. Moore and Ubiqus Reporting, Inc.,

  court approved transcribers, certify that the foregoing is a

  correct transcript from the official electronic sound recording

  of the proceedings in the above-entitled matter, and to the

  best of our ability.



  ______________________

    Nathalie I. Moore



  ______________________



       DATE:   September 26, 2019
Case 3:20-cv-00588-SRU Document 1 Filed 04/29/20 Page 174 of 175


                                                                   79




                         C E R T I F I C A T I O N

               We, Kimberly Berg and Ubiqus Reporting, Inc., court

  approved transcribers, certify that the foregoing is a correct

  transcript from the official electronic sound recording of the

  proceedings in the above-entitled matter, and to the best of

  our ability.



  _____________________

    Kimberly Berg



  ______________________



       DATE:   September 26, 2019
Case 3:20-cv-00588-SRU Document 1 Filed 04/29/20 Page 175 of 175


                                                                   80




                         C E R T I F I C A T I O N

               We, Karen D. Schiff and Ubiqus, Inc., court approved

  transcribers, certify that the foregoing is a correct

  transcript from the official electronic sound recording of the

  proceedings in the above-entitled matter, and to the best of

  our ability.




    Karen D. Schiff



  ______________________

  Ubiqus, Inc.

       DATE:   September 27, 2019
